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                                                  ID #:628

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 11 Attorneys for Defendants
    NATHANIEL PARKER, TINY GIANT
 12 PRODUCTIONS, LLC, ASP FILM, LLC,
    TM FILM FINANCE, LLC, AND
 13 VERTICAL ENTERTAINMENT, LLC
 14
                                         UNITED STATES DISTRICT COURT
 15
                                   CENTRAL DISTRICT OF CALIFORNIA
 16
 17
    CHANGING WORLD FILMS LLC,       Case No. 2:22-cv-09021-DMG-PVC
 18 SELTON SHAW, and LANGSTON
    SHAW,                            DECLARATION OF JODY
 19                                  DREWER
                       Plaintiffs,
 20
          vs.
 21
    NATHANIEL PARKER a/k/a NATE
 22 PARKER, TM FILM FINANCE LLC
    d/b/a TM FILMS, TINY GIANT
 23 PRODUCTIONS, LLC d/b/a TINY
    GIANT ENTERTAINMENT,
 24 VERTICAL ENTERTAINMENT, LLC,
    SHELTON JACKSON LEE a/k/a SPIKE
 25 LEE, and ASP FILM, LLC,
 26                                      Defendants.
 27
 28


      DECLARATION OF JODY DREWER
      4869-8758-0396v.2 0118814-000001
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                                              ID #:629

  1                                  DECLARATION OF JODY DREWER
  2            I, Jody Drewer, declare as follows:
  3            1.        I am the Executive Vice President, and Chief Financial Officer at TV
  4 One, LLC (“TV One”). I make this declaration on behalf of TV One, a Black
  5 culture and entertainment television network. TV One offers original programming,
  6 classic series, and more. This declaration is based on my review of TV One’s
  7 records in response to the subpoena served on TV One by the Defendants in this
  8 case.
  9            2.        TV One put on the TV One Screenplay Competition (the
 10 “Competition”), an event created to encourage aspiring Black film writers and to
 11 promote the production of engaging and relatable screenplays. The Competition
 12 was developed by TV One for presentation at the American Black Film Festival
 13 (“ABFF”). The ABFF was created by ABFF Ventures, an entertainment company.
 14 On December 15, 2016, TV One announced the 2017 TV One Screenplay
 15 Competition (the “2017 Competition”). The 2017 Competition highlighted three
 16 finalists, who received an all-expense paid trip to the ABFF from June 14-18, 2017
 17 in Miami, Florida. Scenes from the three finalists’ scripts were performed by
 18 professional actors at a table read event in front of a live audience on June 16, 2017.
 19 The Grand Prize winner was then announced at an ABFF Filmmaker Ceremony on
 20 June 18, 2017 and received a $5,000 cash prize. Attached as Exhibit 1 is a true and
 21 correct copy of a December 15, 2016 press release announcing the 2017
 22 Competition.
 23            3.        TV One accepted submissions to the 2017 Competition from
 24 December 16, 2016 through February 16, 2017. To the best of my knowledge,
 25 approximately 450 entrants submitted screenplays to the 2017 Competition.
 26            4.        On February 15, 2017, Plaintiff Selton Shaw submitted a screenplay
 27 called A Routine Stop (the “Screenplay”) for consideration in the 2017 Competition.
 28 Mr. Shaw submitted the 84-page Screenplay along with a 12-page excerpt of the
                                                                             DAVIS WRIGHT TREMAINE LLP
                                                     1                         865 S. FIGUEROA ST, SUITE 2400
      DECLARATION OF JODY DREWER                                            LOS ANGELES, CALIFORNIA 90017-2566
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  1 Screenplay. Attached as Exhibit 2 is a true and correct copy Mr. Shaw’s
  2 submission to the 2017 Competition, including his submission form, the
  3 Screenplay, and the 12-page excerpt. To the best of my knowledge, Mr. Shaw did
  4 not pay $50 to receive a copy of the judge’s feedback on his submission.
  5            5.        TV One contracted with third-party S.L. Duffy to assist with the 2017
  6 Competition. Ms. Duffy was responsible for managing the intake of entrants’
  7 screenplays and assigning judges to review and rate those screenplays. She also
  8 identified the three finalists in the 2017 Competition based on their scores. TV One
  9 contracted with approximately fifteen individuals to serve as judges for the 2017
 10 Competition. To the best of my knowledge, each of those judges signed an
 11 independent contractor agreement with TV One, which included non-disclosure
 12 requirements prohibiting disclosure of entrants’ submissions to unauthorized third
 13 parties.
 14            6.        Ms. Duffy coordinated the judging of the 2017 Competition, and was
 15 responsible for distributing entrants’ screenplays to their assigned judges. On
 16 December 20, 2016, Ms. Duffy wrote to the judges that “[y]our scripts will be
 17 provided via dropbox link. I will email you all individually with your own link
 18 wherein you will have zip files for each submission assigned to you. (Each zip file
 19 will include the Contest Entry & Release Form, the script in pdf format and a scene
 20 selection in pdf format.).” Ms. Duffy noted that “all your scores and feedback will
 21 be recorded via” an online form. On January 4, 2017, Ms. Duffy wrote to the
 22 judges that she would begin “sending scripts tomorrow.” A true and correct copy of
 23 these emails is attached as Exhibit 3.
 24            7.        Ron Moskovitz was one of the judges of the 2017 Competition.
 25 Attached as Exhibit 4 is a true and correct copy of his independent contractor
 26 agreement, signed on December 13, 2016. Mr. Moskovitz agreed that he “may not
 27 without TV ONE’s express prior written consent disclose or supply any information
 28
                                                                             DAVIS WRIGHT TREMAINE LLP
                                                     2                         865 S. FIGUEROA ST, SUITE 2400
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  1 to any third party regarding the scripts that are read” as part of the 2017
  2 Competition.
  3            8.        The Screenplay was not selected as one of the three finalists in the
  4 2017 Competition. To the best of my knowledge, no one reviewed the Screenplay
  5 after it failed to make it past the initial round of judging. Attached as Exhibit 5 is a
  6 true and correct copy of an April 3, 2017 email in which Ms. Duffy informed ABFF
  7 Ventures and TV One that the three finalists for the 2017 Competition had been
  8 selected. The three finalists were Timothy Folsome, Roni Brown, and Sade Sellers.
  9 Attached as Exhibit 6 is a true and correct copy of an April 10, 2017 press release
 10 announcing the three finalists.
 11            9.        ABFF Ventures’ role in the 2017 Competition was limited to providing
 12 a forum to celebrate the finalists and winner of the 2017 Competition at the 2017
 13 ABFF in Miami, FL, which took place in June 2017 (the “2017 ABFF”)—several
 14 months after the announcement of the three finalists. Specifically, ABFF hosted the
 15 “Celebrity Scene Stealers” event, discussed below. The winner of the 2017
 16 Competition was announced at the “ABFF Filmmaker Ceremony”. ABFF Ventures
 17 did not participate in judging the screenplays submitted to the 2017 Competition.
 18 To the best of my knowledge, TV One has no information in its possession
 19 suggesting that any ABFF personnel received screenplays submitted to the 2017
 20 Competition (including the Screenplay).
 21            10.       As a part of the 2017 Competition, actors performed scenes from the
 22 three finalists’ screenplays, in front of a live audience at the 2017 ABFF. The event
 23 was called “Celebrity Scene Stealers.” Attached as Exhibit 7 is a true and correct
 24 copy of a June 12, 2017 press release listing the actors for the event. These actors
 25 were Nicole Ari Parker, Boris Kodjoe, Lance Gross, Lil Mama, Tami Roman,
 26 Tobias Truvillion, and Lisa Wu. Attached as Exhibit 8 hereto is a true and correct
 27 copy of a collection of photos from the “Celebrity Scene Stealers” event, showing
 28 the guest actors performing scenes from each of the three finalist screenplays.
                                                                              DAVIS WRIGHT TREMAINE LLP
                                                      3                         865 S. FIGUEROA ST, SUITE 2400
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  1 Exhibit 8 is a printout from TV One’s website, https://tvone.tv/playlist/celebrity-
  2 scene-stealers-go-behind-the-scenes-of-a-live-table-read/, where it has been
  3 publicly available since June 2017.
  4            11.       The TV One records I have reviewed confirm Omari Hardwick was not
  5 a judge in the 2017 Competition and had no role of any kind evaluating entrants’
  6 screenplays. Nor was he one of the actors who performed scenes as a part of
  7 “Celebrity Scene Stealers” at the ABFF in June 2017. The TV One records I have
  8 reviewed confirm he did not have authorization from TV One to receive or view the
  9 submissions to the 2017 Competition. To the best of my knowledge, nobody at TV
 10 One sent Mr. Hardwick a copy of any screenplay submitted to the 2017
 11 Competition—including the Screenplay—or otherwise shared the details of any
 12 such screenplay with him. At the direction of counsel, an extensive search of TV
 13 One’s documentary records of the 2017 Competition was completed. That search
 14 yielded no evidence that I have reviewed supporting a showing that any screenplay
 15 submitted to the 2017 Competition—including the Screenplay—had been shared
 16 with any unauthorized third party, including Mr. Hardwick. TV One’s records
 17 show Omari Hardwick was invited to attend the TV One Awards Presentation at the
 18 June 2017 ABFF as a guest. I have no knowledge of whether Mr. Hardwick did or
 19 did not attend that event.
 20            12.       The TV One records I have reviewed confirm Nate Parker did not have
 21 authorization from TV One to receive or view the submissions to the 2017
 22 Competition. To the best of my knowledge, nobody at TV One sent Mr. Parker a
 23 copy of any screenplay submitted to the 2017 Competition—including the
 24 Screenplay—or otherwise shared the details of any such screenplay with him. At
 25 the direction of counsel, an extensive search of TV One’s documentary records of
 26 the 2017 Competition was completed. That search yielded no evidence that I have
 27 reviewed showing that any screenplay submitted to the 2017 Competition—
 28
                                                                             DAVIS WRIGHT TREMAINE LLP
                                                     4                         865 S. FIGUEROA ST, SUITE 2400
      DECLARATION OF JODY DREWER                                            LOS ANGELES, CALIFORNIA 90017-2566
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  1 including the Screenplay             had been shared with any unauthorized third party,
  2 including Mr. Parker.
  3            13.       To the best of my knowledge and upon review of the TV One
  4 documentation, I have not reviewed any TV One documentation showing that
  5 anyone affiliated with the 2017 Competition             including Ms. Duffy, the
  6 independent-contractor judges, ABFF personnel, and TV One personnel                       disclosed
  7 any screenplay submitted to the 2017 Competition to any unauthorized third party.
  8            14.       Counsel for Plaintiffs contacted TV One on March 24, 2022 to inquire
  9 about the possibility that Nate Parker or Omari Hardwick obtained the Screenplay
 10
 11    Please note that we have checked our contract files and have not found any
 12 agreements that confirmed that Omari Hardwick or Nathaniel Parker had access to
 13                                           Additionally, we have followed up internally with
 14 our employees to see if there is any recollection of the script being provided to
 15 Omari Hardwick or Nathaniel Parker and none of our employees recollect that this
 16 has occurred. Moreover, we have attempted to reach out to prior employees, which
 17 did not yield any feedback that confirms
 18 Hardwick or Nathaniel Parker
 19                                                                                     Exhibit 9
 20 hereto.
 21            15.       I declare under penalty of perjury under the laws of the United States
 22 of America and the State of California that the foregoing is true and correct, and
 23 that this Declaration was executed on the 7th day of October, 2024, in the State of
 24 Maryland.
 25
 26
 27                                                                 Jody Drewer
 28

                                                      5                       DAVIS WRIGHT TREMAINE LLP
                                                                                865 S. FIGUEROA ST, SUITE 2400
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                                 PRESS RELEASE
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               TV ONE ANNOUNCES THIRD ANNUAL
           AMERICAN BLACK FILM FESTIVAL SPONSORSHIP
                 AND SCREENPLAY COMPETITION
           2016’s Winning Screenplay “Tale of a Script,” Written by N’zuri Za Austin,
               Set to Debut as a TV One Original Movie at Next Year’s Festival
                            And Premiere On-Air in Summer 2017

SILVER SPRING, MD – DEC. 15, 2016 – TV One continues to encourage aspiring film writers with
the announcement of its third annual American Black Film Festival (ABFF) sponsorship and
screenplay competition. Created to promote the production of creative, contemporary,
engaging and relatable screenplays, the 2017 TV One Screenplay Competition, which opens
Friday, Dec. 16, will highlight three new writers who will vie for a $5000 cash prize and a
chance to have their screenplay produced into an original, made-for-TV movie, which will debut
in 2018 on TV One and at the 22nd American Black Film Festival.

“We’re thrilled to partner with the American Black Film Festival on our screenplay competition
for the third year in-a-row,” said D’Angela Proctor, TV One’s SVP, Original Programming &
Production. “Our ability to help spotlight up-and-coming talent is vital to the growth of our
industry. This year, we want to encourage contestants to offer fresh perspectives on their
stories. Whether a comedy, drama, family adventure or heart-warming holiday tome, the film
entries should find ways to both connect with and entertain the Black community.”

The three 2017 TV One Screenplay Competition finalists will receive an all-expense paid trip to
next year’s festival in Miami (June 14-18, 2017) and will observe a scene from their script being
performed by professional actors at a Table Read. This Grand Prize winner will be announced
at the “ABFF Filmmaker Ceremony” on Saturday, June 18. The competition opens on Friday,
Dec. 16, 2016 and applicants have until Thursday, Feb. 16, 2017 to submit their screenplays for
consideration. Official rules and submission information is available on TV One’s website and
on ABFF’s website.

TV One’s 2016 ABFF Screenplay Competition winner N’zuri Za Austin will debut her original
film Tale of a Script at next year’s festival tentatively set for Sunday, June 18. The film will then
also premiere on TV One in summer 2017. In Tale of a Script, Brandon is a script reader who
shares a collection of short stories he found in a pile of “unreads” that narrate the dangers of
social networking. The stories, each telling of the dangers that await us behind the keystroke of
our computer screens, are a puzzle piece that will lead us on a journey of deceit.

TV One began its sponsorship of the ABFF TV One Screenplay Competition in 2015 with the
debut of Runaway Island (Lorraine Touissant, Aisha Hinds, Thomas Q. Jones, A. Russell
Andrews, Erica Tazel), written by the 2014 winner Christopher Brandt. This year, the network
premiered Bad Dad Rehab, an original film highlighting the ups and downs of parenthood by
scriptwriter and 2015 winner Keronda “Kiki McKnight.” The film, which centers around four men
in denial of their poor parenting skills features, featured a star-studded cast – Malik
Yoba, Wesley Jonathan, Robert Ri’chard, Rob Riley, Rick Gonzalez and Kandi Burruss. Bad Dad
Rehab, was also directed by Carl Seaton, and recently received a 2017 NAACP Image Awards
nomination for Outstanding Directing in a Motion Picture (Television).
                                            TV One_00034
                               PRESS RELEASE
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For more information about TV One’s participation at the 22nd American Black Film Festival,
visit the network’s website at www.tvone.tv/tvoneatabff. Budding writers may also submit
their screenplays for consideration by logging onto www.tvone.tv/screenplay-competition-
abff/. TV One viewers are encouraged to join the conversation by connecting via social media
on Twitter, Instagram and Facebook (@tvonetv) using the hash tag #TVOneAtABFF. Fans can
also visit TV One’s YouTube Channel for network clips and promos.

ABOUT THE AMERICAN BLACK FILM FESTIVAL:
The American Black Film Festival (ABFF) is an annual event dedicated to showcasing quality
film and television content by and about people of African descent. Founded by Jeff Friday, it
supports emerging artists to foster a wider range of images, stories and storytellers
represented in the entertainment industry. The ABFF is committed to the belief that Black
artists deserve the same opportunities as their mainstream counterparts, and is recognized as
the preeminent pipeline to new Black talent, both in front of and behind the camera. ABFF is
regarded as one of the leading film festivals in the world. Annually held during the month of
June, the festival is comprised of five action-packed days of films, engaging panels, networking
events and more…from the star-studded opening night screening to the inspirational closing
filmmaker ceremony. The festival is produced by ABFF Ventures, a partnership between Film
Life, Inc. and Black Enterprise. For more information, visit www.abff.com.

ABOUT TV ONE:
Launched in January 2004, TV One serves more than 60 million households, offering a broad
range of real-life and entertainment-focused original programming, classic series, movies and
music designed to entertain and inform a diverse audience of adult black viewers. The network
represents the best in black culture and entertainment with fan favorite shows Unsung, Rickey
Smiley For Real, Fatal Attraction, Hollywood Divas and The NAACP Image Awards. In addition,
TV One is the cable home of blockbuster drama Empire, and NewsOne Now, the only live daily
news program dedicated to black viewers. In December 2008, the company launched TV One
High Def, which now serves 14 million households. TV One is solely owned by Radio One
[NASDAQ: ROIA and ROIAK, www.radio-one.com], the largest radio company that primarily
targets Black and urban listeners.

                                             ###

                                  TV One Media Contact:
              Tosha Whitten-Griggs, 202.246.7875 or TWhitten-Griggs@tvone.tv
                  Brandii Toby-Leon, 301.755.2866 or btoby-leon@tvone.tv




                                          TV One_00035
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TV One Screenplay Competition 2017
The TV ONE SCREENPLAY COMPETITION 2017 promotes the production of creative, contemporary,
engaging and relatable screenplays that can be turned into original movies for television. Genres include,
but are not limited to comedies, romantic comedies, dramas, and family adventures (submissions should be
non-period stories). One (1) Grand Prize Winner will be selected from three (3) Finalists and announced at
the closing night event of ABFF.

CLICK HERE TO READ TV ONE SCREENPLAY COMPETITION 2017 OFFICIAL
                            RULES
                                   I have read and agree to these Official
                                   Rules
                                   Yes



Show Contest Overview & Requirements
No

Show Submission Instructions
No

TV One Screenplay Competition 2017 Submission Form
Primary Contact / Screenwriter 1 Name                Primary Contact Email
Selton Shaw

Screenwriter(s)
Screenwriter 1
Name
Selton Shaw

Address


Email                                                Phone


SUBMISSION GUIDELINES AND RELEASE
Please confirm all signers will read this agreement in its entirety before signing.
Yes

TV ONE, like many other entertainment networks, receives numerous submissions and materials
for programming, content, and projects of all kinds.




                                               TV One_00456
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A lot of the material we each receive includes and/or is comprised of materials, suggestions or
ideas which are identical or substantially similar to those which have been previously developed
by our respective staffs. Also, a lot of the materials we each receive includes and/or is comprised
of materials, suggestions or ideas which are identical or substantially similar to those which have
been submitted by other people outside of our respective companies.

Therefore, TV ONE and/or ABFF may begin using material similar or identical to yours which we
received after the date of your submission.

To protect both you and our respective companies, TV ONE and ABFF have outlined a policy
regarding such submissions and materials in order to explain the process of reviewing,
investigating, inspecting and evaluating these materials.

Based on this policy, TV ONE and ABFF can each receive and review materials only if it is left up to
either of us to determine whether either of us has in fact used these ideas and to decide what
compensation, if any, should be paid in event of use.

Also, before we can receive and consider any unsolicited submissions and materials, everyone
must sign the following Release.

Please carefully read the following Release and then return a signed copy with the materials you’d
like to submit.

Submission Release
Dear Sir/Madam:

You acknowledge that you would like to submit certain materials to the TV ONE SCREENPLAY
COMPETITION 2017. For purposes of this release and agreement (the "Release" or the "Agreement"), “TV
ONE” shall refer to TV ONE, LLC, 1010 Wayne Avenue, Suite 1000, Silver Spring, MD 20910. Such
materials may include proposals, outlines, treatments, presentation tapes, scripts, ideas, marketing or
promotional plans, program formats, or other material, or any portions thereof (the "Material").

By signing this Release and returning it to us, you confirm that you have read TV ONE’s policy regarding
the acceptance and review of the Material and you hereby accept the terms of this letter agreement.

The following shall constitute our agreement with respect to the Material:

   1. RELATIONSHIP OF THE PARTIES: You acknowledge that there does not now exist, nor has
      there ever existed, nor will there exist, a fiduciary relationship between you and TV ONE. You
      acknowledge that you have requested this opportunity to submit your Material to TV ONE, and that
      you make this submission, voluntarily and on an unsolicited basis.
   2. AGREEMENT BETWEEN THE PARTIES: You acknowledge that you and TV ONE had not yet
      reached any agreement whatsoever concerning the use of the Material. You realize that no
      obligation of any kind is assumed by, or may be implied against, TV ONE unless and until a written
      agreement has been entered into between you and TV ONE, and then the obligation shall only be
      as expressed in such written agreement. Notwithstanding the foregoing, you understand that TV
      ONE assumes no obligation to proceed with negotiations of any kind respecting the Material.
   3. REVIEW & RETURN OF THE MATERIAL: In consideration of your agreement to the terms of this
      Release, TV ONE agrees to cause its employee with appropriate responsibility of evaluating the




                                                TV One_00457
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      Material to review your Material. You acknowledge and agree that you have retained a copy of the
      Material and that TV ONE assumes no obligation to return the Material to you. You understand that
      TV ONE is not under any obligation to furnish you with any information about the results of its
      review of the Material or its reasons for not proceeding further if TV ONE so decides. TV ONE's
      review of the Material constitutes TV ONE's acceptance of the terms and conditions of this
      Release, and TV ONE shall have relied upon your agreement herein in considering your Material
      for review. TV ONE agrees to use reasonable efforts to keep all the Material confidential.
  4. SCOPE OF RELEASE: You acknowledge that this Release covers and governs any and all of the
     Material, whether first submitted to TV ONE contemporaneously with, prior to, or following the
     execution of this Release, and that this Release also applies to any submission of the Material
     made to TV ONE by another source, directly or indirectly, by or through you.
  5. SUMMARY OF MATERIALS: The Material being submitted with this Release is outlined on the
     attached Submission Form. You declare that all of the important features of your Material, and the
     particular items being submitted by you are stated on the attached Submission Form and you have
     not disclosed any other features to TV ONE.
  6. OWNERSHIP OF MATERIALS: You represent and warrant that you are the sole and exclusive
     creator(s), author(s) and owner(s) of the Material, that to your knowledge no one else has any right
     to the Material, that you have the right to submit the Material to TV ONE, and that you have the
     power and authority to enter into this Release regarding the Material. You further warrant that no
     rights in the Material have previously been granted to anyone nor has the Material otherwise been
     exploited in any way.
  7. NOVELTY OF IDEAS: Although TV ONE may accept and review the Material, you cannot and
     will not assume or infer that TV ONE regards your Material as unique, novel, valuable and/or
     usable. You understand and acknowledge that similar or identical materials may have been or may
     be submitted to TV ONE by others, including TV ONE’S employees; may have originated or been
     developed or made public by others, including TV ONE’S employees; or may hereafter originate,
     be developed, be submitted or made public by others. TV ONE shall have the right to use, and you
     understand that you will not be entitled to any compensation because of TV ONE’s use of such
     other similar or identical material. Subject to the foregoing, TV ONE will not make any use of any
     legally protectable portion of your Material unless you and TV ONE have agreed in a writing
     concerning your compensation for such use, which compensation shall in no event be greater than
     the compensation normally paid by TV ONE for similar Material from comparable sources.
  8. INDEMNIFICATION AND LIMITATION OF LIABILITY: You indemnify TV ONE, its parent,
     affiliates, subsidiary companies, assignees, associates, judges and sponsors against all claims,
     losses, expenses damages and liabilities, from and against any claim or cause of action arising out
     of any claim for infringement of intellectual property rights. You release and hold harmless TV
     ONE, its parent, affiliates, subsidiary companies, assignees, associates, judges and sponsors, and
     any agents involved in the development, production, handling implementation and/or distribution of
     this Contest, and their respective parent companies, subsidiaries, affiliates, partners,
     representatives, agents, successors, assignees, employees, officers and directors, from any and
     all liability, for loss, harm, damage, injury, cost or expense whatsoever including, without limitation,
     property damage, personal injury and/or death which may occur in connection with or resulting
     from preparation for, or participation in this Competition, or possession, acceptance and/or
     use/misuse of the prize or any participation in any Competition-related activity, any typographical or
     other errors in the printing, offering or announcement of the prize, selection and announcement of
     the winner, distribution of the prize, or errors in any printing or posting of these instructions, and for
     any claims based on publicity rights, defamation, invasion of privacy, copyright infringement,
     trademark infringement or any other intellectual property-related cause of action. Entrants also
     agree to waive any right to claim ambiguity in these official rules. In no event shall TV ONE be
     responsible for printing, typographical, human or other errors in any Competition-related materials;




                                                TV One_00458
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       or for transactions that are processed late or incorrectly, or are lost in the mail. TV ONE reserves
       the right to cancel, suspend or modify the Competition for any reason. If any event should occur
       that may compromise the integrity of the Competition as determined by TV ONE in its sole
       discretion, TV ONE may choose to award the Prize from among all eligible non-suspect entries
       received prior to action taken.

   9. DISPUTE RESOLUTION: Any controversy arising out of or in connection with this Release,
      including without limitation any claim that TV ONE has used any legally protectable portion of your
      Material in violation of the terms hereof, shall be governed by the laws of the State of Maryland,
      and the parties consent to the jurisdiction of the state and federal courts of Maryland for the
      resolution of such matters. In the event of such controversy you agree that you shall assert such
      claims not later than six (6) months after the date on which you first learned (or reasonably should
      have become aware) of TV ONE 's use or intended use of any portion of the Material and
      thereafter you shall be barred from asserting any such claims. You further agree that your rights
      and remedies, if any, shall be limited to an action to recover compensatory money damages in an
      action at law, and without limitation of the foregoing, you expressly agree that you shall not seek to
      enjoin or restrain the production, exhibition, distribution, licensing, advertising, and/or promotion of
      any of TV ONE’s programming, promotional or marketing plans, and/or any of the subsidiary rights
      in connection therewith.
   10. ENTIRE UNDERSTANDING: This Release constitutes our entire understanding and agreement,
       and supersedes all prior understandings, whether written or oral. Any subsequent modification or
       waiver of this Release must be in writing, signed by both of us. The invalidity of any provision
       hereof is not to affect the remaining provisions.
   11. MISCELLANEOUS:

(a)    You are executing this Release voluntarily, without coercion or undue influence from any source,
and do so with complete understanding of all of its terms and effects, and every portion thereof.

(b)     The captions used in this Release are for convenience only and shall not used to interpret, define
or construe any terms hereof.

(c)      As used in this Release, the terms "you" and "your" includes and binds the undersigned and any
and all legal representatives of the undersigned. As used in this release, the terms "TV ONE" and "we"
includes and inures to the benefit of TV ONE’s successors, assigns, employees, officers, directors,
licensees, and associated companies and individuals.

By signing this Release and returning it to us, you confirm that you have read TV ONE’s policy
regarding the acceptance and review of the Material, that you have read and, understand, agree to
and complied with the “Official Rules” of this Competition, which includes granting TV One an
exclusive option on the Material and a purchase price of $5000 for the Grand Prize Winner and
$3500 for the Finalists and entrants, and you hereby accept the terms of this letter agreement (the
"Release" or the "Agreement").

Sincerely,



TV ONE, LLC

I/We accept and agree to this release agreement for the submitted screenplay entitled:




                                                TV One_00459
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friends, Duck and Pooh Bear, Remus kidnaps Officer Tully, and transports him to a recording studio.
There, Remus puts Officer Tully on trial for the murder of his brother with Pooh Bear serving as the judge,
Duck as the bailiff, and himself as the lawyer for the prosecution. Remus fashions the studio to resemble a
courtroom and orders Officer Tully to represent himself in his own defense. To keep the ‘trial’ impartial and
justice blind, Remus has also kidnapped twelve random people to serve as jury members, listening inside
the studio’s recording booth, but their faces are covered with black masks. They are only able to hear the
proceedings and must rule solely on what is said. At the outset, Officer Tully refuses to play along, but
changes his mind once Remus explains that if the jury finds him guilty, he will be executed.
         Once the trial of Officer Tully commences, a video recording of the proceedings begins to stream
on a television monitor at the police station where Officer Tully works. The live video sends the officers into
a panicked frenzy and their commanding officers, Captain Norton and Sargent Cynthia Turner, dispatch
every available unit to find Officer Tully. Back at the studio, Remus lays out his case for why Officer Tully
should not have killed his brother, calling witnesses, and even taking the stand himself to give an account
of what happened the night in question.
         Tully eventually takes the stand, stating that his shooting was justified, and citing Romulus’s long
criminal record as evidence for what unfolded. Officer Tully and Remus verbally joust about police
shootings of unarmed black men in this country and what constitutes a justifiable kill. Remus then calls a
surprise witness, District Attorney Kittlemen, the state’s lawyer who tried to originally indict Tully. As the
courtroom drama unfolds, it is revealed that the DA colluded with Tully to keep the charges from sticking in
his case.
         Sargent Turner eventually locates the studio where Officer Tully is being held and raids the building
to free Tully and the members of the jury. When she finds the jury, she removes their black masks and
discovers that the jury was nothing more than a bunch of mannequins. Remus, Duck, and Pooh Bear are
arrested for kidnapping, but Officer Tully and DA Kittlemen are arrested as well for obstruction of justice
and murder based on the video evidence from the studio. Officer Tully and the DA were unaware that the
entire court proceeding was being filmed. The new District Attorney drops the charges on Remus, Duck,
and Pooh Bear, and on the anniversary of his death, they have a candlelight vigil to celebrate the life of
Romulus Johnson with Sargent Turner who was secretly assisting them in the process.

Character Description(s)
Main Character 1
Name                                      Description
Remus Johnson                             Late-twenties, the twin brother of the deceased Romulus
                                          Johnson. He’s smart, articulate, never been in trouble with the
                                          law, and has nothing to lose after his brother is killed.

Main Character 2
Name                                      Description
Officer Kyle Tully                        Late-thirties, a nine year veteran on the police force, Tully is
                                          confident, but hot-headed, and eager to prove his innocence in
                                          Romulus’s death.

Main Character 3
Name                                      Description
Sargent Cynthia Turner                    Late-twenties, by-the-book officer who is second in command at
                                          the police station. Cynthia grew up in the neighborhood she
                                          serves and feels a personal connection with the people there.

Screenwriter(s) Bio


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Screenwriter Bio 1
Name
Selton Shaw

Description
Selton Shaw was born the middle of three children and raised in Washington DC. He attended the Piney
Woods Boarding School in Piney Woods, Mississippi for middle and high school. Upon graduation, he
completed his undergraduate course study at Hampton University in 2005, earning a Bachelor’s degree
in Political Science.
   In 2006, Selton won the AXE Black Filmmaker’s Series Competition for his directorial debut, “The Let
Out Guy’s”. The short film, which he wrote and directed, premiered at the American Black Film Festival
(ABFF) in Miami and subsequently went on a ten city screening tour. After the success of his first film,
Selton teamed up with his brother and formed Changing the World Films in an effort to independently
launch their own movies. Together they have released four independent films since 2008.
   In 2010, Selton won Robert Townsend's Ultimate Pitch Master Competition sponsored by (ABFF) in
New York City by pitching "The Let Out Guys" as a feature film. In 2014, he was a finalist in the UPtv
screenplay competition. Selton loves imaginative and relevant storytelling that resonates with people
from all walks of life. He is married, the father of three children, and resides in Laurel, Maryland.

Judge's Feedback Option
Each screenplay submitted will be read and evaluated by a professional screenplay judge to provide a
candid assessment of your screenplay consisting of constructive feedback and notes regarding its
strengths, weaknesses, characters, structure, originality, overall quality and other areas based on the
criteria described in the Official Rules.

If you would like to obtain a PDF copy of your judge's feedback via email for $50, please select this option.

Would you like to receive your judge's feedback
($50)?
No




                        End of TV One Screenplay Competition Submission Form.

                               Click "Submit" below to send your submission.




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                             (A Routine Stop)

                                     by
                               (Selton Shaw)




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         TABLE READ SCENE SELECTION: A Routine Stop


         INT. RECORDING STUDIO - NIGHT

         A dark, empty room.

         The door bursts open. A light switch abruptly flicks on,
         illuminating the engineer’s room of a recording studio.
         Two large men enter, POOH BEAR, early-twenties, a
         mountain of a man, burly, bald headed, late-twenties,
         black full beard tee-shirt and jeans, gold chains, and
         tattoos and DUCK, mid-thirties, smaller by comparison,
         but also large, scar on his left cheek, mid-thirties,
         dragging in an unknown MAN, bound with zip ties, by both
         his arms and legs. The man is violently kicking,
         screaming, clawing, contorting his body in the hope of
         freeing himself, but to no avail. His face is covered
         with a black sack.

         Both men strain as they hoist the man towards the center
         of the room. Waiting patiently, seated in a folding chair
         in the middle of the engineer’s room is Remus, black tee-
         shirt and blue jeans, clutching an oily, black, .38
         revolver in both his hands.

         Remus is disheveled and unshaven with a five o’clock
         shadow. His eyes are flinty, but laser focused on the
         black firearm he massages in his palms. Remus never
         breaks his concentration from the gun to observe the
         abducted man, clawing for his freedom in an attempt to
         get away. Pooh Bear and Duck, with their prisoner in tow,
         walk past some recording equipment, a sound and mixing
         board, monitors, and speakers, dropping the man onto the
         hardwood floor of the engineer’s room.

         Behind Remus is the sound recording booth, but a large
         black tarp covers the glass window to see inside the
         studio recording area. The man with the black sack over
         his face hits the ground with a thud which halts his
         squirming. Pooh Bear glances back outside the door they
         entered in before locking the door behind him. Remus
         finally looks up from his gun, shooting his eyes up to
         Pooh Bear.

                                 POOH BEAR
                    You were sitting in the dark?

                                 REMUS
                    Did anybody see you?




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                                                                            2.


                                 POOH BEAR
                           (shaking head “no”)
                    It was in and out, but they’re gonna fry
                    us for this. Kidnapping a cop? You know
                    it aint no turning back now.

                                 REMUS
                    They killed Rome, Pooh Bear. They forced
                    my hand. Thanks for helping, Duck.

                                 DUCK
                    We weren’t related, but Rome was my
                    brother too. You really want to do this,
                    Ream? You been straight as an arrow your
                    whole life. His mask aint off yet.

                                 REMUS
                    I have to. My brother deserved better
                    than to be shot down like a dog.

         The man with the sack covering his face begins to move
         again, inching across the floor. His hands are tied
         behind his back, and his ankles bound with several zip
         ties. In futility, he attempts to pull himself up on his
         knees. Pooh Bear, however, using the end of his boot,
         pushes the man back on his face.

                                 POOH BEAR
                           (to man on the ground)
                    Where do you think you’re going?

                                 REMUS
                    Once the show starts, we wont have much
                    time. Can you set everything up like we
                    discussed?

                                 POOH BEAR
                    Sure thing, Ream. Today is a good day to
                    die. C’mon, Duck.

         Pooh Bear and Duck walk past Remus through another side
         door in the studio. The bound up man on the floor,
         musters the strength to sit up, Indian style, but drops
         his head down towards his lap. Remus grabs a box of
         bullets, sitting on top of a long, rectangular table in
         the room, along with a manila folder. One by one, he
         begins loading the pistol in his hand, methodically and
         grim. Once his six agents of death are loaded into his
         gun’s chamber, Remus spins the cylinder, flicking it back
         into the pistol.

         Remus’s gaze centers back to the sitting man, with the
         black sack over his head. Pooh Bear and Duck reenter the
         room, both carrying three small folding tables.


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                                                                              3.


                                 REMUS
                           (pointing in front of him)
                    I need one here and the other one across
                    from it. This long table can stay put.

         Pooh Bear and Duck set two of the small square tables
         next to one another with ten feet of space in between
         them. The last small table, they set next to the long
         table that Remus is sitting on. Grabbing some black
         folding chairs from up against the wall, Duck and Pooh
         Bear place two chairs behind each of the two small tables
         they carried into the room. Once they finish, Remus gives
         them a nod of satisfaction as he sits on the long table’s
         edge.

                                 POOH BEAR
                    What do you want us to do with him?

                                 REMUS
                    Cuff him to the chair.

         Pooh Bear and Duck grab the man and removing handcuffs
         from their pockets, they shackle the man’s hands and
         ankles to the chair. Once they cuff the man to the chair,
         they cut the zip ties from off of his arms and legs. Duck
         pushes the man in the chair behind one of the two small
         tables, which are both facing Remus, still seated on the
         edge of the long table.

                                 DUCK
                    What now, Ream?

                                   REMUS
                    Arraignment.

         Remus, gun in fist, storms over to the man cuffed to the
         chair, behind the desk, and violently rips the black sack
         from off of his face. The man, OFFICER KYLE TULLY, pale
         as a ghost, clean shaven, late thirties, buzz cut, with a
         sweat drenched face, stares back at Remus with his eyes
         wide as silver dollars. Breathing heavily, he looks
         quickly around the room, staring quickly at Pooh Bear and
         Duck who are flanking him on both sides. A piece of grey
         duck tape is affixed across the mouth of Kyle, rendering
         him mute. Remus bends down and strips the piece of tape
         from off of his mouth.

                                 REMUS (CONT’D)
                    Officer Kyle Tully. So glad you could
                    make it.

         Officer Tully winces his face and mouth from the duck
         tape’s adhesive which burned as it ripped across his
         face.


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                                                                            4.


                                 OFFICER KYLE TULLY
                           (breathing heavily, raising
                            voice)
                    Do you have any idea the hailstorm you
                    all are in? Do you? You think you can
                    just kidnap a cop? You will release me
                    immediately or I’ll . . .

                                 REMUS
                           (interrupting)
                    You’ll do nothing, Tully! Look around.
                    You’re in no position to make threats.

                                 OFFICER KYLE TULLY
                           (looking over to Pooh Bear)
                    You’re all pretty tough with these cuffs
                    on. Take them off and see who’s walking
                    out of here.

                                 POOH BEAR
                           (walking over to Officer
                            Tully)
                    Oh, you want the cuffs off?

                                 REMUS
                    Not now, Pooh Bear. Don’t get too
                    excited. . . Not yet.

         Pooh Bear, cued by Remus’s glance, steps back from the
         seated, Officer Tully.

                                 POOH BEAR
                    It’s cool. Ream here got something better
                    in store. But keep running yo mouth and
                    I’ll put your teeth in my pocket.

                                 OFFICER KYLE TULLY
                           (spots Ream’s revolver)
                    And what are you gonna to do with that?
                    You kill me, you’ll get the death
                    penalty.

                                 REMUS
                    I’m already dead, Officer Tully. I died
                    the day you gunned down my brother.

         Beads of sweat continue to roll down the face Officer
         Tully, but bound, he is unable to wipe it away.

                                 OFFICER KYLE TULLY
                           (scoffs)
                    Is that what this is about? News flash
                    boys, the grand jury decided not to
                    indict two days ago. I’m a free man.


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                                                                            5.


                                 REMUS
                    You sure don’t look free, officer.

                                 OFFICER KYLE TULLY
                    Justifiable homicide, was the ruling. You
                    take these cuffs off right now and I’ll
                    speak to D.A. Kittlemen for leniency at
                    your sentencing.

         Remus glances over at Duck and Pooh Bear and grins to a
         chuckle. Pooh Bear smiles, but Duck remains stoic.

                                 OFFICER KYLE TULLY
                                 (CONT’D)
                           (screaming)
                    What is so funny? Get me out of here now!
                    Get me out of here!

         Enraged, Officer Tully struggles to free himself from his
         iron jewelry. With all his might, he strains and fidgets,
         but for naught.

                                 OFFICER KYLE TULLY
                                 (CONT’D)
                    Somebody help me!


         INT. POLICE STATION - NIGHT

         CAPTAIN HADLEY NORTON, mid-fifties, balding silver hair,
         and police uniform, blows on his steaming hot coffee as
         he strolls forth, through a quiet, half-filled police
         station bull pen. Individual desks with loose paperwork,
         folders, telephones, and laptops, line the drab walls and
         white tiled floor in the police station.
         Half a dozen POLICE OFFICERS are working inside the
         station on the graveyard shift. Some officers are on the
         phone chasing leads while others are socializing while
         working at their desks. A large forty-two inch monitor is
         mounted to the wall at the north end with the late, local
         news on its screen. Captain Norton strides into his
         office, which has a large glass window, through which he
         can survey the entire bull pen, and plops down at his
         desk which is cluttered with papers.

                                 POLICE OFFICER
                           (yelling from outside his
                            office)
                    Captain Norton! You gotta come see this!

         A bit startled, Captain Norton spills a few drops of his
         coffee onto his desk.



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                                                                            6.


         Annoyed, he wipes coffee from off of his hand and walks
         out of his office to see what is so pressing.

         Captain Norton emerges from his office to find all of the
         police officers in the bull pen standing around the
         television screen. The collective jaws of the police
         officers are silently on the floor as Captain Norton
         squints to get a better look on the monitor. SARGENT
         CYNTHIA TURNER, mid-thirties, police uniform, hair in a
         bun, is standing the closest to the TV, shaking her head
         in disbelief.

                                 CAPTAIN NORTON
                    What’s going on over here? Who is that?

                                 SARGENT CYNTHIA TURNER
                    Captain Norton, it looks like Officer
                    Tully.

                                 CAPTAIN NORTON
                    What’s he doing on our TV?

                                 SARGENT CYNTHIA TURNER
                    Captain, sir, I think he’s been abducted.

                                 CAPTAIN NORTON
                           (gawking at the TV)
                    Are you crazy? Only a dead man would
                    kidnap a cop.

         Captain Norton pushes through the police officers to look
         at the TV, with only a few inches separating his face and
         the monitor. Captain Norton and the other officers watch
         in horror as Remus, Pooh Bear, and Duck surround Officer
         Kyle Tully inside the recording studio. Watching the TV
         screen intensely, Captain Norton gasps, realizing that
         the man on the screen is indeed Officer Kyle Tully.

                                 CAPTAIN NORTON (CONT’D)
                           (frantic, yelling)
                    What the hell is this? Is this real?
                           (tapping the TV screen)

                                 SARGENT CYNTHIA TURNER
                           (staring at the TV)
                    It looks that way, Captain. I know that
                    man right there is Remus Johnson, the
                    twin brother of the man Officer Tully
                    killed last year.

         Captain Norton is furious! His face turns hot red. The
         cops watching the TV are mortified.




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                                                                            7.


                                  CAPTAIN NORTON
                           (yelling)
                    How did this even get on here, Sargent
                    Turner?

                                 SARGENT CYNTHIA TURNER
                    Beats me, Captain. It just came on.

                                 CAPTAIN NORTON
                    It just came on is not acceptable! Get
                    our IT guys down here now! Where is
                    Hawkins?

                                 COP
                    He’s off duty.

                                 CAPTAIN NORTON
                           (raising voice)
                    Then get his ass out of the bed!

         The police officers shrink as the enraged Captain Norton
         barks his orders at them.

                                 CAPTAIN NORTON (CONT’D)
                    I want as APB on, what’s this guy’s name,
                    Sargent?
                           (pointing to Remus on the TV)

                                 SARGENT CYNTHIA TURNER
                    Remus Johnson. He’s referred to the other
                    two as Duck and Pooh Bear. I’m sure those
                    are aliases.

                                 CAPTAIN NORTON
                           (raising voice)
                    Get an APB out on the one you do know
                    now, get Hawkins in here now to trace
                    this feed, run those other faces through
                    the recognition software. I want their
                    real names, addresses, known accomplices,
                    if they stole a carton of milk in the
                    second grade, and I need it done
                    yesterday! The rest of you, your only
                    mission in life is to find Officer Tully
                    and bring him back in one piece. He’s our
                    brother! What are you waiting for? Get
                    out of here! Now!

         Nearly all of the officers rush out of the police station
         in a furious stampede. Sargent Turner heads towards the
         door to leave with her fellow officers.




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                                                                            8.


                                 CAPTAIN NORTON (CONT’D)
                    You stay, Sargent Turner. I need you here
                    with me. You worked this case with Tully,
                    right?

                                 SARGENT CYNTHIA TURNER
                    I did after he went out on administrative
                    leave for the shooting.

         Captain Norton continues speaking to Sargent Turner, but
         his gaze remains locked on the TV monitor. The screen’s
         light illuminates upon Captain Norton’s face as he
         helplessly watches Officer Tully struggle savagely to get
         free.

                                 CAPTAIN NORTON
                    This is just what we need. They marched
                    for nearly a month over that boy getting
                    killed.

                                 SARGENT CYNTHIA TURNER
                    I remember. We all were working overtime.

                                 CAPTAIN NORTON
                    Internal affairs was breathing down my
                    neck over this shooting. You know his
                    family is suing our department for
                    millions? If this ends bad the press will
                    have a field day.

                                 SARGENT CYNTHIA TURNER
                    Are we altering them?

                                 CAPTAIN NORTON
                    Not yet. Let’s see what our boys can dig
                    up first.

                                 SARGENT CYNTHIA TURNER
                    What do you need from me, Captain?

                                 CAPTAIN NORTON
                    Pull all the files on this case from A to
                    Z. See what you can dig up on his
                    brother, and I need Hawkins down here an
                    hour ago so that we can find out where
                    this feed is coming from.

                                 SARGENT CYNTHIA TURNER
                    I’m on it chief.

         Sargent Turner walks off, leaving Captain Norton alone by
         the television screen.




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                                                                            9.


         INT. RECORDING STUDIO - CONTINUOUS - NIGHT

         Remus remains seated on the edge of the long table,
         facing the two smaller tables, inside the dimly lit
         recording studio. Officer Tully, seated at the table to
         the right of Remus, sits still for the first time, and
         has seemingly calmed down. Holding it up for Officer
         Tully to see, Remus spins his revolver’s cylinder like a
         wheel of misfortune. Duck and Pooh Bear stand only five
         feet from the seated officer, not moving a muscle.

                                 OFFICER KYLE TULLY
                    If you’re trying to intimidate me, save
                    it. I’ve seen it all on this job. Your
                    little pea shooter isn’t impressing me.

                                 REMUS
                    Say what you will. We both know how this
                    is going to end.

                                 OFFICER KYLE TULLY
                    Yeah, with you dead or in jail; where you
                    belong.

         Remus flicks his gun’s cylinder back into his weapon and
         places the firearm in his waistband.

                                 REMUS
                    Somebody’s dying alright. Aren’t you even
                    a little curious as to why I went through
                    all the trouble to get you here?

                                 OFFICER KYLE TULLY
                    Enlighten me.

                                 REMUS
                    The grand jury decided not to indict you
                    on second degree murder, but the case
                    should have gone to trial.

                                 OFFICER KYLE TULLY
                    Well it didn’t. Justice was served. I did
                    what I had to do.

                                 REMUS
                    Justice, huh? No disrespect officer, but
                    you’re white and fifteen of the sixteen
                    members of the grand jury were white.
                    That hardly seems like impartial justice.

                                 OFFICER KYLE TULLY
                    I had nothing to do with that.




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                                                                           10.


                                 POOH BEAR
                    He’s lying, Ream.

                                 REMUS
                    I know he is.

                                 OFFICER KYLE TULLY
                           (to Pooh Bear)
                    You don’t know anything.

                                 POOH BEAR
                           (to Officer Tully)
                    I know how to make you cry.

         Officer Tully scowls in Pooh Bear’s direction, unshaken
         at his words. Meanwhile, Remus slides open the manila
         folder on the desk he’s seated on and glances over a
         piece of paper.

                                 REMUS
                           (reading paperwork)
                    Well actually, during jury selection,
                    your attorney struck down nine
                    potentially black jurors and five Latino
                    ones. So tonight, I’m putting you on
                    trial myself.

                                  OFFICER KYLE TULLY
                    Excuse me?

                                 REMUS
                    You heard me. The three of us will serve
                    as diverse voices that your jury sorely
                    lacked.

                                 OFFICER KYLE TULLY
                    But you’re all black! That’s not
                    diversity!

                                 POOH BEAR
                    Not true, officer. I’m one eighteenth
                    Irish. Go Celtics.

                                 DUCK
                    And I’m mixed with black and Jamaican.

                                 OFFICER KYLE TULLY
                    This is bull! Let me go now!

                                 REMUS
                    No, you’re here to stay. I vote yes to
                    indict.




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                                                                            11.


                                   POOH BEAR
                    Me too.

                                 DUCK
                    Three’s company . . .

         Remus stands up from off of edge of the long table and
         takes the manila folder with him. He walks over to the
         other small table, next to the one that Officer Tully is
         sitting behind, and takes a seat.

                                 REMUS
                           (looking across to Tully)
                    The indictment on the charge of second
                    degree murder for Officer Kyle Tully is
                    officially entered. Mr. Tully, do you
                    understand your rights as it pertains to
                    the indictment?

                                 OFFICER KYLE TULLY
                    You can’t indict me! This isn’t a court
                    of law! You don’t have the authority!

                                 REMUS
                    So, Officer Tully, you are charged with
                    second degree murder in the death of
                    Romulus Johnson. I will be representing
                    the prosecution and I assume you will be
                    representing yourself for your defense.
                    The long table in front of us is for the
                    judge and the short table next to it will
                    serve as our witness stand.

                                 OFFICER KYLE TULLY
                    Let me stop you right there. I won’t be
                    participating in this stupid little
                    exercise.

                                 REMUS
                    I wasn’t done! If you’re found not
                    guilty, you’re free to leave.

                                 OFFICER KYLE TULLY
                           (perks up)
                    You’ll let me go? Just like that? I don’t
                    believe you.

                                 REMUS
                    You have my word, Officer Tully. I’ll
                    release you and face the music. If you’re
                    found guilty, however, the penalty . . .
                    is death.




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                                                                           12.


         A fearsome chill glazes across the face of Officer Tully.
         He turns white as a sheet and his nostrils flair. Remus
         scowls a death stare, directly into the eyes of Officer
         Tully, who sits just a few feet away at his small desk.

                                 OFFICER KYLE TULLY
                    You wouldn’t . . .

                                 REMUS
                    Again, you have my word.




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                              (A Routine Stop)

                                     by
                               (Selton Shaw)




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         EXT. BANQUET HALL - DAY
         Two rows of well dressed PEOPLE, handsome men in dark
         suits, ties, and sportcoats, and attractive women in
         sheath and floral dresses, are standing at attention, in
         adjacent lines, facing one another, just outside a modest
         Banquet Hall’s double doors. The two rows of men and
         women, line the middle walkway on both sides. A red
         carpet runner separates the two lines of people, leading
         out from the Banquet Hall, down a few steps, to a
         waiting, white stretch limousine. Some of the people in
         both rows are quietly socializing as well as holding
         their cell phones, towards the hall’s doors, looking to
         capture the moment while others are holding small silver
         bells.
         Suddenly, three bridesmaids, dressed in violet, one-strap
         matching dresses and black heels, emerge from the banquet
         hall’s doors. They walk through the two rows of people,
         to the end of the rows, just a few feet from the limo.
         One of the bridesmaids is holding a bouquet of fragrant
         red and yellow roses. Escorting the three bridesmaids are
         three groomsmen, gray suits, white shirts, with violet
         neckties and boutonnieres, who exit the hall, and
         separate from the bridesmaids, on the opposite side of
         their row.
         Two of the groomsmen, ROMULUS “Rome” JOHNSON, and REMUS
         “Ream” JOHNSON, identical twin brothers, late-twenties,
         medium build, athletic, with short haircuts, stand right
         next to each other in one of the lines. Only a pair of
         black aviator sunglasses on the face of Rome
         differentiates him from his twin brother, Ream. As the
         invited wedding guests face the hall’s door in
         anticipation, Remus leans over to his brother.
                                 REMUS
                           (lowers voice)
                    I know that look.
                                 ROME
                           (confused)
                    What look?
                                 REMUS
                    The bridesmaids, bruh. You were drooling
                    the whole wedding. Which one you got your
                    eye on?
         Rome pushes his dark shades to the bridge of his nose to
         carefully inspect the three lovely bridesmaids who are
         standing in the line across from him. Romulus smiles
         towards bridesmaids and they grin back in his direction.




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                                                                            2.




                                 ROME
                           (pushing his shades back over
                            his eyes)
                    You were looking too, Ream. And you know
                    which one I want. The cute one.
                                 REMUS
                    They’re all cute, Rome.
                                 ROME
                    Then I want the one you think is cute.
                                 REMUS
                           (scoffs)
                    There’s something wrong with you. You
                    know that right? Do you have your bell?
                                 ROME
                    Yeah I got this stupid bell. What is the
                    purpose of these bells anyway?
         Rome digs in his trousers and retrieves a small jingle
         bell.
                                 REMUS
                    Come on, Rome. When you ring the bell the
                    bride has to kiss the groom. They did it
                    the whole wedding.
                                  ROME
                           (looking at the bell in his
                            palm)
                    Wait, so if I ring this bell at the cute
                    bridesmaid then she has to kiss me?
                                 REMUS
                           (interrupting, shaking head)
                    No. Forget it. Matter fact, just give me
                    the bell.
         Ream tries to snatch the bell from his brother Rome, but
         he stuffs the bell back in his pants.
                                 ROME
                    You just wish you thought of it.
         Abruptly, a PASTOR, male, mid-fifties, black robe, and
         glasses, opens the double doors of the hall. Both lines
         of attendees quiet down, and fix their attention on the
         Pastor.
                                 PASTOR
                    Thank you all for waiting. I am pleased
                    to present again, Mr. and Mr. Jerome
                    Robinson.

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                                                                             3.




         The Pastor steps to the side and MR. ROBINSON, black tux,
         white vest, and violet bowtie, and his bride, MRS.
         ROBINSON, white wedding dress, emerge from the hall to
         the cheers and celebration of the two rows of applauding
         wedding attendees. Everyone in both lines begins to ring
         their small bells as does Rome. Mr. Robinson kisses his
         bride as they walk hand in hand through the two lines of
         people towards the stretch limousine. The happy couple
         waves to their family and friends who are taking photos
         with their cell phones before heading straight for the
         limo.
                                 ROME
                           (looking at the groom and
                            bride)
                    Relationship goals.
         A Chauffeur emerges from the vehicle and opens the door
         of the limo. The newlyweds step into the limousine and
         both lines rush over and throw rice onto the car as it
         disappears up the street. Rome and Ream, however, remain
         standing as they watch the car drive off.
                                 PASTOR
                           (calling out to the crowd)
                    So the newly married couple had to leave
                    in a hurry to catch the flight to their
                    honeymoon, but please, come on back
                    inside. There is plenty of food left.
                    They wanted you to still enjoy yourselves
                    and make sure you sign the guestbook if
                    you’re leaving.
         The crowd of wedding attendees turn and make their way
         back up towards the hall’s doors to go inside.
                                  REMUS
                    We staying?
         The three bridesmaids walk past Rome and Ream, smiling
         back at them before walking into the hall.
                                 ROME
                           (removes sunglasses)
                    I saw a lot of unopened champagne bottles
                    still in there. Now tell me how this bell
                    works again?
                                 REMUS
                    Come on man. It’s not a magic trick.
         Romulus jingles his bell at Remus as they both follow the
         bridesmaids back towards the entrance of the hall.



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                                                                            4.




         INT. CAR - NIGHT
         Romulus and Remus are both seated in the front driver and
         passenger seats of a black sedan. Their crisp white
         shirts are now unbuttoned at the neck and their ties
         loosened as they converse while waiting at a red light
         intersection.
                                 REMUS
                    Well, I had a good time. Did you get the
                    cute ones number?
                                 ROME
                    Come on, man. It’s a wedding and a brotha
                    is rocking a suit. It was mandatory.
         Suddenly, bright blue and red lights begin to flash from
         a police cruiser behind Romulus and Remus’s car. Both of
         the brothers, looking back confused, are backlit by the
         flickering glare of the beaming police lights.
                                 ROME (CONT’D)
                           (looking at the lights in
                            rear view mirror)
                    Are you serious? We didn’t even do
                    anything! My license is expired. I can’t
                    afford any more dings on my record.
                                 REMUS
                    Well its a good thing I’m driving. Don’t
                    worry. This will all be over in a minute.

         INT. RECORDING STUDIO - NIGHT
         A dark, empty room.
         The door bursts open. A light switch abruptly flicks on,
         illuminating the engineer’s room of a recording studio.
         Two large men enter, POOH BEAR, early-twenties, a
         mountain of a man, burly, bald headed, late-twenties,
         black full beard tee-shirt and jeans, gold chains, and
         tattoos and DUCK, mid-thirties, smaller by comparison,
         but also large, scar on his left cheek, mid-thirties,
         dragging in an unknown MAN, bound with zip ties, by both
         his arms and legs. The man is violently kicking,
         screaming, clawing, contorting his body in the hope of
         freeing himself, but to no avail. His face is covered
         with a black sack.
         Both men strain as they hoist the man towards the center
         of the room. Waiting patiently, seated in a folding chair
         in the middle of the engineer’s room is Remus, black tee-
         shirt and blue jeans, clutching an oily, black, .38
         revolver in both his hands.

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         Remus is disheveled and unshaven with a five o’clock
         shadow. His eyes are flinty, but laser focused on the
         black firearm he massages in his palms. Remus never
         breaks his concentration from the gun to observe the
         abducted man, clawing for his freedom in an attempt to
         get away. Pooh Bear and Duck, with their prisoner in tow,
         walk past some recording equipment, a sound and mixing
         board, monitors, and speakers, dropping the man onto the
         hardwood floor of the engineer’s room.
         Behind Remus is the sound recording booth, but a large
         black tarp covers the glass window to see inside the
         studio recording area. The man with the black sack over
         his face hits the ground with a thud which halts his
         squirming. Pooh Bear glances back outside the door they
         entered in before locking the door behind him. Remus
         finally looks up from his gun, shooting his eyes up to
         Pooh Bear.
                                 POOH BEAR
                    You were sitting in the dark?
                                 REMUS
                    Did anybody see you?
                                 POOH BEAR
                           (shaking head “no”)
                    It was in and out, but they’re gonna fry
                    us for this. Kidnapping a cop? You know
                    it aint no turning back now.
                                 REMUS
                    They killed Rome, Pooh Bear. They forced
                    my hand. Thanks for helping, Duck.
                                 DUCK
                    We weren’t related, but Rome was my
                    brother too. You really want to do this,
                    Ream? You been straight as an arrow your
                    whole life. His mask aint off yet.
                                 REMUS
                    I have to. My brother deserved better
                    than to be shot down like a dog.
         The man with the sack covering his face begins to move
         again, inching across the floor. His hands are tied
         behind his back, and his ankles bound with several zip
         ties. In futility, he attempts to pull himself up on his
         knees. Pooh Bear, however, using the end of his boot,
         pushes the man back on his face.
                                 POOH BEAR
                           (to man on the ground)
                    Where do you think you’re going?


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                                                                            6.




                                 REMUS
                    Once the show starts, we wont have much
                    time. Can you set everything up like we
                    discussed?
                                 POOH BEAR
                    Sure thing, Ream. Today is a good day to
                    die. C’mon, Duck.
         Pooh Bear and Duck walk past Remus through another side
         door in the studio. The bound up man on the floor,
         musters the strength to sit up, Indian style, but drops
         his head down towards his lap. Remus grabs a box of
         bullets, sitting on top of a long, rectangular table in
         the room, along with a manila folder. One by one, he
         begins loading the pistol in his hand, methodically and
         grim. Once his six agents of death are loaded into his
         gun’s chamber, Remus spins the cylinder, flicking it back
         into the pistol.
         Remus’s gaze centers back to the sitting man, with the
         black sack over his head. Pooh Bear and Duck reenter the
         room, both carrying three small folding tables.
                                 REMUS
                           (pointing in front of him)
                    I need one here and the other one across
                    from it. This long table can stay put.
         Pooh Bear and Duck set two of the small square tables
         next to one another with ten feet of space in between
         them. The last small table, they set next to the long
         table that Remus is sitting on. Grabbing some black
         folding chairs from up against the wall, Duck and Pooh
         Bear place two chairs behind each of the two small tables
         they carried into the room. Once they finish, Remus gives
         them a nod of satisfaction as he sits on the long table’s
         edge.
                                 POOH BEAR
                    What do you want us to do with him?
                                 REMUS
                    Cuff him to the chair.
         Pooh Bear and Duck grab the man and removing handcuffs
         from their pockets, they shackle the man’s hands and
         ankles to the chair. Once they cuff the man to the chair,
         they cut the zip ties from off of his arms and legs. Duck
         pushes the man in the chair behind one of the two small
         tables, which are both facing Remus, still seated on the
         edge of the long table.
                                 DUCK
                    What now, Ream?


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                                                                              7.




                                   REMUS
                    Arraignment.
         Remus, gun in fist, storms over to the man cuffed to the
         chair, behind the desk, and violently rips the black sack
         from off of his face. The man, OFFICER KYLE TULLY, pale
         as a ghost, clean shaven, late thirties, buzz cut, with a
         sweat drenched face, stares back at Remus with his eyes
         wide as silver dollars. Breathing heavily, he looks
         quickly around the room, staring quickly at Pooh Bear and
         Duck who are flanking him on both sides. A piece of grey
         duck tape is affixed across the mouth of Kyle, rendering
         him mute. Remus bends down and strips the piece of tape
         from off of his mouth.
                                 REMUS (CONT’D)
                    Officer Kyle Tully. So glad you could
                    make it.
         Officer Tully winces his face and mouth from the duck
         tape’s adhesive which burned as it ripped across his
         face.
                                 OFFICER KYLE TULLY
                           (breathing heavily, raising
                            voice)
                    Do you have any idea the hailstorm you
                    all are in? Do you? You think you can
                    just kidnap a cop? You will release me
                    immediately or I’ll . . .
                                 REMUS
                           (interrupting)
                    You’ll do nothing, Tully! Look around.
                    You’re in no position to make threats.
                                 OFFICER KYLE TULLY
                           (looking over to Pooh Bear)
                    You’re all pretty tough with these cuffs
                    on. Take them off and see who’s walking
                    out of here.
                                 POOH BEAR
                           (walking over to Officer
                            Tully)
                    Oh, you want the cuffs off?
                                 REMUS
                    Not now, Pooh Bear. Don’t get too
                    excited. . . Not yet.
         Pooh Bear, cued by Remus’s glance, steps back from the
         seated, Officer Tully.



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                                                                            8.




                                 POOH BEAR
                    It’s cool. Ream here got something better
                    in store. But keep running yo mouth and
                    I’ll put your teeth in my pocket.
                                 OFFICER KYLE TULLY
                           (spots Ream’s revolver)
                    And what are you gonna to do with that?
                    You kill me, you’ll get the death
                    penalty.
                                 REMUS
                    I’m already dead, Officer Tully. I died
                    the day you gunned down my brother.
         Beads of sweat continue to roll down the face Officer
         Tully, but bound, he is unable to wipe it away.
                                 OFFICER KYLE TULLY
                           (scoffs)
                    Is that what this is about? News flash
                    boys, the grand jury decided not to
                    indict two days ago. I’m a free man.
                                 REMUS
                    You sure don’t look free, officer.
                                 OFFICER KYLE TULLY
                    Justifiable homicide, was the ruling. You
                    take these cuffs off right now and I’ll
                    speak to D.A. Kittlemen for leniency at
                    your sentencing.
         Remus glances over at Duck and Pooh Bear and grins to a
         chuckle. Pooh Bear smiles, but Duck remains stoic.
                                 OFFICER KYLE TULLY
                                 (CONT’D)
                           (screaming)
                    What is so funny? Get me out of here now!
                    Get me out of here!
         Enraged, Officer Tully struggles to free himself from his
         iron jewelry. With all his might, he strains and fidgets,
         but for naught.
                                 OFFICER KYLE TULLY
                                 (CONT’D)
                    Somebody help me!




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                                                                            9.




         INT. POLICE STATION - NIGHT
         CAPTAIN HADLEY NORTON, mid-fifties, balding silver hair,
         and police uniform, blows on his steaming hot coffee as
         he strolls forth, through a quiet, half-filled police
         station bull pen. Individual desks with loose paperwork,
         folders, telephones, and laptops, line the drab walls and
         white tiled floor in the police station.
         Half a dozen POLICE OFFICERS are working inside the
         station on the graveyard shift. Some officers are on the
         phone chasing leads while others are socializing while
         working at their desks. A large forty-two inch monitor is
         mounted to the wall at the north end with the late, local
         news on its screen. Captain Norton strides into his
         office, which has a large glass window, through which he
         can survey the entire bull pen, and plops down at his
         desk which is cluttered with papers.
                                 POLICE OFFICER
                           (yelling from outside his
                            office)
                    Captain Norton! You gotta come see this!
         A bit startled, Captain Norton spills a few drops of his
         coffee onto his desk. Annoyed, he wipes coffee from off
         of his hand and walks out of his office to see what is so
         pressing.
         Captain Norton emerges from his office to find all of the
         police officers in the bull pen standing around the
         television screen. The collective jaws of the police
         officers are silently on the floor as Captain Norton
         squints to get a better look on the monitor. SARGENT
         CYNTHIA TURNER, mid-thirties, police uniform, hair in a
         bun, is standing the closest to the TV, shaking her head
         in disbelief.
                                 CAPTAIN NORTON
                    What’s going on over here? Who is that?
                                 SARGENT CYNTHIA TURNER
                    Captain Norton, it looks like Officer
                    Tully.
                                 CAPTAIN NORTON
                    What’s he doing on our TV?
                                 SARGENT CYNTHIA TURNER
                    Captain, sir, I think he’s been abducted.
                                 CAPTAIN NORTON
                           (gawking at the TV)
                    Are you crazy? Only a dead man would
                    kidnap a cop.

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                                                                           10.




         Captain Norton pushes through the police officers to look
         at the TV, with only a few inches separating his face and
         the monitor. Captain Norton and the other officers watch
         in horror as Remus, Pooh Bear, and Duck surround Officer
         Kyle Tully inside the recording studio. Watching the TV
         screen intensely, Captain Norton gasps, realizing that
         the man on the screen is indeed Officer Kyle Tully.
                                 CAPTAIN NORTON (CONT’D)
                           (frantic, yelling)
                    What the hell is this? Is this real?
                           (tapping the TV screen)
                                 SARGENT CYNTHIA TURNER
                           (staring at the TV)
                    It looks that way, Captain. I know that
                    man right there is Remus Johnson, the
                    twin brother of the man Officer Tully
                    killed last year.
         Captain Norton is furious! His face turns hot red. The
         cops watching the TV are mortified.
                                  CAPTAIN NORTON
                           (yelling)
                    How did this even get on here, Sargent
                    Turner?
                                 SARGENT CYNTHIA TURNER
                    Beats me, Captain. It just came on.
                                 CAPTAIN NORTON
                    It just came on is not acceptable! Get
                    our IT guys down here now! Where is
                    Hawkins?
                                 COP
                    He’s off duty.
                                 CAPTAIN NORTON
                           (raising voice)
                    Then get his ass out of the bed!
         The police officers shrink as the enraged Captain Norton
         barks his orders at them.
                                 CAPTAIN NORTON (CONT’D)
                    I want as APB on, what’s this guy’s name,
                    Sargent?
                           (pointing to Remus on the TV)
                                 SARGENT CYNTHIA TURNER
                    Remus Johnson. He’s referred to the other
                    two as Duck and Pooh Bear. I’m sure those
                    are aliases.

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                                                                           11.




                                 CAPTAIN NORTON
                           (raising voice)
                    Get an APB out on the one you do know
                    now, get Hawkins in here now to trace
                    this feed, run those other faces through
                    the recognition software. I want their
                    real names, addresses, known accomplices,
                    if they stole a carton of milk in the
                    second grade, and I need it done
                    yesterday! The rest of you, your only
                    mission in life is to find Officer Tully
                    and bring him back in one piece. He’s our
                    brother! What are you waiting for? Get
                    out of here! Now!
         Nearly all of the officers rush out of the police station
         in a furious stampede. Sargent Turner heads towards the
         door to leave with her fellow officers.
                                 CAPTAIN NORTON (CONT’D)
                    You stay, Sargent Turner. I need you here
                    with me. You worked this case with Tully,
                    right?
                                 SARGENT CYNTHIA TURNER
                    I did after he went out on administrative
                    leave for the shooting.
         Captain Norton continues speaking to Sargent Turner, but
         his gaze remains locked on the TV monitor. The screen’s
         light illuminates upon Captain Norton’s face as he
         helplessly watches Officer Tully struggle savagely to get
         free.
                                 CAPTAIN NORTON
                    This is just what we need. They marched
                    for nearly a month over that boy getting
                    killed.
                                 SARGENT CYNTHIA TURNER
                    I remember. We all were working overtime.
                                 CAPTAIN NORTON
                    Internal affairs was breathing down my
                    neck over this shooting. You know his
                    family is suing our department for
                    millions? If this ends bad the press will
                    have a field day.
                                 SARGENT CYNTHIA TURNER
                    Are we altering them?
                                 CAPTAIN NORTON
                    Not yet. Let’s see what our boys can dig
                    up first.


                                 TV One_00069
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                                                                           12.




                                 SARGENT CYNTHIA TURNER
                    What do you need from me, Captain?
                                 CAPTAIN NORTON
                    Pull all the files on this case from A to
                    Z. See what you can dig up on his
                    brother, and I need Hawkins down here an
                    hour ago so that we can find out where
                    this feed is coming from.
                                 SARGENT CYNTHIA TURNER
                    I’m on it chief.
         Sargent Turner walks off, leaving Captain Norton alone by
         the television screen.

         INT. RECORDING STUDIO - CONTINUOUS - NIGHT
         Remus remains seated on the edge of the long table,
         facing the two smaller tables, inside the dimly lit
         recording studio. Officer Tully, seated at the table to
         the right of Remus, sits still for the first time, and
         has seemingly calmed down. Holding it up for Officer
         Tully to see, Remus spins his revolver’s cylinder like a
         wheel of misfortune. Duck and Pooh Bear stand only five
         feet from the seated officer, not moving a muscle.
                                 OFFICER KYLE TULLY
                    If you’re trying to intimidate me, save
                    it. I’ve seen it all on this job. Your
                    little pea shooter isn’t impressing me.
                                 REMUS
                    Say what you will. We both know how this
                    is going to end.
                                 OFFICER KYLE TULLY
                    Yeah, with you dead or in jail; where you
                    belong.
         Remus flicks his gun’s cylinder back into his weapon and
         places the firearm in his waistband.
                                 REMUS
                    Somebody’s dying alright. Aren’t you even
                    a little curious as to why I went through
                    all the trouble to get you here?
                                 OFFICER KYLE TULLY
                    Enlighten me.




                                 TV One_00070
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                                                                           13.




                                 REMUS
                    The grand jury decided not to indict you
                    on second degree murder, but the case
                    should have gone to trial.
                                 OFFICER KYLE TULLY
                    Well it didn’t. Justice was served. I did
                    what I had to do.
                                 REMUS
                    Justice, huh? No disrespect officer, but
                    you’re white and fifteen of the sixteen
                    members of the grand jury were white.
                    That hardly seems like impartial justice.
                                 OFFICER KYLE TULLY
                    I had nothing to do with that.
                                 POOH BEAR
                    He’s lying, Ream.
                                 REMUS
                    I know he is.
                                 OFFICER KYLE TULLY
                           (to Pooh Bear)
                    You don’t know anything.
                                 POOH BEAR
                           (to Officer Tully)
                    I know how to make you cry.
         Officer Tully scowls in Pooh Bear’s direction, unshaken
         at his words. Meanwhile, Remus slides open the manila
         folder on the desk he’s seated on and glances over a
         piece of paper.
                                 REMUS
                           (reading paperwork)
                    Well actually, during jury selection,
                    your attorney struck down nine
                    potentially black jurors and five Latino
                    ones. So tonight, I’m putting you on
                    trial myself.
                                  OFFICER KYLE TULLY
                    Excuse me?
                                 REMUS
                    You heard me. The three of us will serve
                    as diverse voices that your jury sorely
                    lacked.




                                 TV One_00071
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                                                                            14.




                                 OFFICER KYLE TULLY
                    But you’re all black! That’s not
                    diversity!
                                 POOH BEAR
                    Not true, officer. I’m one eighteenth
                    Irish. Go Celtics.
                                 DUCK
                    And I’m mixed with black and Jamaican.
                                 OFFICER KYLE TULLY
                    This is bull! Let me go now!
                                 REMUS
                    No, you’re here to stay. I vote yes to
                    indict.
                                   POOH BEAR
                    Me too.
                                 DUCK
                    Three’s company . . .
         Remus stands up from off of edge of the long table and
         takes the manila folder with him. He walks over to the
         other small table, next to the one that Officer Tully is
         sitting behind, and takes a seat.
                                 REMUS
                           (looking across to Tully)
                    The indictment on the charge of second
                    degree murder for Officer Kyle Tully is
                    officially entered. Mr. Tully, do you
                    understand your rights as it pertains to
                    the indictment?
                                 OFFICER KYLE TULLY
                    You can’t indict me! This isn’t a court
                    of law! You don’t have the authority!
                                 REMUS
                    So, Officer Tully, you are charged with
                    second degree murder in the death of
                    Romulus Johnson. I will be representing
                    the prosecution and I assume you will be
                    representing yourself for your defense.
                    The long table in front of us is for the
                    judge and the short table next to it will
                    serve as our witness stand.
                                 OFFICER KYLE TULLY
                    Let me stop you right there. I won’t be
                    participating in this stupid little
                    exercise.

                                  TV One_00072
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                                                                            15.




                                 REMUS
                    I wasn’t done! If you’re found not
                    guilty, you’re free to leave.
                                 OFFICER KYLE TULLY
                           (perks up)
                    You’ll let me go? Just like that? I don’t
                    believe you.
                                 REMUS
                    You have my word, Officer Tully. I’ll
                    release you and face the music. If you’re
                    found guilty, however, the penalty . . .
                    is death.
         A fearsome chill glazes across the face of Officer Tully.
         He turns white as a sheet and his nostrils flair. Remus
         scowls a death stare, directly into the eyes of Officer
         Tully, who sits just a few feet away at his small desk.
                                 OFFICER KYLE TULLY
                    You wouldn’t . . .
                                 REMUS
                    Again, you have my word.
         Officer Tully jerks at his iron chains in outrage.
                                 OFFICER KYLE TULLY
                           (raising voice)
                    And just who do you think you are? This
                    isn’t justice! He was your brother. You
                    can’t be impartial! Who made you judge,
                    jury, and executioner?
                                 REMUS
                    You mean like you were the night you
                    killed my brother? If you’re found
                    guilty, I will be the executioner, but
                    for justices sake, the honorable Pooh
                    Bear will be presiding as the judge in
                    this case.
                                  POOH BEAR
                    Judge swag.
         Officer Tully, his jaw ajar, looks over to Pooh Bear in
         disbelief. Pooh Bear, his gold chains swinging on his
         chest, strides up to the long desk, taking a seat at the
         long table in front of him. He places both of his size
         twelve boots on the table, crossing his legs and
         reclining like he’s resting in a hammock.




                                  TV One_00073
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                                                                           16.




                                 OFFICER KYLE TULLY
                           (shaking his head “no”)
                    Oh no. Out of the question. Nobody named
                    Pooh Bear is going to be my judge.
                                 POOH BEAR
                    That’s the honorable, Pooh Bear. I
                    Googled it.
         Pooh Bear lifts up a white piece of paper, scribbled with
         courtroom procedures, in numerical order.
                                 OFFICER KYLE TULLY
                    No, I’m not doing this. My life is not in
                    his hands.
                                 REMUS
                           (to Officer Tully)
                    Your life is in your own hands at this
                    point. Duck here will be our bailiff.
         Duck, still standing near Officer Tully, raises his shirt
         up to reveal a pearl handled, Glock 9mm pistol, resting
         in his waistband.
                                 DUCK
                           (staring at Officer Tully)
                    Don’t try anything stupid.
                                 OFFICER KYLE TULLY
                    Shoot me now because even if I went
                    along, I still don’t have a chance. You
                    all don’t want justice, you want revenge.
                    If I was indicted, a real, impartial jury
                    wouldn’t convict me because I’m not
                    guilty. Now that’s the truth.
                                 REMUS
                    I’m glad you said that.
         Remus stands up from behind his square table and walks
         over towards a wall with a large black tarp covering it.
         The huge tarp is taped to the ceiling and runs down to
         the studio’s floor.
                                 REMUS (CONT’D)
                    You know they say that justice is blind.
         Remus yanks the black tarp off of the wall. As the tarp
         falls to the floor, the studio’s recording booth is
         revealed, with a thick plexi-glass wall separating the
         recording booth from the engineer’s room. Through the
         glass, inside the recording booth, are twelve seated
         PEOPLE, in two rows of six, also handcuffed to their
         chairs with black sacks covering each one of their heads.

                                 TV One_00074
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                                                                           17.




         To the front of the room sits a metallic ribbon
         microphone which is connected to a microphone stand.
                                 REMUS (CONT’D)
                    Tonight, for the first time in the
                    history of mankind, justice will be truly
                    blind. We’ll present our cases to these
                    wonderful volunteers and whatever verdict
                    they render will be final. Judge,
                    bailiff, may I have a quick word in
                    chambers?
         Pooh Bear and Duck double-time over to Remus who pushes
         through a door and they follow him inside.

         INT. BATHROOM - CONTINUOUS - NIGHT
         Remus, Pooh Bear, and Duck enter a shadowy bathroom. It
         hasn’t been cleaned in years, no tissue on the roll,
         cobwebs, and grime runs along the walls. One light bulb
         rests over their heads and the glass mirror over the
         grubby sink is cracked.
                                 REMUS
                    Thank you for again for this. I know its
                    probably going to cost us our lives.
                                 POOH BEAR
                    Look fam, Rome was our boy. We put a lot
                    of work in on these streets, but he was a
                    good dude. You went to college though,
                    Ream. You shouldn’t be throwing
                    everything away for dis cop.
                                 DUCK
                    Bear is right. Your brother was proud
                    that you never got into the life. After
                    what we’ve done tonight, you’re as good
                    as dead.
                                 REMUS
                    I died when my brother died. Some things
                    just need to be said. If we don’t do it,
                    nobody will. I can’t turn back. I’m sure
                    they’re looking for us right now. If you
                    want out, now’s the time.
         Pooh Bear and Duck glance at one another before turning
         their attention back to Remus.
                                 POOH BEAR
                    I’m in . . . all the way.



                                 TV One_00075
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                                  ID #:676
                                                                           18.




                                 DUCK
                    . . . Court is in session.

         INT. POLICE STATION - NIGHT
         Captain Norton, has pulled up a rolling chair to the
         mounted TV screen in the police station bull pen. He
         stares at the television desperately like he’s in a
         trance. Not even blinking. The station has cleared out
         and is as quiet as a cotton ball hitting the floor.
         Sargent Turner emerges from a back room and speed walks
         over to the Captain with a thick file folder tucked under
         her arm.
                                 SARGENT CYNTHIA TURNER
                    I got the file. What did I miss?
                                 CAPTAIN NORTON
                    What did you miss? Well, let’s see. Remus
                    is putting Officer Tully on trial for his
                    brother’s murder. If he’s found guilty,
                    he says he’s going to kill him.
                                 SARGENT CYNTHIA TURNER
                           (confused)
                    Put him on trial how?
                                 CAPTAIN NORTON
                           (sighs)
                    He’s fashioned that studio like a court
                    room and has twelve other hostages in the
                    sound booth listening in, I guess.
                                 SARGENT CYNTHIA TURNER
                    What? Let me see?
                                 CAPTAIN NORTON
                           (pointing to TV)
                    They’re right there. In that back room.
         Sargent Turner walks up to the monitor, staring at the
         shackled Officer Tully, but also observes the jury
         through the Plexiglas, seated in two rows of six, with
         the black sacks covering their heads.
                                 SARGENT CYNTHIA TURNER
                    He’s insane. He kidnapped thirteen
                    people?
                                 CAPTAIN NORTON
                    That’s what it looks like. Where are we
                    on finding Tully?



                                 TV One_00076
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                                                                           19.




                                 SARGENT CYNTHIA TURNER
                    I’ve got every available cop, checking
                    every studio all over town so it could
                    take a while. Here’s the file. You wanna
                    take a look?
                                 CAPTAIN NORTON
                    Yes, but right here. I want to keep my
                    eyes on this situation.
         Captain Norton and Sargent Turner cop a squat at a desk
         just a few feet away from the TV screen.
                                 CAPTAIN NORTON (CONT’D)
                    Just give me the gist. Internal Affairs
                    handles police shootings so I was hands
                    off on Tully’s case.
                                 SARGENT CYNTHIA TURNER
                    I heard a rumor that the family is suing
                    for one hundred million dollars. Is that
                    true?
                                 CAPTAIN NORTON
                    Sure are. They wont get that much. The
                    number alone is ludicrous.
                                 SARGENT CYNTHIA TURNER
                    Of course they wont get that much, but
                    still.
                                  CAPTAIN NORTON
                    But, what?
         Sargent Turner takes a deep breath and shakes her head.
                                 SARGENT CYNTHIA TURNER
                    But what is the value of a human life,
                    Captain? You have three grandkids, right?
                                  CAPTAIN NORTON
                    I do.
                                 SARGENT CYNTHIA TURNER
                    Well then, what are their lives worth to
                    you? A dollar amount, I mean? You can’t
                    put a price on a person’s life.
         Annoyed, Captain Norton taps his fingers on the table.
                                 CAPTAIN NORTON
                    Sargent, we’re wasting time.




                                 TV One_00077
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                                  ID #:678
                                                                           20.




                                 SARGENT CYNTHIA TURNER
                           (flips open file folder)
                    You’re right. So basically Tully pulled
                    over Romulus Johnson, here is his jacket,
                    during a routine stop for not signaling
                    on a lane change.
         Sargent Turner hands Captain Norton the weighty file for
         Romulus Johnson.
                                 CAPTAIN NORTON
                    Yeah, I’ve seen his jacket. Died at
                    twenty-nine, in and out of juvi as an
                    adolescent.
                           (skimming over the file)
                    Possession, possession, possession with
                    the intent to distribute. He did a couple
                    of smaller stretches and fourteen months
                    for selling to an undercover cop.
                                 SARGENT CYNTHIA TURNER
                    Yes, and he was on probation at the time
                    of the shooting. What’s going on now in
                    there? I only see Officer Tully.
                           (looking up at the TV)
                                 CAPTAIN NORTON
                    Remus and the other two went somewhere
                    off camera. Do you think Tully knows
                    they’re recording this?
                                 SARGENT CYNTHIA TURNER
                    I doubt it. Oh and I have the identity of
                    those other two men in the room.
                           (hands Norton two more files)
                    Their names are Carter Duckworth and
                    Pernell Holland. They were known
                    associates of Romulus. I put ABP’s out on
                    them as well.
         Captain Norton stands to his feet and paces the room as
         he watches Officer Tully on the TV screen.
                                 SARGENT CYNTHIA TURNER
                                 (CONT’D)
                    Don’t worry, Captain. We’re going to find
                    him, sir. You want some more Joe?
                                 CAPTAIN NORTON
                           (shaking his head)
                    Sure, and we’ve got to find him. Tully
                    has a wife and ten year old son. I mean a
                    blinker?



                                 TV One_00078
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                                                                           21.




                                 SARGENT CYNTHIA TURNER
                           (confused)
                    Excuse me, sir?
         Captain Norton looks up at the TV screen in exhaustion,
         watching Officer Tully in chains.
                                 CAPTAIN NORTON
                    A blinker. A freakin’ turn signal,
                    Sargent. This is all happening because of
                    a blinker?
                                 SARGENT CYNTHIA TURNER
                    Captain, with all due respect, this case
                    has nothing to do with a blinker.
         Sargent Turner walks off towards to put on another pot of
         coffee. Captain Norton just stares at her as she leaves.

         INT. RECORDING STUDIO - NIGHT
         Remus, his revolver now clutched in his right hand, walks
         out from his bathroom meeting with Pooh Bear and Duck,
         who are following behind him. Remus cuts his eyes at
         Officer Tully, before taking his seat behind the small
         table just a few feet next to him. Tully looks
         disheveled, watching his three captors return to the room
         as beads of sweat have congregated across his forehead.
         Pooh Bear takes his seat at the long table, in front of
         the two smaller tables where Officer Tully and Remus are
         sitting, while Duck walks over and stands near Pooh Bear.
                                 REMUS
                    Duck, can you cue the sound?
                                  DUCK
                    I got you.
         Duck walks over to a laptop computer, near some other
         studio equipment, mixing boards, speakers, an old drum
         set, and a few microphone stands. He hunches over and
         strikes a few keys on the laptop’s keyboard.
                                 REMUS
                           (looking over to Tully)
                    Once Duck powers on the sound, Officer
                    Tully, the jury in that booth will be
                    able to hear out every word. Choose them
                    carefully.
                                 OFFICER KYLE TULLY
                    I got nothing to hide. I was doing my
                    job!


                                 TV One_00079
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                                  ID #:680
                                                                           22.




         On Remus’s nod, Duck mashes the ‘Enter’ key and a red
         light-bulb illuminates inside the recording booth with
         the twelve jurors. Duck then steps back over to stand
         near the door. Duck, standing with his arms folded,
         blurts out a chuckle to the chagrin of Officer Tully.
                                 OFFICER KYLE TULLY
                                 (CONT’D)
                    What’s so funny?
                                 DUCK
                           (crossing his arms)
                    I’ve been to court so many times that I
                    know this part by heart. Court is now in
                    session. The honorable judge Pooh Bear is
                    presiding.
                                 POOH BEAR
                           (reclining in his seat)
                    Just call me Judge swag. You feel me?
                                 OFFICER KYLE TULLY
                           (rolling eyes)
                    This is such a sham. They’re going to put
                    all of you under the jail. You got
                    thirteen hostages and you think you’re
                    walking away from all of this?
                                 POOH BEAR
                    Hey! Court is in session, Officer Tully.
                    The jury can hear you. No more outbursts.
                                  OFFICER KYLE TULLY
                    Or what?
                                 POOH BEAR
                    Or I smack you in the face with my bawled
                    up fist.
         Pooh Bear picks up his court procedural document and
         begins reading it.
                                 POOH BEAR (CONT’D)
                           (reading document)
                    Members of the jury, you are here to
                    determine the guilt or innocence of you,
                    officer Kyle Tully, in the shooting death
                    of Romulus Johnson. The charge is murder
                    in the second degree. Remus, you wanna
                    make your opening statements?
                                  REMUS
                    Yes, I do.



                                 TV One_00080
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                                  ID #:681
                                                                           23.




                                 POOH BEAR
                    Go ahead, playa.
         Remus clears his throat, gesturing for Pooh Bear to
         straighten up. Pooh Bear, who was still reclined in his
         seat, sits up straight and adjusts his posture in an
         upright position.
                                 POOH BEAR (CONT’D)
                    I mean, ugh . . .
                           (eyes bouncing over document)
                    Proceed, ugh, consul.
         Remus rises to his feet and walks over to the Plexiglas
         that’s separating the jury’s recording booth from the
         main engineering room. Remus stares through the glass, at
         the twelve, handcuffed, jury members with their faces
         covered with black sacks. Remus stares at the jury, and
         exhales, shaking his head in frustration.
                                 REMUS
                    Ladies and gentlemen of the jury, let me
                    first apologize for bringing you here
                    tonight, against your will.
                    Unfortunately, this was the only way to
                    get impartial justice in this case. No
                    matter what your final decision is, you
                    will be freely released when this is
                    over. Here are the facts. . .
         Remus turns away from the Plexiglas and faces Officer
         Tully, sitting still as a stone in his chains.
                                 REMUS (CONT’D)
                    On the night of January 24th, of last
                    year, Officer Kyle Tully, the defendant,
                    pulled our car over for failing to use a
                    turn signal while changing lanes. I
                    showed him all the proper and necessary
                    ID, but Officer Tully neligently killed
                    my brother in the process.
                                 OFFICER KYLE TULLY
                    I didn’t kill that boy! He was acting
                    erratic. Your brother was a criminal with
                    a rap sheet longer than a roll of toilet
                    paper.
         Pooh Bear leans forward, pointing his index finger at
         Officer Tully.
                                 POOH BEAR
                    You’ll get your turn, officer. I wont
                    warn you again.


                                 TV One_00081
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                                  ID #:682
                                                                           24.




         Tully grinds his teeth, his eyes riveted back over to
         Remus, giving him the floor to speak.
                                 REMUS
                    Thank you, your honor.
                                 POOH BEAR
                    You good, dog.
                                 REMUS
                    As I was stating, my brother didn’t need
                    to get killed and his past criminal
                    record has nothing to do with this case.
                    No victim of violence deserves to get
                    killed just because they made past
                    mistakes in their life.
         Remus shoots a look over to Officer Tully before he steps
         over to the Plexiglas.
                                 REMUS (CONT’D)
                    Now for the members of our jury, second
                    degree murder is when you intended to
                    cause a death, but the killing wasn’t pre-
                    mediated.
         Remus glances back over to officer Tully, wrinkling his
         face at the officer.
                                 REMUS (CONT’D)
                    Do I think Officer Tully planned to kill
                    my brother when he pulled us over? No,
                    but did he intend to cause his death when
                    he shot him? It should have never
                    happened and I’m going to prove that
                    tonight. Thank you.
         Remus steps over to his small table and takes his seat.
         Ignoring Remus’s icy stare, Tully rolls his eyes over to
         Pooh Bear, but says nothing.
                                 REMUS (CONT’D)
                    You kept interrupting me. Now you can
                    speak and you got nothing to say?
                                 OFFICER KYLE TULLY
                           (scoffs)
                    What do you want me to say? That I’m
                    going to entertain this little fantasy
                    trial of yours? Please, you have to know,
                    as a grown man, this is pathetic.
                                 REMUS
                    I’m not looking at a man. All I see is a
                    boy.

                                 TV One_00082
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                                  ID #:683
                                                                           25.




                                 OFFICER KYLE TULLY
                    Now I know it’s something wrong with you.
                                 REMUS
                    Oh, I’m fine. It’s you officer, who
                    hasn’t grown up. Sure your foot size grew
                    and your voice got deeper, but if you
                    can’t defend your own actions as a man,
                    you’re just a boy living in a man’s body.
                                 OFFICER KYLE TULLY
                    That trick isn’t going to work on me.
                                 REMUS
                    No tricks, Officer Tully. I’m giving you
                    the unique opportunity to truthfully
                    stand behind the decisions you made and
                    be a man. If you can’t be honest with
                    yourself, than you’re indeed boy and thus
                    incapable of representing yourself. I
                    would have no choice but to enter a
                    verdict on your behalf . . .
         Officer Tully sighs in frustration.
                                 OFFICER KYLE TULLY
                    . . . So can I go now?
                                 POOH BEAR
                           (shaking head)
                    You’re up, officer.
                                 OFFICER KYLE TULLY
                    Good evening, good people. I know you’re
                    confused and I’m sure a little scared
                    right now, but rest assured, everything
                    is going to be alright. My name is
                    officer Kyle Tully. I’m a thirteen year
                    vet on the police force. I have a wife
                    and a ten year old son and I love to
                    serve my community. This incident was
                    unfortunate, but my shooting was
                    justified. There was a threat and I had
                    to eliminate it. I will prove my
                    innocence tonight and I won’t let
                    anything happen to you all.
                                 REMUS
                           (rising up quickly from his
                            chair)
                    Objection, your honor. Officer Tully is
                    in no position to guarantee anything to
                    the jury. He must stick only with the
                    facts and his defense.



                                 TV One_00083
Case 2:22-cv-09021-DMG-PVC   Document 69-3      Filed 11/05/24   Page 57 of 143 Page
                                  ID #:684
                                                                           26.




                                 POOH BEAR
                           (scratching head)
                    You right, he can’t. You win that one,
                    Ream.
                                 REMUS
                    Stick to the notes, Judge. Sustained
                    means you’re upholding my position.
                    Overruled means you’re siding with him.
         Pooh Bear lifts up the piece of paper with his procedural
         notes on it, squinting at the lined paper like its words
         are written in Chinese.
                                 POOH BEAR
                    Got you, bruh. Sustain. Stick to the
                    case, Officer. You got anything else to
                    say?
                                 OFFICER KYLE TULLY
                    I do. I’m deeply sorry that a young man
                    lost his life, but I’m not sorry for
                    doing my job. I’m innocent of this crime.
                    Thank you.
         Officer Tully smirks at Remus, seated at his table.
                                 POOH BEAR
                           (looking over his notes)
                    Okay, Ream. You ready to call your first
                    witness?
                                 REMUS
                    I am, your honor. Duck, can you please go
                    bring in our first witness?
         Duck nods and slips out the front door of the studio.
                                 OFFICER KYLE TULLY
                    You brought actual witnesses?
                                 REMUS
                    Of course I did.
         Duck reopens the studio’s front door and steps inside
         with MRS. GLORIA JOHNSON, mid-60’s, Creole accent flora
         dress, and bifocals, on his arm.
                                 REMUS (CONT’D)
                    The prosecution calls Mrs. Gloria Johnson
                    to the stand, mother of the deceased,
                    Romulus Johnson.




                                 TV One_00084
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                                  ID #:685
                                                                           27.




                                 OFFICER KYLE TULLY
                           (astonished)
                    Your mother? She wasn’t even there.
         Duck escorts Mrs. Johnson to the small table, adjacent to
         long table where Pooh Bear is seated, which is serving as
         the witness stand.
                                 DUCK
                    Please raise your right hand, Mrs.
                    Johnson.
         Mrs. Johnson lifts her wrinkly right hand in the air.
                                 DUCK (CONT’D)
                    Do you swear to tell the truth, the whole
                    truth, and nothing but the truth so help
                    you God?
                                 MRS. JOHNSON
                    Too old to lie now, shuga.
         Duck pulls Mrs. Johnson’s chair out and helps her take
         her seat. He forces out a faint grin at Mrs. Johnson
         before returning back over towards the door.

         INT. POLICE STATION - NIGHT
         Captain Norton, a cup of cold Joe clinched tightly in his
         hand, has his eyes glued unwaveringly to the TV screen in
         the station. He watches in disbelief as Remus’s mother
         takes the witness stand. Two other POLICE OFFICERS, look
         on with Captain Norton, equally as flabbergasted at what
         is unfolding inside the studio.
                                 CAPTAIN NORTON
                    Sargent! Get in here!
         Speed walking, Sargent Turner, hastens towards Captain
         Norton with a small file folder in her hand.
                                 SARGENT CYNTHIA TURNER
                    Did something happen?
                                 CAPTAIN NORTON
                    He’s got his mother in there for goodness
                    sake.
                           (motions up to the screen)
         Captain Norton is uneasy and on edge. He can’t even drink
         his coffee.




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                                 SARGENT CYNTHIA TURNER
                           (confused)
                    Whose mother?
                                 CAPTAIN NORTON
                    Remus’s mother. She’s taking the stand
                    Where are we on finding this guy?
                                 SARGENT CYNTHIA TURNER
                    Every cop on the street is looking. And
                    Rome’s brother doesn’t have a file. He’s
                    never been collared.
                                 CAPTAIN NORTON
                    Well, he should have. He’s clearly
                    insane. He must have jaywalked at some
                    point! Come on!
                                 SARGENT CYNTHIA TURNER
                    No sir, I checked twice. Not even a
                    parking ticket.
                                 POLICE OFFICER #1
                    You think she’s in on it?
                                 SARGENT CYNTHIA TURNER
                           (scoffs)
                    That old lady? I doubt it.
                                 CAPTAIN NORTON
                    Who knows at this point. I’ve never seen
                    anything like this in thirty years on the
                    force. We need you to find this guy, like
                    yesterday. I gotta bad feeling about
                    this. . .

         INT. RECORDING STUDIO - NIGHT
         Mrs. Johnson is seated at the witness table with Judge
         Pooh Bear sitting next to her at his long table. In front
         of them both, at opposite tables, are Remus and Officer
         Tully.
                                 POOH BEAR
                    You may proceed, Remus.
         Glancing down at his notes, Remus looks up and smiles at,
         Mrs. Johnson.
                                 REMUS
                    Mrs. Johnson . . .




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                                 MRS. JOHNSON
                    Now you can quit wit that right now. I
                    know you got more degrees than a
                    thermometer, but I ain’t neva gonna be
                    Mrs. Johnson to you. You done called me
                    Mama since you had two teeth in ya gums.
                    Don’t start getting fancy now, son.
         Remus chuckles and stands from his seat. He walks over to
         Mrs. Johnson and takes her hand. She stares at Remus,
         wearing a smirk on her face.
                                  REMUS
                    Mama.
                                 MRS. JOHNSON
                    Don’t Mama me. Ima tell you right now, I
                    don’t approve of what ya doing here, son.
                    This aint right. I raised you betta than
                    this, didn’t I?
                                 REMUS
                    . . . You did, Mama.
         Mrs. Johnson smacks Ream's hand like she’s trying to
         squash a mosquito.
                                 MRS. JOHNSON
                           (raising voice)
                    Don’t give me that. You know right from
                    wrong. Them people back there scared, he
                    scared, and it shouldn’t have come to
                    this.
                                 OFFICER KYLE TULLY
                    I’m not scared.
                                 MRS. JOHNSON
                    Then why you over there, quieter than a
                    mouse peeing on cotton? Please don’t
                    interrupt me, officer. I’m speaking to my
                    only living child. Thanks to you.
                                 REMUS
                    I could have done this another way, but
                    Mama, I need to ask you some questions,
                    and I need you to be honest with me.
                                 MRS. JOHNSON
                    I ain’t got no reason to lie to you, son.
                                 REMUS
                    So the jury is made aware, Mrs. Johnson --



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                                                                           30.




         Mrs. Johnson clears her throat heavily to get Remus’s
         attention.
                                 REMUS (CONT’D)
                    I mean, Mama, wasn’t there the night of
                    the shooting, but can you talk a little
                    bit about your son? Who was he really?
                    You knew him better than anybody. I want
                    the jury to know the man who lost his
                    life.
         Mrs. Johnson perks up in her chair.
                                 MRS. JOHNSON
                    Romulus was an amazing son. You and him
                    both came early, only four pounds apiece
                    at delivery. He was smart and handsome,
                    just like you. He did love women.
                    Speaking of which, you need to settle
                    down. You aint getting any younger and I
                    want some grand-babies.
                                  REMUS
                    Mamma.
                                 MRS. JOHNSON
                    He was a good boy, but serious. His flaw,
                    and we all got ‘em, was his impatience.
                    He couldn’t wait for water to turn wet.
                                 REMUS
                    Is that how you saw him?
                                 MRS. JOHNSON
                     . . . I loved my son, but he wanted
                    everything, all at once. That’s why he
                    started dealing. I told him that there
                    was no life in doing the wrong thing. He
                    just didn’t believe me.
                                 REMUS
                    Was your son violent?
                                 MRS. JOHNSON
                    No, he wasn’t. He was never arrested for
                    anything like that. Lord knows I miss
                    him. May I speak to Officer Tully for a
                    moment, son?
                                 OFFICER KYLE TULLY
                    Mrs. Johnson, your son is in a lot of
                    trouble right now. If you care at all
                    about him, you need to tell him to let me
                    go and to let these people go.
                                 (MORE)


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                                                                           31.




                                 OFFICER KYLE TULLY
                                 (CONT'D)
                    If he doesn’t, you might end up with no
                    sons at all.
                                 MRS. JOHNSON
                    I stopped changing diapers a long time
                    ago. This is his mess. He’s gonna be the
                    one to clean it up.

                    Well then, Mrs. Johnson, I don’t have
                    much to say to you. I’m here against my
                    will.
                                 MRS. JOHNSON (CONT’D)
                    Don’t worry, I can do all the talking.
         Mrs. Johnson gets up from her seat. Duck motions to come
         over and assist her, but she waves him back off.
                                 MRS. JOHNSON (CONT’D)
                    I’m fine unless you gonna carry me.
         Duck politely shakes his head ‘no’ towards Mrs. Johnson
         on the stand. She rises to her feet and walks over to
         Officer Tully. Mrs. Johnson steps right beside Officer
         Tully, but not before sliding Remus’s chair over to his
         desk. The legs of the chair emit a low-pitched purr as
         Mrs. Johnson drags her seat right up beside officer
         Tully. Still handcuffed to his chair, Tully is unable to
         look away from her as Mrs. Johnson is seated only a mere
         foot away from him.
                                 MRS. JOHNSON (CONT’D)
                           (sitting down)
                    Good evening, sir.
                                  OFFICER KYLE TULLY
                    Ma’am.
                                 MRS. JOHNSON
                    I was wondering if I ever spoke to you
                    face to face, what would I want to say to
                    you? After you killed my boy, I was too
                    numb to really think about it.
                                 OFFICER KYLE TULLY
                    So you planned this with your other son?
                                 MRS. JOHNSON
                           (snickers)
                    No sir, I didn’t. Do you have any
                    children, Mr. Tully?
                                  OFFICER KYLE TULLY
                    A son.

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                                                                           32.




                                  MRS. JOHNSON
                    How old?
                                  OFFICER KYLE TULLY
                    Ten.
                                 MRS. JOHNSON
                    Oh, he’s barely a tadpole. Now when you
                    shot my boy, and the news was coming out
                    about it, when everyone was marching in
                    the streets because of the outrage, what
                    did you tell your son about what
                    happened?
         Officer Tully takes a deep breath and shrugs his
         shoulders.
                                 OFFICER KYLE TULLY
                    . . . I told him that daddy has a very
                    tough job. That sometimes he makes
                    decisions that can potentially be life or
                    death choices. He’s young, but he gets
                    it. That’s why I’m his hero.
                                 MRS. JOHNSON
                    So you play God on the job?
                                 OFFICER KYLE TULLY
                    We protect and serve. Things can always
                    happen in this line of work.
                                 MRS. JOHNSON
                    But officer Tully, everyone has a bad day
                    at work. Eventually, if she works long
                    enough, a waitress will break a dish.
                                 OFFICER KYLE TULLY
                    What’s your point?
                                 MRS. JOHNSON
                    Did you have a bad day the night you
                    killed my boy? Did he really need to die?
                                 OFFICER KYLE TULLY
                           (rolling eyes)
                    Mrs. Johnson . . .
                                 MRS. JOHNSON
                    Look at me, officer!
         Mrs. Johnson suddenly grabs a handful of Officer Tully’s
         chin with her hand. She propels his face violently
         towards hers, so he can look her square in the eyes.



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                                 OFFICER KYLE TULLY
                    Take your hands off me!
         Tully, abruptly jerks his face away from Mrs. Johnson’s
         grasp. Mrs. Johnson and Officer Tully are face to face,
         just a few inches from one another.
                                 MRS. JOHNSON
                           (raising voice)
                    They were leaving a wedding! Did you see
                    their suits when you first came to the
                    car?
                                 OFFICER KYLE TULLY
                           (flustered)
                    Don’t touch me again, Mrs. Johnson.
                                 MRS. JOHNSON
                    You stated in the investigation that you
                    thought his insurance card was a weapon.
                    You really believe that?
                                 OFFICER KYLE TULLY
                    That’s what I saw.
                                 MRS. JOHNSON
                           (scoffs)
                    Sure, so two black men, left a wedding,
                    set on killing a random police officer on
                    the way home? That’s crazier than a one
                    tree hammock!
         Mrs. Johnson freezes Officer Tully with a draconian look.
         All pretense of politeness is gone.
                                 OFFICER KYLE TULLY
                    I don’t have to listen to this! Your son
                    was a criminal. That might be hard for
                    you to accept, but he was. I was doing my
                    job! Maybe had you done yours, he’d still
                    be here.
                                 REMUS
                    How dare you speak to my mother that way!
                                 MRS. JOHNSON
                    Leave it be, son. This officer knows that
                    killing aint in his job description. My
                    son had his problems, but that got
                    nothing to do with what chu did. You
                    broke some dishes that night. It should
                    never have happened.
                                 OFFICER KYLE TULLY
                    Are you done, Mrs. Johnson?

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         Mrs. Johnson looks away for a moment, her eyes filling
         with tears.
                                 MRS. JOHNSON
                           (wiping her tears away)
                    You don’t even see it. You took a life,
                    snatching everything my son was and would
                    have been.
                                 OFFICER KYLE TULLY
                    He was reaching for something!
                                 MRS. JOHNSON
                           (pointing at Tully)
                    Yes, what you asked him for! He was my
                    first child! I carried him and pushed him
                    into existence. Ten hours of my blood and
                    sweat, gone in a second! You never
                    apologized, you never reached out to me,
                    because you’re not sorry.
                                 OFFICER KYLE TULLY
                    I won’t apologize for doing my job. He
                    reached.
                                 MRS. JOHNSON
                           (raising voice)
                    If your ten year old had reached, would
                    you have shot him four times?
         Dead silence. Officer Tully, shakes his head, glancing
         away from Mrs. Johnson.
                                 MRS. JOHNSON (CONT’D)
                    Despite what you may think about my son,
                    he was an amazing man, not looking to
                    take your life that night. He didn’t
                    deserve this.
                                 OFFICER KYLE TULLY
                    And I don’t deserve this.
                           (jerking his chains)
                                 MRS. JOHNSON
                           (nodding head)
                    I can agree to that, but you need to
                    know, from my mouth, that my son is not
                    among the living because of the judgement
                    call you made. If on your job, you’re
                    going to play God, you can’t afford to
                    break not even a single dish.
         Mrs. Johnson stands up, seemingly now resigned, and
         slides her chair back under the prosecution’s table.


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         She steps slowly, inching towards the exit door in the
         studio.
                                 MRS. JOHNSON (CONT’D)
                    I’m sorry for grabbin’ your face,
                    Officer. Son, I don’t approve. In an
                    hour, I’m calling the police and telling
                    them where you are. You understand?
         Both Duck and Pooh Bear are stunned, their mouthes swing
         open. Officer Tully, exhales a breath.
                                 POOH BEAR
                           (confused)
                    Wait? You’re what?
                                 MRS. JOHNSON
                    You heard me. Right is right, son. One
                    hour, no more.
         Duck slides over to block the studio’s exit door from
         Mrs. Johnson.
                                 POOH BEAR
                           (startled)
                    You’re calling the cops on us?
                                 DUCK
                    Can’t let you leave, Mrs. Johnson.
                                 MRS. JOHNSON
                    Excuse me? I can go around or through
                    you.
                                 REMUS
                    Step aside, Duck. That’s my mother and
                    she’s right. We all know how this is
                    going to end.
         Stymied, Duck moves out the way in frustration. With her
         path cleared, Mrs. Johnson walks out of the studio,
         shutting the door behind her.

         INT. POLICE STATION - NIGHT
         Captain Norton and Sargent Turner, along with the two
         other Police Officers, BLAKE and FARETTI, in the bull
         pen, stand as still as statues, watching the events on
         the TV screen unfurl live. HAWKINS, mid-thirties, round
         glasses, slacks, polo, with a cup of coffee in his hand,
         types at a laptop which has a cable connected to the TV
         on the wall.



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         Everyone’s eyes are piercing at the screen, observing
         Mrs. Johnson walking out of the recording studio. Captain
         Norton finally moves, snapping his attention over to
         Sargent Turner.
                                 CAPTAIN NORTON
                           (pointing to screen)
                    That’s it. The mother. She knows where
                    Tully is. She’s going home. I’m sure of
                    it. Blake, Faretti, go pick up the
                    mother. Dispatch will send you the
                    address. Let’s move.
                           (to Police Officers)
         Both Police Officers walk speedily out of the police
         station. Captain Norton rubs his forehead apprehensively,
         but keeps his gaze locked on the mounted TV.
                                 SARGENT CYNTHIA TURNER
                    Hawkins, any luck on locating the feed
                    yet?
                                 HAWKINS
                           (yawning)
                    Negative. This is streaming live, but
                    from a server on the dark web. I need
                    more time.
                                 CAPTAIN NORTON
                    We don’t have more time, Hawkins. Any
                    word yet on the street, Sargent?
                                 SARGENT CYNTHIA TURNER
                    Not a peep. We went by Tully’s house, but
                    nobody was home. His wife is out of town
                    with the son. They’re with relatives
                    while things blew over with the media
                    fire-storm around the shooting. What are
                    you thinking?
         Captain Norton scratches his balding head attempting to
         relieve his anxiety.
                                 CAPTAIN NORTON
                    The way I see it we got an hour before we
                    gotta call IA and the big boys in. What
                    you got on the other two accomplices?
                                 SARGENT CYNTHIA TURNER
                    They used to be in a crew with the
                    deceased brother. Remus probably needed
                    their help to pull all this off.




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                                 CAPTAIN NORTON
                           (lowering voice)
                    Okay look, when they bring the mother in,
                    we’ll get the location and bring Tully in
                    ourselves. Can’t leave anything to
                    chance.

         INT. RECORDING STUDIO - NIGHT
         Once Mrs. Johnson departs from the studio, Duck pounds
         his fist on the door. Walking over to the laptop by the
         mixing board, Duck forcefully mashes a few keys on the
         keyboard before storming over to Remus and Pooh Bear. The
         red light in the recording booth goes dark.
                                 DUCK
                    I killed the sound to the jury. Is your
                    mom really going to call the cops here?
                                 REMUS
                    Without a doubt. She would have gone
                    through you to get out too.
                                 DUCK
                    So we got one hour before they bust in
                    here, guns blazing?
                                 REMUS
                    You afraid to die, Duck?
                                 DUCK
                           (unsettled)
                    What kind of question is that? Rome used
                    to ask me that all the time. We put in
                    work in the streets. Things I can’t even
                    say out loud. I aint scared, Ream, I just
                    want more control of the situation.
                                 OFFICER KYLE TULLY
                    Trouble on the farm, fellas?
                           (faint smile)
                    Just turn me loose now. I’ll say you all
                    cooperated. You know this is ending
                    badly.
                                 DUCK
                           (to Tully)
                    Shut your mouth!
                                 POOH BEAR
                    Duck is right, Ream. We got one of their
                    own. When they come in, it wont be
                    pretty. If you gonna waste him anyway,
                    why not just do it now?

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                                 REMUS
                    Because if I do, I’m no better than he
                    is. The jury will decide his fate. We
                    just have to speed it up.
         Duck returns to the laptop to cue the audio in the sound
         booth where the twelve masked jury members are seated.
         Once Duck strikes the laptop’s keys, he gives a thumbs up
         to Remus, and the red light bulb in the sound booth
         flicks back on.
                                 POOH BEAR
                    Are you ready to call your next witness,
                    Ream?
                                 REMUS
                    I am. I’m calling myself, Remus Johnson
                    to the stand.
         Remus walks over to the witness table and slowly sits
         down next to Pooh Bear.
                                 OFFICER KYLE TULLY
                    You can’t call yourself as a witness.
                                 REMUS
                    I have to. The only two living witnesses
                    who were present on the night of the
                    shooting are you and I. The jury needs to
                    know what happened.
                                 POOH BEAR
                    Can you describe the events that unfolded
                    on the night that Romulus Johnson was
                    killed?
                                 REMUS
                           (sits up)
                    Yes, my brother and I had just left a
                    wedding. Our friend Jerome just got
                    married. We left the reception and were
                    pulled over near an intersection.
                                  POOH BEAR
                    Go on.
                                 REMUS
                    Officer Tully pulled us over, stating
                    that we failed to use the turn signal
                    during a lane change. I gave him the
                    license, but I couldn’t find the
                    registration. The whole thing was stupid
                    from the get go.



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                                  POOH BEAR
                    Stupid how?
                                 REMUS
                    Officer Tully asked to search our vehicle
                    and I told him no. Why did he need to
                    search the car for a turn signal? He was
                    upset about that. My brother, remembering
                    where the registration was, reached into
                    the side panel to get it and Officer
                    Tully shot him to death. It all happened
                    in under a minute.
                                 OFFICER KYLE TULLY
                    That is not how it happened.
         Pooh Bear reaches into his pant’s waistband, and removes
         a chrome .45 Caliber pistol with black tape wrapped
         around the handle. He slams it on the long table where
         he’s seated and malevolently looks over to Officer Tully.
         Pooh Bear places his large index finger over his mouth,
         indicating the muteness desired from Officer Tully.
                                 POOH BEAR
                    You’ll get your turn, Officer. What
                    happened next, Ream?
                                 REMUS
                    Before I can even react, Officer Tully is
                    yanking me from the car, my brother’s
                    blood still on my shirt. He slams me to
                    the ground and cuffs me. I’m screaming at
                    the top of my lungs. You shot my brother!
                    Why did you shoot him?
                                 OFFICER KYLE TULLY
                    You know why I shot him. He was reaching
                    for something. I couldn’t see his hands.
         Remus snaps and leaping out of his chair in a vicious
         arc, swipes up Pooh Bear’s .45 Caliber, and jolts over to
         the sitting Officer Tully. With the gun pointed
         straightway at Officer Tully’s cranium, Tully tenses up.
         Pooh Bear stands up from his chair, but doesn’t move.
                                 REMUS
                           (screaming)
                    He reached for nothing, but what you
                    asked for! You may have lied to that
                    grand jury, but you’re gonna tell the
                    truth tonight!
                                  POOH BEAR
                    Ream?


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         Duck slowly walks over to Remus.
                                 DUCK
                    Ream, you sure this is how you wanna do
                    it?
                                 REMUS
                    I’m just tired of his lies, Duck! I asked
                    if he could let us go with a warning, but
                    he insisted!
                                 OFFICER KYLE TULLY
                    Oh, you’re feeling so strong with that
                    gun in your hand, huh?
                                 REMUS
                    No stronger than you did that night! We
                    were two black men, dressed up, not
                    bothering anybody!
                                 OFFICER KYLE TULLY
                           (raising voice)
                    You were breaking the law! And you better
                    get that gun out my face!
         Duck makes it over to Remus, standing right beside him.
                                 DUCK
                    Come on, man. Put it down.
                                 REMUS
                    A turn signal? He lied to that grand
                    jury. He said that his weapon wasn’t
                    drawn already, but it was.
         Duck slowly places his hand on the barrel of the gun
         Remus is holding to Officer Tully’s face, and eases the
         weapon down. Remus hand is shaking, but he releases the
         weapon to Duck.
                                 DUCK
                    I’ll hold on to this.
         Pooh Bear breathes a sigh of relief and slowly sits back
         down in his seat.
                                 OFFICER KYLE TULLY
                    You say my weapon was drawn, but you
                    don’t know that.
                                 REMUS
                    No, I do know, because I heard you unsnap
                    it. You shot my brother in one motion.
                    There was no hesitation and that’s why
                    you’re guilty.

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                                 OFFICER KYLE TULLY
                    That’s not what happened! He was
                    reaching!
         Remus rubs his face with both hands, unable to calm
         himself down. He takes a step back from the chained up
         Tully, bawling up both his fists.
                                 REMUS
                    You keep saying that! Do you have any
                    idea the fear I get as a black man when
                    I’m pulled over by the cops? I gripped
                    that steering wheel so tight that night
                    you pulled us over, I thought it would
                    break in my hands. My heart was racing, I
                    was scared, and knew I hadn’t done
                    anything wrong. I get that feeling every
                    time I get pulled over.
         Infuriated, Remus punches his fist forcefully into his
         hand.
                                 OFFICER KYLE TULLY
                    If you aren’t in the wrong, you shouldn’t
                    be afraid.
                                 REMUS
                    Are you out of your mind? Unarmed black
                    men are being killed at a ratio of seven
                    to one versus whites.
                                 OFFICER KYLE TULLY
                           (rolling eyes)
                    There you go, pulling the race card. This
                    has nothing to do with your race. Your
                    brother was a criminal!
                                 REMUS
                    What planet are you on? Look at any
                    study? FBI to Harvard . . .
         Remus steps over to his table and quickly snatches a
         piece of paper from off his file on the tabletop.
                                 REMUS (CONT’D)
                           (reading paper to Tully)
                    Blacks are more likely to get stopped,
                    more likely to get stopped for minor
                    offenses, like turn signals.
                           (glances up at Tully)
                    More likely to have our cars searched,
                    more likely to have our cars searched
                    without our consent, more likely to be
                    profiled.
                                 (MORE)


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                                 REMUS (CONT’D)
                    We get pepper sprayed more, batoned more,
                    we’re bitten by canines more, more likely
                    to get handcuffed, more likely to get
                    handcuffed even if we aren’t arrested,
                    more likely for officers to demand
                    compliance even when they lack legal
                    authority, and finally more likely to be
                    killed unarmed at a rate of three to one
                    to whites.
                                   POOH BEAR
                             (stunned)
                    Damn.
                                 DUCK
                    Is all that really true, Ream?
         Remus slowly nods his head.
                                 REMUS
                    Unfortunately, Duck.
                           (turns to Tully)
                    Officer, if you think race is not in the
                    equation, you’re either a racist, dumb,
                    or ignorant.
                                 OFFICER KYLE TULLY
                    I’m not racist!
                                 REMUS
                           (raising voice)
                    Only you know that. You pulled us over
                    for not signaling, yet there weren’t any
                    other cars around us. What imminent
                    danger to society were we posing?
                                 OFFICER KYLE TULLY
                    You broke the law!
                                 REMUS
                           (raising voice)
                    And so did you when you lied about what
                    happened! All cops aren’t bad and all
                    police officers certainly aren’t racist,
                    but there is a problem nonetheless.
                                 OFFICER KYLE TULLY
                           (scoffs)
                    And you got it all figured out, huh? Cops
                    don’t have a problem with black people.
                    Our problem is with crime. We protect you
                    just like we would anybody else.




                                  TV One_00100
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                                                                            43.




                                 REMUS
                    You shouldn’t fear the ones who are sworn
                    to protect you.
                                 OFFICER KYLE TULLY
                    Your mom ever beat you as a child?
                                   REMUS
                             (puzzled)
                    What?
                                 OFFICER KYLE TULLY
                    Did you ever get spanked as a child?
                                 REMUS
                    If I acted up.
                                   OFFICER KYLE TULLY
                    You cry?
                                 REMUS
                    You just met my mom. What do you think?
                                 OFFICER KYLE TULLY
                    So when you did the wrong thing, you got
                    punished for it. Sounds familiar to what
                    we do everyday, huh?
                                 REMUS
                    . . . But my mother never killed me.

         INT. POLICE STATION - NIGHT
         Police officers, Blake and Faretti, enter the police
         station, escorting Mrs. Johnson, handcuffed, up to
         Captain Norton and Sargent Turner. The Sargent has to
         nudge Captain Norton to break his gaze away from the TV
         screen. Hawkins and another officer are looking over his
         laptop trying to trace the video on the TV.
                                 CAPTAIN NORTON
                           (calling out to Blake and
                            Faretti)
                    It’s about time. Take her to
                    interrogation.
         Blake nods and veering to his right with Faretti, guides
         Mrs. Johnson to a door. The two officers walk through it
         with Mrs. Johnson in tow.
                                 CAPTAIN NORTON (CONT’D)
                           (to Sargent Turner)
                    She doesn’t need to see this.


                                  TV One_00101
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                                                                           44.




         Captain Norton checks his digital watch.
                                 CAPTAIN NORTON (CONT’D)
                    I’m going to have to phone the
                    Commissioner within the hour.
                           (rubs furrowed brow, sighs)
                    He’ll have to get out of bed. This is a
                    total fiasco.
                                 SARGENT CYNTHIA TURNER
                    You wanna interrogate her or should I?
                    One of us needs to stay here.
                                 CAPTAIN NORTON
                    I’ll go. Come get me if something
                    happens.

         INT. INTERROGATION ROOM - NIGHT
         Captain Norton enters a bleak room. Four colorless walls,
         but one of them is a double-sided glass window. In the
         dead-center of the room, a generic metal table, and two
         metal chairs are tucked under the table at opposite ends.
         Mrs. Johnson is seated at the table, her hands folded,
         with a placid demeanor as Captain Norton sits down in
         front of her.
                                 CAPTAIN NORTON
                           (scooting his chair up to the
                            table)
                    Mrs. Johnson, I’m skipping the
                    formalities. You can understand why.
                    Where is your son?
                                 MRS. JOHNSON
                    And good evening to you too, sir. What’s
                    your name?
                                 CAPTAIN NORTON
                    I’m Captain Norton. Where is your son?
                                 MRS. JOHNSON
                    Parkside cemetery. I visit him every week
                    on Fridays.
                                 CAPTAIN NORTON
                           (raises tone)
                    Your other son, Mrs. Johnson.
                                 MRS. JOHNSON
                    Captain sounds important. So do you run
                    this entire precinct? How many officers
                    do you oversee?


                                 TV One_00102
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                                                                           45.




                                 CAPTAIN NORTON
                    Mrs. Johnson, you’re my elder so I’m
                    trying to be as nice as I can here.
                                 MRS. JOHNSON
                    Not by much. You aint no spring chicken.
                                 CAPTAIN NORTON
                    Be that as it may, where is your son,
                    Remus Johnson? I know you know where he’s
                    holding Officer Tully.
                                  MRS. JOHNSON
                    Who?
                                 CAPTAIN NORTON
                    Obstruction of justice is a felony, Mrs.
                    Johnson. You not telling me only hurts
                    yourself. If my officer is harmed or
                    worse, you’ll be looking at manslaughter.
                                 MRS. JOHNSON
                           (checking watch)
                    What time is it? I think my battery died.
         Captain Norton bangs his fist on the table with a loud
         thud.
                                 CAPTAIN NORTON
                           (screaming)
                    The time doesn’t matter and yours is
                    almost up! Where is your son and my
                    officer!
         Mrs. Johnson doesn’t flinch, cracking the faintest of
         smiles.
                                  MRS. JOHNSON
                           (calm)
                    So you’re the bad cop, huh? Let’s be
                    clear, I don’t like this situation
                    anymore than you do.
                                 CAPTAIN NORTON
                    I saw you in there. You sure you want to
                    spend your retirement years in a five by
                    nine?
                                 MRS. JOHNSON
                    My watch says ten twenty-seven. At
                    eleven, I’ll tell you what you want to
                    know.
                                 CAPTAIN NORTON
                    You don’t have that long.

                                 TV One_00103
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                                                                            46.




                                 MRS. JOHNSON
                    Sure I do. Now may I ask you a question?
                                   CAPTAIN NORTON
                             (irritated)
                    What?
                                 MRS. JOHNSON
                    When a person is killed by one of the
                    officers under your command, what is
                    typically the process to follow?
                                 CAPTAIN NORTON
                    Mrs. Johnson . . .
                                 MRS. JOHNSON
                    Indulge me. Nobody from your department
                    bothered to offer even a single
                    condolence to my family in this tragedy.
         Vexed, Captain Norton flashes a disingenuous grin.
                                 CAPTAIN NORTON
                    Mrs. Johnson, officially we can’t issue
                    any apology for shootings of any kind.
                                 MRS. JOHNSON
                    Condolences and an apology are two
                    separate things.
         Captain Norton stares at the two-way glass to his right,
         peering back at his own reflection.
                                 CAPTAIN NORTON
                    Well, your hundred million dollar lawsuit
                    is our way of offering our condolences.
                                 MRS. JOHNSON
                    Apples to oranges. Now please, what
                    happens to an officer after a shooting?
                                 CAPTAIN NORTON
                    The officer goes on leave pending an
                    investigation of the shooting.
                                   MRS. JOHNSON
                    Then what?
                                 CAPTAIN NORTON
                    IA and the district attorney get involved
                    and if they deem the shooting justified,
                    the officer gets back to work after a
                    psych evaluation.



                                  TV One_00104
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                                                                            47.




                                  MRS. JOHNSON
                    What is IA?
                                 CAPTAIN NORTON
                    Internal affairs.
         Abruptly, Sargent Turner bursts into the interrogation
         room. With a swift and distressing head movement, she
         gestures for Captain Norton to step outside the room.
                                 SARGENT CYNTHIA TURNER
                    Captain . . .

         INT. POLICE STATION - MOMENTS LATER - NIGHT
         Captain Norton walks with Sargent Turner, from the
         interrogation room, back to the police bull pen.
                                 CAPTAIN NORTON
                           (walking towards TV monitor)
                    What happened? Is Tully, okay?
                                 SARGENT CYNTHIA TURNER
                    He’s still alive. For now.
                                 CAPTAIN NORTON
                    So what happened?
                                 SARGENT CYNTHIA TURNER
                    Remus, the prosecution, they rested. He
                    tried to get Tully on the stand to give
                    his account of the night in question. . .
                                 CAPTAIN NORTON
                    Well, what is it?
         Captain Norton and Sargent Turner walk up to the TV
         monitor in the bull pen. Blake and Faretti, their eyes
         broad, are fixated on the mounted television. Captain
         Norton ominously looks at Officers Banks, Faretti, and
         Sargent Turner.
                                 CAPTAIN NORTON (CONT’D)
                           (staring at TV)
                    Who the hell is that other person in the
                    room?




                                  TV One_00105
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                                                                           48.




         INT. RECORDING STUDIO - NIGHT
         The makeshift courtroom is set. Pooh Bear is seated at
         his long table presiding over the court proceedings,
         Remus sits at his small table on the prosecution side,
         with Officer Tully seated at his table to Remus’s left.
         Duck continues to guard the door, but an unknown MAN, in
         a blue, three-piece suit, crisp white shirt, and red
         necktie is seated on the witness stand, adjacent to Pooh
         Bear. The man’s face is covered with the identical black
         sack that covers the jury’s faces in the recording booth.
         The unknown man is handcuffed in a similar fashion to
         Officer Tully; behind his back, at his ankles, and to the
         chair. He struggles in his chair to move, his handcuffs
         clanging against one another.
                                 REMUS
                           (to Officer Tully)
                    . . . So you’re sure you don’t want to
                    take the stand in your own defense? Tell
                    your side of the story?
                                 OFFICER KYLE TULLY
                    Are you deaf? I told you I’m not playing
                    your sick little game anymore. Either
                    release me or shoot me.
                                 REMUS
                    Have it your way. Bailiff, I’m ready to
                    call my surprise witness.
         Duck walks over to the man on the witness stand.
                                 DUCK
                           (shaking head)
                    Here we go . . .
         Duck rips the black sack off of the man’s face on the
         witness stand, jerking his head back from the force.
         Officer Tully’s eyes nearly pop out of their sockets when
         he spots the individual. The man seated, GORDON
         KITTLEMEN, mid forties, with rectangular glasses, one of
         which is cracked, sits in utter trepidation as Duck, Pooh
         Bear, and Remus stare him down.
                                 OFFICER KYLE TULLY
                           (dumbfounded)
                    Kittlemen?
         Kittlemen, with a piece of gray duck tape wrapped around
         his mouth, is unable to speak, but terrified at his
         surroundings. His face burns red in fear.


                                 TV One_00106
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                                                                           49.




         Duck stands directly over Kittlemen at the witness stand,
         and leans in close to his face.
                                 DUCK
                    I’m going to remove this tape. When I do,
                    you’re not going to scream or I’ll put it
                    back on. Nod if you understand?
         His face covered in perspiration, Kittlemen nods his head
         in agreement. Duck rips the piece of duck tape from his
         mouth and returns back to the door.
                                 KITTLEMEN
                           (eyes Remus)
                    Whatever you do, please don’t kill me.
                                 REMUS
                    That’s not why you’re here. . .
         Kittlemen is uneasy. Fearful. His leg quivers and the
         handcuffs around his ankles rattle together.
                                 KITTLEMEN
                    Then what do you want from me?
                                 OFFICER KYLE TULLY
                           (looking around)
                    You’re all dumber than you look. You
                    kidnapped a cop, twelve other people, and
                    a DA? The three of you are the walking
                    dead.
                                 REMUS
                           (to Tully)
                    Shut your mouth! You couldn’t even take
                    the stand and speak on your own behalf.
                                 OFFICER KYLE TULLY
                    It’s not a witness stand. It’s a table in
                    a crummy studio and it’s the last place
                    you’ll ever be free.
         A smug grin breaks over Officer Kyle’s face as he stares
         Remus.
                                 REMUS
                    Duck, can you bring the audio back into
                    the jury room?
         Duck nods, but taps on his watch towards Remus,
         indicating it’s time to get going. Duck steps over to the
         laptop computer near the sound mixing board, punches a
         few keys, and the red light flicks on inside the
         recording booth where the jury is seated.


                                 TV One_00107
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                                                                             50.




         One of the twelve jury members, sitting in two rows of
         six, rotates their head at the end of a row. Remus nods
         to Pooh Bear to commence.
                                 POOH BEAR
                    Ladies and gentlemen of the jury, the
                    prosecution did rest, but we will call a
                    final surprise witness, District Attorney
                    Gordon Kittlemen.
                                 KITTLEMEN
                           (breathing heavily)
                    I swear, I won’t say anything. Please
                    just let me go.
         Remus stands up from his desk and walks over to the table
         serving as the wittiness stand.
                                 POOH BEAR
                    DA Kittlemen, settle down! Ream is gonna
                    ask you some questions and you aint gonna
                    lie. You understand?
                                   KITTLEMEN
                    Please guys?
                                 POOH BEAR
                    You understand?
         Kittlemen reluctantly nods his head ‘yes’ to agree.
                                 REMUS
                    District Attorney Kittlemen, for the sake
                    of our blind jury, can you tell us what
                    your role was in the case of Romulus
                    Johnson?
         Full of fright, Kittlemen takes a breath, his heart
         racing, and swallows the lump in his throat.
                                 KITTLEMEN
                           (stuttering)
                    I ugh, presented the, ugh, state’s case
                    to indict Officer Tully for murder in the
                    second degree.
                                 REMUS
                    You were the lead prosecutor, correct?
                                 KITTLEMEN
                    I am, I mean, I was.
                                 REMUS
                    And what were the findings of the grand
                    jury?

                                   TV One_00108
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                                                                           51.




         Kittlemen looks across to Officer Tully for clarity.
         Tully just motions to let it be for now.
                                 KITTLEMEN
                    The grand jury determined that a charge
                    of second degree murder should not be
                    sought on Officer Tully. He was cleared
                    of all charges and released.
                                 REMUS
                    Basically, making him free and off the
                    hook for murdering my brother?
                           (KITTLEMEN)
                    I don’t believe he murdered you brother.
                    Romulus had an extensive criminal record
                    and he was reaching . . .
                                 REMUS (CONT’D)
                    Save it because we’ve been over this. For
                    the last time, a person’s record has
                    nothing to do with it! But while we’re
                    speaking about records, what evidence did
                    you present to the grand jury?
                                 KITTLEMEN
                    I . . . I mean, I can’t say. That
                    information is confidential.
                                 REMUS
                    I thought you might say that.
         Remus steps back over to his table, and flipping open his
         folder, Remus skims through the file.
                                 REMUS (CONT’D)
                    In case the jury doesn’t know, only the
                    prosecution presents their evidence at a
                    grand jury.
                                 OFFICER KYLE TULLY
                    Right, so I don’t know why you’re even
                    doing this. The DA presented his case and
                    the grand jury knew it was garbage.
                                 REMUS
                    So, DA Kittlemen, after the grand jury
                    didn’t return an indictment, did they
                    state their reasoning behind their
                    decision?
                                 KITTLEMEN
                    They ugh, didn’t say specifically, but
                    the sentiment seemed to be that they
                    trusted the judgement call of Officer
                    Tully.

                                 TV One_00109
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                                                                           52.




                                 REMUS
                    And what did you tell the grand jury
                    about Officer Tully?
                                 KITTLEMEN
                    What do you mean?
                                 REMUS
                    For instance, did you tell them that he
                    was a decorated veteran on the force?
                                 KITTLEMEN
                    Yeah, something like that.
                                 REMUS
                    But did you discuss his seven write-ups
                    for excessive force since he’s been on
                    the job?
                                  KITTLEMEN
                    Excuse me?
                                 REMUS
                    His write ups? He’s gotten almost one a
                    year since he’s joined the force.
         Remus pulls two stapled documents from his file and lays
         them in front of DA Kittlemen on the stand. Kittlemen
         reluctantly glances down at the paperwork.
                                 KITTLEMEN
                    I don’t know anything about that?
                                 REMUS
                           (raising tone)
                    But it’s your job to know. Did you
                    mention his DUI?
                                 OFFICER KYLE TULLY
                    That was fifteen years ago! It had no
                    bearing on what happened.
                                 REMUS
                    No more than my brother’s past record.
                    Did you mention Tully’s DUI and his
                    documented pattern of excessive force? To
                    the jury I mean?
         Kittlemen shakes his head ‘no’.
                                 KITTLEMEN
                    . . . I didn’t.




                                 TV One_00110
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                                                                           53.




                                 REMUS
                    Hmmm, that’s interesting. What about his
                    mistress?
                                 KITTLEMEN
                    What? Officer Tully has been happily
                    married for over a decade.
                                 REMUS
                    Tully, you didn’t tell Kittlemen about
                    Sandra? She’s a cop in his precinct who
                    he’s having an affair with.
                                 POOH BEAR
                           (high pitched inflection)
                    Playa. Playa.
                                 OFFICER KYLE TULLY
                           (yelling from seat)
                    You son of a bitch!
         In a flash, Officer Tully violently jerks to free himself
         from his chains. His weight shifts on the chair, nearly
         toppling him over.
                                 OFFICER KYLE TULLY
                                 (CONT’D)
                    Who told you that! How do you know that?
                                 REMUS
                    Calm down, Tully. You didn’t want to take
                    the stand, remember?
                                 OFFICER KYLE TULLY
                           (wrenching at his handcuffs)
                    When I get out of these chains . . .
                                 REMUS
                    Kittlemen, Tully has been making house
                    calls at Sandra’s residence for the last
                    four months.
         Pooh Bear chuckles at Officer Tully.
                                 POOH BEAR
                           (sarcastic)
                    Yeah, he’s been serving and protecting
                    alright.
                                 OFFICER KYLE TULLY
                    You’ve been following me? For how long?




                                 TV One_00111
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                                                                             54.




                                 REMUS
                           (to Pooh Bear)
                    Your honor, he keeps interrupting me. I
                    can’t even speak to my own witness.
                                   POOH BEAR
                    Bailiff. . .
         Duck walks over towards Officer Tully, rubbing his hands
         together in gleeful anticipation.
                                 OFFICER KYLE TULLY
                    And what are you gonna to do?
         Duck steps up to the seated Officer Tully, and grabbing
         the duck tape that was on Kittlemen’s mouth, he affixes
         the tape onto Tully mouth. Officer Tully goes mute, but
         irately mutters inaudible sounds through the tape.
                                 REMUS
                    So if I have this right, Officer Tully
                    cheats on his wife, has multiple write-
                    ups for excessive force, and has gotten a
                    DUI?
         Remus picks up the documents of evidence, in front of DA
         Kittlemen, and slams them to the floor.
                                 REMUS (CONT’D)
                           (raising voice)
                    Now if I’m a private citizen and I
                    discovered all this in a matter of
                    months, how the hell do you expect me to
                    believe that you, the District Attorney,
                    with the full resources of your office,
                    didn’t have a clue as to what this man’s
                    past was like?
         A long silence. Kittlemen glances at Remus’s paperwork on
         the floor.
                                 KITTLEMEN
                    I presented the facts the best way I
                    could . . .
                                 REMUS
                           (interrupting)
                    No you didn’t. You painted my brother as
                    a random, hardened criminal, who was shot
                    and killed by a squeaky-clean veteran
                    cop. Admit it.
                                 KITTLEMEN
                           (upset)
                    Admit what?

                                   TV One_00112
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                                                                           55.




                                 REMUS
                    That you weren’t really trying for an
                    indictment. The whole thing was just a
                    show.
                                 KITTLEMEN
                    That’s not true.
                                 REMUS
                    Yes, it is. People were stirring the pot.
                    They were calling for your job. Marching
                    in the streets. That is the only reason
                    you even charged him.
                                 KITTLEMEN
                           (sighs)
                    Look, I’m a District Attorney. At the end
                    of the day, I have a job to do. I’m sorry
                    about your brother.
                                 REMUS
                    No you’re not so don’t patronize me. All
                    I’ve heard about since Rome was killed
                    was his past record. Nobody has talked
                    about Tully’s record and it took a month
                    for you to charge him.
                                 KITTLEMEN
                    Investigations take time.
                                 REMUS
                    And you expect me to believe that you
                    never took a look at his file in all that
                    time?
                                 KITTLEMEN
                    . . . Can I leave now, please?
                                 REMUS
                    We’re not finished yet.
         A fearful chill sprints across Kittlemen’s spine and he
         tenses up.
                                 KITTLEMEN
                    What do you want? Please, I just want to
                    go home.
                                 REMUS
                    Can you explain why Officer Tully visited
                    you every night on the same week that he
                    shot and killed my brother?




                                 TV One_00113
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                                                                            56.




                                 KITTLEMEN
                           (confused)
                    You followed me too?
                                 REMUS
                    No, I followed Tully. I didn’t even know
                    who you were. I got the photos right
                    here. Did you coach him on what to say so
                    he would get off?
         Stepping back over to his prosecution table, Remus
         quickly thumbs through his folder, looking for a
         particular document. He finds a stack of photographs,
         8 x 5 inches, and picks them up, gazing upon them as a
         man transfixed. Remus places them in front of Kittlemen.
                                 KITTLEMEN
                    Objection your honor. This is purely
                    speculation. Counsel wasn’t present so he
                    has no knowledge of any conversation I
                    may or may not have had with Officer
                    Tully.
         Kittlemen looks over to Pooh Bear as does Remus.
                                   KITTLEMEN (CONT’D)
                    Your honor?
                                 REMUS
                    Pooh Bear, that’s you.
         Pooh Bear was totally enthralled in the back and forth
         and suddenly realizes that Kittlemen is talking to him.
                                 POOH BEAR
                           (grabs the paper in from of
                            him)
                    Oh yeah. Sustained.
                                   REMUS
                             (surprised)
                    What?
                                 POOH BEAR
                    Well he’s right, Ream. How do you know
                    what they were talking about in his
                    house?
                                 REMUS
                    I don’t know, but ladies and gentlemen of
                    the jury, DA Kittlemen was there, at
                    Officer Tully’s house, the same week my
                    brother was murdered. This is a clear
                    conflict of interest.
                                 (MORE)

                                  TV One_00114
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                                                                           57.




                                 REMUS (CONT'D)
                    My theory is that DA Kittlemen was going
                    over the get off list with Officer Tully.
                                 KITTLEMEN
                    The get off list? What the heck are you
                    talking about?
         Remus steps back to his table, lifting another document
         from it, and walking back up to DA Kittlemen on the
         stand.
                                 REMUS
                           (glancing down at his paper)
                    The get off list are the same excuses we
                    always hear every time an unarmed black
                    person is killed by a police officer.
                    He lunged towards me. I felt threatened.
                    I was fearful for my life. He was acting
                    hysterically. He was walking towards me.
                    I couldn’t see his hands. He wouldn’t
                    show me his hands. He wouldn’t get out
                    the car. He tried to get back in the car.
                    He was using his car as a weapon. He
                    wouldn’t comply. He ran away. He just
                    stood there. There was more than one of
                    them. The gun just went off. He was
                    resisting. He was yelling and screaming.
                    He was acting crazy. He was angry.
                    He was . . .
         Remus gets choked up and takes a moment to gather
         himself. His document quivers in his palms as his eyes
         fill with tears.
                                 REMUS (CONT’D)
                    He was . . . reaching for something.
         Remus does an about face and fixes his eyes right onto
         Officer Tully. Unable to hold them any longer, tears flow
         down his red cheeks, falling on the document that Remus
         is holding. The jury in the recording booth, Duck, Pooh
         Bear, Officer Tully and DA Kittlemen, all freeze, still
         as parked cars, with their attention on Remus. Nobody
         moves, nobody speaks.
                                 REMUS (CONT’D)
                           (mildly sobbing)
                    He was leaving a wedding! He was laughing
                    and joking! He was just trying to live
                    his life . . .These aren’t crimes!
                           (voice breaking up, yelling)
                    Why did you do it, man? Why did you kill
                    my brother? Was there a way that . . .
                                 (MORE)



                                 TV One_00115
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                                 REMUS (CONT’D)
                    he could have lived because I swear on my
                    brother’s eternal soul that if that blind
                    jury convicts you, I’m going to watch
                    your eyes as your life leaves your body.
         Remus swipes the tears off of his cheeks and pulls the
         duck tape off of Officer Tully’s mouth. Remus, his eyes
         red and teary, breathes heavily as he stares down Officer
         Tully.
                                 REMUS (CONT’D)
                    The prosecution rests!
                                 OFFICER KYLE TULLY
                    . . . I’m taking the stand.

         INT. POLICE STATION - NIGHT
         Five humorless Police Officers, along with Captain Norton
         and Sargent Turner, stare up at the TV monitor in the
         bullpen watching Remus and Officer Tully. Hawkins
         continues to tinker on his laptop attempting to locate
         the source of the video feed. Everyone stands in one
         place, hypnotized.
                                 SARGENT CYNTHIA TURNER
                    I didn’t know Tully had that many dings
                    on his record.
                                  CAPTAIN NORTON
                    Sargent?
         Captain Norton motions his head for Sargent Turner to
         step off to the side for a private conversation. They
         both move a few paces away, out of earshot of the other
         officers.
                                 SARGENT CYNTHIA TURNER
                           (lowering voice)
                    This looks awful, Captain. It has
                    collusion written all over it.
         Captain Norton glances over at the other officers to make
         sure they aren’t eavesdropping on his conversation.
         Observing that the other officer’s pupils are glued to
         the TV, Captain Norton turns his attention back to
         Sargent Turner.
                                 CAPTAIN NORTON
                           (lowers voice)
                    Of course it does. Kittlemen should never
                    have been at Tully’s home and certainly
                    not the week of the shooting.
                                 (MORE)

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                                 CAPTAIN NORTON (CONT'D)
                           (rubs his face in angst)
                    It taints the entire investigation.
                                 SARGENT CYNTHIA TURNER
                    And if this gets out, they’ll probably
                    come after you for not disclosing Tully’s
                    record.
                                 CAPTAIN NORTON
                           (raising voice)
                    You don’t think I know that.
         The Police Officers standing around the TV look over to
         Captain Norton when he raises his voice.
                                 SARGENT CYNTHIA TURNER
                    Well, we have to do something. It looks
                    to me like Remus is going to kill him
                    either way. Heck, he might shoot
                    Kittlemen too.
                                 CAPTAIN NORTON
                    I’m thinking the same thing.
                           (checking watch)
                    It’s ten forty-two. We’ll go back in with
                    the mom. Let her know we’re charging her
                    with murder one if Tully or Kittlemen
                    dies.
                                 SARGENT CYNTHIA TURNER
                    You going in?
                                 CAPTAIN NORTON
                    No, I want you to. Woman to woman she may
                    confide in you. I need to hear what else
                    Tully says. I’m counting on you.
         Sargent Turner nods and heads towards the interrogation
         room.

         INT. INTERROGATION ROOM - MOMENTS LATER - NIGHT
         Sargent Turner steps inside the police interrogation
         room. Seated at the metal table, in the middle of the
         drab room is Mrs. Johnson, calm as the sea after a storm.
         Sargent Turner takes a seat at the table in front of her.
                                 SARGENT CYNTHIA TURNER
                    Good evening, Mrs. Johnson. I’m Sargent
                    Turner and I need to ask you a couple
                    questions.
                                 MRS. JOHNSON
                    More questions?

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                                  SARGENT CYNTHIA TURNER
                    Yes, ma’am.
                                 MRS. JOHNSON
                    So you must be the good cop.
                                 SARGENT CYNTHIA TURNER
                    We don’t have much time and I really only
                    need you to answer one question. Where is
                    Remus right now?
                                 MRS. JOHNSON
                    It’s not eleven, Sargent.
                                 SARGENT CYNTHIA TURNER
                    Yes, I’m aware, but if your son harms our
                    officer, you’ll be looking at significant
                    jail time. Federal prisons don’t have
                    jazzercise, Mrs. Johnson.
                                 MRS. JOHNSON
                    So just like that, you would have me give
                    up my only son still alive?
                                 SARGENT CYNTHIA TURNER
                    Yes, and I need that information now.
                    Mrs. Johnson, I understand that nobody
                    likes talking when a crime occurs, but...
                                 MRS. JOHNSON
                           (interrupting)
                    Please stop, Sargent. Now I have lived in
                    this neighborhood for over forty years
                    and raised my two boys here.
                                 SARGENT CYNTHIA TURNER
                    I’m from this neighborhood too.
                                 MRS. JOHNSON
                    You’re missing my point. Crime has been a
                    problem in our community and ever since
                    the drugs came in. Once it got out of
                    control, law enforcement officers, like
                    yourself, have been saying the same thing
                    to us to solve the crime problem.
                                 SARGENT CYNTHIA TURNER
                           (sighs)
                    Which is what?
                                 MRS. JOHNSON
                    To report crime. To snitch, as the young
                    people say. If you see a crime, you need
                    to report it to the police. That’s been
                    your message to us.

                                  TV One_00118
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                                 SARGENT CYNTHIA TURNER
                    It clearly is falling on deaf ears
                    because no one likes to snitch, Mrs.
                    Johnson. People know who did what, but no
                    one says a thing, and nothing changes.
                                 MRS. JOHNSON
                    Exactly. Now you may think that people
                    not telling is fear related, and
                    retaliation is a part of it, but there’s
                    something far more hypocritical about
                    reporting neighborhood crime to police
                    officers.
                                 SARGENT CYNTHIA TURNER
                    And what is that?
                                 MRS. JOHNSON
                           (scoffs)
                    We don’t report crime in our
                    neighborhoods because you don’t report
                    crime in yours. The code of silence in
                    the streets pales in comparison to the
                    code of silence among police officers.
                    Now am I lying or are you being naive?
         Sargent Turner nods, solemnly.
                                 SARGENT CYNTHIA TURNER
                    There’s some truth to that.
                                 MRS. JOHNSON
                    Of course there is so you can understand
                    my hesitation in turning Remus in
                    prematurely.
                                 SARGENT CYNTHIA TURNER
                    But giving him up can potentially save
                    lives. The rubber is on the road, Mrs.
                    Johnson. Don’t talk it and not walk it.
                                 MRS. JOHNSON
                           (chuckles)
                    So basically give up my son to save the
                    officer who murdered my other son?
                                 SARGENT CYNTHIA TURNER
                    . . . Yes. The right thing is never easy.
                                 MRS. JOHNSON
                    And in return, who are you prepared to
                    give up in your neighborhood? What
                    officers, unfit of the shield, are
                    breaking the law that you’re aware of?
                                 (MORE)


                                 TV One_00119
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                                 MRS. JOHNSON (CONT'D)
                    We can’t fix our neighborhoods until you
                    police officers first fix yours. The
                    rubber, Sargent Turner, has long been on
                    the road.
                                 SARGENT CYNTHIA TURNER
                           (checks watch)
                    Quarter till, Mrs. Johnson. Are you
                    telling me something or not?
         Mrs. Johnson just stares at Sargent Turner. A sly grin
         breaks on her wrinkled face.
                                 SARGENT CYNTHIA TURNER
                                 (CONT’D)
                    Nice to meet you, Mrs. Johnson.
         Sargent Turner rises from the table and heads for the
         door of the interrogation room.
                                   MRS. JOHNSON
                    Sargent?
                                 SARGENT CYNTHIA TURNER
                           (turning around)
                    Yes, Mrs. Johnson?
                                 MRS. JOHNSON
                    It’s never the wrong time to do what’s
                    right. Shell Studios. Don’t let them kill
                    my baby.
                                 SARGENT CYNTHIA TURNER
                           (eyes widening)
                    I won’t. Thank you.

         INT. POLICE STATION - MOMENTS LATER - NIGHT
         Sargent Turner bursts into the police station bullpen.
         The five officers and Captain Turner are right where she
         left them with their eyes immovably locked onto the
         mounted TV.
                                 SARGENT CYNTHIA TURNER
                    I got his location!
         The Police officers, along with Captain Norton, snap
         their attention over to Sargent Turner.
                                   CAPTAIN NORTON
                             (eyes widening)
                    Where?



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                                 SARGENT CYNTHIA TURNER
                           (walking up to Captain)
                    Shell Studios off Matthews avenue.
                                 CAPTAIN NORTON
                    Go now, Sargent! You’re running point.
                                 SARGENT CYNTHIA TURNER
                    On it, Captain. Everyone, let’s go!
         The other Police officers quickly disperse and head
         outside towards their police cruisers.
                                 CAPTAIN NORTON
                    I have to stay back. End this thing
                    peacefully. I’ll radio you if something
                    happens.
         Sargent Turner nods and hurries out the station leaving
         Captain Norton alone.

         INT. RECORDING STUDIO - NIGHT
         Chained to his metal folding chair, Officer Tully, is
         seated on the witness stand adjacent to Pooh Bear. DA
         Kittlemen is seated at the defense table while Remus sits
         at the prosecution table cutting his eyes at Tully. Duck
         guards the door as Pooh Bear clears his throat.
                                 POOH BEAR
                    When you’re ready, Kibble-man.
                                 KITTLEMEN
                    It’s Kittlemen.
                                 POOH BEAR
                    Yeah, whatever. Go ahead.
                                 KITTLEMEN
                    Can you describe what happened the night
                    in question, Officer Tully?
                                 OFFICER KYLE TULLY
                    Sure thing. I was on patrol. Working my
                    usual route. I saw a car that performed
                    an improper lane change and I pulled that
                    vehicle over.
                                 KITTLEMEN
                    Now did you target or profile the driver
                    of the car in any way prior to pulling
                    him over?



                                 TV One_00121
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                                 OFFICER KYLE TULLY
                    No, I did not.
                                 KITTLEMEN
                    Please continue . . .
         The steel from Officer Tully’s hand cuffs cling together
         as he speaks.
                                 OFFICER KYLE TULLY
                    I approached the car and identified two
                    African-American males in the vehicle. I
                    asked for their license and registration.
                    The driver quickly produced the license,
                    but appeared nervous, and claimed he
                    didn’t know where the registration was. I
                    asked to search the vehicle and the
                    driver declined.
                                 KITTLEMEN
                    Then what happened?
                                 OFFICER KYLE TULLY
                    The passenger, the deceased, yelled out
                    something that I couldn’t make out and
                    reached his hand down on the side of his
                    door. Fearing for my life, I discharged
                    my weapon, killing who would later be
                    identified as Romulus Johnson.
                                 KITTLEMEN
                    Do you feel as though you did anything
                    wrong in this situation, Officer Tully?
                                 OFFICER KYLE TULLY
                    No, I followed police protocol. I told
                    the driver to keep his hands on the
                    steering wheel and again, the deceased
                    made a quick movement, reaching his hand
                    out of my line of sight, essentially
                    leaving me no choice.
                                 KITTLEMEN
                           (to Remus)
                    Your witness.
                                 REMUS
                           (still in his seat)
                    So let’s go back to when you pulled us
                    over. You basically tailgated us while
                    you ran our plates. When the car came
                    back as not stolen, you waited until we
                    made a minor traffic offense.



                                 TV One_00122
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                                 OFFICER KYLE TULLY
                    You made an illegal lane change without
                    signaling. You were in the wrong.
         Remus stands up and treads over to Officer Tully on the
         witness stand.
                                 REMUS
                    You’re right, but we should only have
                    gotten a ticket. To shoot somebody, they
                    should pose a threat. Nobody threatened
                    you at any time.
                                 OFFICER KYLE TULLY
                    It was a judgement call. I couldn’t see
                    the perps hands.
                                 REMUS
                           (raising voice)
                    He wasn’t a perpetrator He was a
                    groomsmen!
                                 OFFICER KYLE TULLY
                    Your brother was a criminal. You know
                    that.
                                 REMUS
                    I’m so sick of that song and dance! Why
                    do people always bring up a persons past
                    mistakes when they get killed by police
                    officers? Like having a record makes it
                    acceptable for you to get murdered in
                    cold blood. . .
         Officer Tully rolls his eyes curtly.
                                 OFFICER KYLE TULLY
                    I have to take a leak. You got anymore
                    questions?
                                 REMUS
                    Sure, what about your past? Your
                    mistress? The DUI? Late night sessions
                    with DA Kittlemen who is supposed to be
                    prosecuting you? Why should anybody trust
                    you?
                                 OFFICER KYLE TULLY
                    And we should trust your brother or you?
                    Your brother was a criminal and the apple
                    clearly doesn’t fall far from the tree.
                                 REMUS
                    What did you and Kittlemen discuss the
                    week you shot my brother?

                                 TV One_00123
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                                                                           66.




                                 OFFICER KYLE TULLY
                    World peace. And I love my wife and my
                    son adores me. I’m his real life super
                    hero. The affair did happen. I didn’t
                    plan it.
                                 REMUS
                           (shaking head)
                    I don’t think you planned it, the same
                    way I don’t think you planned to kill my
                    brother before you saw us. But you acted
                    so recklessly and dangerously, you don’t
                    need to be a cop.
                                 OFFICER KYLE TULLY
                    How dare you say that to me!
                                 REMUS
                    Because you’re a disgrace to what the
                    badge really means. There are plenty of
                    good cops on the beat, helping people,
                    fighting crime, and doing it with
                    integrity.
                                 OFFICER KYLE TULLY
                    I’m a good cop and I’ve bled for this
                    badge.
                                 REMUS
                    My brother bled for your badge too. Good
                    officers protect and serve the people.
                    They’re not cowboys.
                                 OFFICER KYLE TULLY
                    You sure got a lot to say considering
                    you’ve kidnapped fourteen people. And for
                    what?
                                 REMUS
                    For justice. Why did you kill my brother?
                                 OFFICER KYLE TULLY
                    I already told you what happened.
         Remus inches closer to Officer Tully’s face.
                                 REMUS
                           (raising voice)
                    Why did you kill my brother?
                                 OFFICER KYLE TULLY
                    I tried to tell you . . .




                                 TV One_00124
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                                 REMUS
                           (interrupting, raising voice)
                    Why did you kill my brother? Why did you
                    kill my brother?
         Remus is now right in the face of Officer Tully who is
         still on the witness stand.
                                 OFFICER KYLE TULLY
                    You better get out of my face!
         Remus, only four inches away from Officer Tully’s face,
         barks out his words like a Drill Sargent. Officer Tully
         can feel Remus’s breath on his own nose.
                                 REMUS
                           (screaming)
                    Why did you kill my brother? He was my
                    flesh and blood! Why did you kill him!
                    Why! Why! Why! Why did you kill him!
                                 OFFICER KYLE TULLY
                           (hollering at the top of his
                            lungs)
                    Because I was afraid! Alright! I was
                    afraid! He was reaching! I always have my
                    gun out the holster when I pull cars
                    over! I’m trying to make it home!
         Breathing heavily, with his heart pounding out of his
         chest, Officer Tully’s nostrils flair in his staredown
         with Remus.
                                 REMUS
                     . . . So were we.
                                 OFFICER KYLE TULLY
                           (yelling)
                    Maybe I didn’t have to shoot him. Called
                    for backup or something. I was too afraid
                    to think so I reacted. That doesn’t make
                    me a bad cop!
                                 REMUS
                    It does and it makes you a lawbreaker.
                    What did Kittlemen and you talk about?
                                 KITTLEMEN
                    Don’t tell him anything.
                                 OFFICER KYLE TULLY
                    Zip it, Kittlemen. I don’t work for you.
                    He just wants the truth, right?



                                 TV One_00125
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                                 REMUS
                    That’s all I ever wanted. You know I’m
                    not going to hurt you, Tully. If I wanted
                    to, I would have done it by now.
                                 KITTLEMEN
                    Shut your mouth. Don’t say another . . .
         Before DA Kittlemen can get another word out of his
         mouth, Duck, who clandestinely crept over towards the
         defense’s table, plasters Kittlemen’s mouth shut with a
         strip of duck tape.
                                 DUCK
                           (to Kittlemen)
                    Hush, puppy.
         Duck walks back over towards the studio’s front door as
         Kittlemen bellows out disjointed sounds through his tape.
                                 OFFICER KYLE TULLY
                    So you want the truth, huh?
                                 REMUS
                    You owe me that.
                                 OFFICER KYLE TULLY
                           (glances at Kittlemen)
                    . . . Kittlemen coached me on what to say
                    to IA. He told me that grand juries never
                    convict cops and I would be fine.
                                 POOH BEAR
                           (to Kittlemen)
                    You lying bastard. You helped him get
                    off?
         Kittlemen, chained and gagged, turns as pale as bleach.
         Remus bites his lower lip trying to calm himself down.
                                 REMUS
                    And what about my brother?
                                 OFFICER KYLE TULLY
                    I didn’t plan to shoot him. Three days
                    prior, I got called to a domestic dispute
                    and the husband shot the wife. I was
                    jumpy all week after that.
                                 REMUS
                    So my brother didn’t have to die?
                                 OFFICER KYLE TULLY
                     . . . Probably not. I don’t know.


                                 TV One_00126
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      Remus drops his head towards the floor, unable to process
      his anger.
                              REMUS
                 Have you lost any sleep over killing him?
      The room is dead silent. Officer Tully stares at Remus
      expressionless, unable to answer.
                              REMUS (CONT’D)
                        (getting more upset)
                 You know what, don’t answer that. This
                 entire thing was your fault and after the
                 fact, you tried to cover it up?
                              OFFICER KYLE TULLY
                 Look, I’ve made the right call thousands
                 of times though! I shouldn’t be penalized
                 for one bad decision. My job, my pension,
                 my future were all at stake! I had to do
                 something.
      Remus, Duck, and Pooh Bear are speechless, their
      collective jaws touching the floor. Remus shakes his head
      in disbelief.
                              REMUS
                 And now it’s our turn to do something. I
                 think the jury has enough to decide a
                 verdict.
                              DUCK
                        (looking out the window)
                 Ugh, Ream, Pooh Bear, we got us a
                 situation out here.
                               REMUS
                         (confused)
                 What?
      Remus walks over to the window, by Duck, and peers out of
      it, but from the side as to not be seen. Pooh Bear hops
      up from his long table and joins them to the side of the
      window. Red and blue flashing lights, from the police
      cruisers outside, reflect on the window’s glass.
                              DUCK
                 Did they bring every cop in the city?
                              DUCK (CONT’D)
                        (looking out the window)
                 Looks like it.




                               TV One_00127
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                              OFFICER KYLE TULLY
                        (chuckles)
                 Of course they did. You really thought
                 you were going to get away with this?
                 I’ll be home in time for Sportscenter.
      Remus, his eyes glowing from the police lights, turns to
      Duck who is calmer than he should be.
                              REMUS
                 I need your gun, Duck. Yours too, Pooh
                 Bear.
                              DUCK
                 Take a look out there, Ream. I can’t do
                 that.
                              REMUS
                 You trusted me this far. Please?
                              DUCK
                        (scoffs)
                 What the heck. I guess it doesn’t matter
                 anyways.
                              POOH BEAR
                  . . . If I die, I’m going to hurt you,
                 Remus.
      Remus smirks before Duck and Pooh Bear, reaching in their
      waistbands, hand over their handguns to him. Remus walks
      away from the window, and back by the defense’s table
      where DA Kittlemen is seated. Remus lays both guns right
      in front of the DA.
                              OFFICER KYLE TULLY
                 Don’t do anything stupid, Remus. The
                 calvary is already here and you said you
                 won’t hurt me.
                              REMUS
                 So now, we’re both liars.
                              OFFICER KYLE TULLY
                 What do you mean? You gave me your word!
      Remus walks behind Officer Tully and pulls his chair from
      behind him, dragging him back to the defense table with
      Kittlemen.
                              POOH BEAR
                 Whatever you got planned, now is the
                 time, Ream. They look like they’re ready
                 to come in.


                               TV One_00128
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                              REMUS
                 Ladies and gentlemen of the jury, you’ve
                 heard the evidence, now we need your
                 ruling. A man’s life hangs in the
                 balance.
                              OFFICER KYLE TULLY
                        (panicky)
                 You’re really going through with this? I
                 was honest with you!
                              REMUS
                 Members of the jury, your hands were
                 taped closed because inside both of them
                 is a cotton ball. The one in your left
                 hand is blue for innocent and the one in
                 your right hand is red for guilty.
                              OFFICER KYLE TULLY
                 You’re really going to shoot me with the
                 entire precinct outside? I don’t believe
                 you.
      Remus storms over to Officer Tully and gets up close in
      his face.
                              REMUS
                 You think I can’t kill you in cold blood
                 or you hope I wont? I’ve shown you what
                 I’m capable of.
      Remus lifts up one of the handguns from off the table as
      DA Kittlemen’s eyes bug nearly out their sockets.
                              REMUS (CONT’D)
                 You’re not innocent either, Kittlemen.
                 Since you didn’t uphold the law justly,
                 I’m making you his codefendant.
      Kittlemen yells with the duck tape muffling his screams.
                              OFFICER KYLE TULLY
                 Don’t worry Remus, your trial is coming
                 too. You aint walking away from this.
                              REMUS
                        (cocking gun)
                 I think the jury has reached a verdict,
                 Tully.
                              OFFICER KYLE TULLY
                 What? They haven’t said anything all
                 night!
      Remus points the gun squarely at Officer Tully’s face.

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                              OFFICER KYLE TULLY
                              (CONT’D)
                 Don’t do this. I’m sorry . . .
                              REMUS
                 Tell it to my brother . . .
      Remus cocks his gun.
                              REMUS (CONT’D)
                 In the case of Officer Kyle Tully, on the
                 charge of murder in the second degree,
                 the jury of the people find you . . .
      BANG! BANG!

      INT. RECORDING STUDIO - MOMENTS LATER - NIGHT
      A horde of ten Police Officers, weapons drawn, rush into
      the recording studio after kicking the door in. Leading
      the contingent of officers, is Sargent Turner, wearing a
      Kevlar vest, and wielding her Glock 9mm in front of her.
                              SARGENT CYNTHIA TURNER
                 Nobody move! Down on the ground now!
      Laying face down on the studio floor is Duck and Pooh
      Bear with their hands in the air. Swarming immediately,
      the Police Officers quickly apprehend Duck and Pooh Bear
      and pull them off the ground.
                              POOH BEAR
                        (getting yanked off the
                         floor)
                 Dang, you strong. We surrender. . .
      Sargent Turner stomps over to Pooh Bear and Duck as the
      arresting officers slap the cuffs on them. Duck says
      nothing, but his face scrunches up.
                              SARGENT CYNTHIA TURNER
                        (raising voice)
                 Where are they?
                                 POOH BEAR
                 The booth.
      Sargent Turner looks through the Plexi glass and can see
      Remus sitting by the twelve jurors with his hands in the
      air. Sargent Turner, keeping her weapon drawn walks
      slowly to the recording booth’s door and with several
      Police Officers with her, she enters the recording booth.



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      INT. RECORDING BOOTH - CONTINUOUS - NIGHT
      Sargent Turner, clutching her black Glock 9mm, enters the
      recording booth. Seated in the middle of the booth, near
      a ribbon microphone, are the twelve jurors, sitting in
      two rows of six. Their faces are covered with black sacks
      and they are handcuffed to their chairs. Immediately to
      the jury’s right is Remus, seated with his hands held
      high in the air. Five Police Officers, their firearms
      also drawn are walking right behind Sargent Turner as she
      walks gradually towards Remus.
                              SARGENT CYNTHIA TURNER
                 Remus, where is your weapon?
                              REMUS
                 Out there on the table. I’m unarmed.
                 Don’t shoot me.
                              SARGENT CYNTHIA TURNER
                 They wont, but don’t give them a reason
                 to. Where is Officer Tully and the DA?
                              REMUS
                 They’re in that closet right there.
      Remus nods over to a storage closet in the recording
      booth.
                              SARGENT CYNTHIA TURNER
                 Are they alive?
      Ream cracks a grin.
                              REMUS
                 I guess you’ll just have to see.
                              SARGENT CYNTHIA TURNER
                 I need you to keep those hands where I
                 can see them. You understand?
                              REMUS
                 All too well.
                              SARGENT CYNTHIA TURNER
                 Stand up, turn around, and place your
                 hands behind your back.
      Sargent Turner walks over to the now standing Remus and
      with his hands placed behind his back, she handcuffs him.




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                              SARGENT CYNTHIA TURNER
                              (CONT’D)
                        (to other Police Officers)
                 Wait there.
      The other Officers wait inside the booth while Sargent
      Turner methodically steps over to the storage closet. She
      slowly turns the knob with her left hand, but keeping her
      gun drawn in her right. Opening the door, Sargent Turner
      breathes a sigh of relief as DA Kittlemen and Officer
      Tully stare back at her. They are still handcuffed to
      their chairs, but the both of them have their mouths duck-
      taped shut.
                              SARGENT CYNTHIA TURNER
                              (CONT’D)
                        (looking back to the
                         officers)
                 Release them.
      The Police Officers rush over to Tully and Kittlemen,
      into the closet, and un-cuff them from their steel
      restraints. Lastly, they remove the tape from their
      mouths as they pull the both of them out of the closet.
                              OFFICER KYLE TULLY
                 What took you so long, Sargent?
                              KITTLEMEN
                 You have no idea how happy I am to see
                 you guys. This criminal had me gagged for
                 hours.
                        (turns to Remus)
                 I’m going to charge you with so many
                 counts that you’ll be wishing for a
                 closet like that.
                              OFFICER KYLE TULLY
                 He kidnapped me too. I want his mother
                 arrested as well.
                              SARGENT CYNTHIA TURNER
                 We’re taking care of everything. Free the
                 jurors guys.
      The Police Officers walk to the middle of the room and a
      POLICE OFFICER pulls off the black sack of the first
      juror. The Officers collectively gasp at what they see.
      Sargent Turner, Officer Tully, and DA Kittlemen stare
      blankly at juror, unable to mumble a word. Dumbstruck.
      Sargent Turner shoots her befuddled gaze over to Remus
      who gives her a pleasant smile. The juror’s head is that
      of a male mannequin.


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                              POLICE OFFICER
                        (confused)
                 It’s a dummy, Sargent. A mannequin?
                              SARGENT CYNTHIA TURNER
                 Check the rest of them.
      One by one, the officers remove the black sacks from off
      the jurors heads. As they go down the line, all of the
      jurors are fully clothed mannequins.
                              OFFICER KYLE TULLY
                        (raises voice)
                 They weren’t even real? You put me
                 through all of this for nothing?
                              REMUS
                 It wasn’t for nothing.
                              POLICE OFFICER
                 We got a live one here . . .
      The police officers reach the final two jurors and
      realize that they are actually people.
                              SARGENT CYNTHIA TURNER
                        (walking over to jurors)
                 Well cut them loose. Who is it?
      The officers remove the first black mask to reveal a
      woman, blonde, mid-thirties, with a sweaty brow, and a
      piece of duck tape covering her mouth. Once the officer
      removes the tape, Officer Tully’s face drops when he
      spots his wife, SAMANTHA TULLY.
                              OFFICER KYLE TULLY
                        (flabbergasted)
                 Samantha?
                              SAMANTHA TULLY
                        (distraught)
                 Get me out of these cuffs . . .
      The Police officers help remove the cuffs from off of
      Samantha Tully and they pull the tape from off of her
      hands.
                              OFFICER KYLE TULLY
                        (screaming)
                 You kidnapped my wife! I’ll kill you!
      Officer Tully lunges at Remus to rip his head off, but
      the officers step in, pulling him away from Remus.



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                              OFFICER KYLE TULLY
                              (CONT’D)
                 You sick bastard! That’s my wife!
      It takes nearly four officers to keep Officer Tully from
      attacking Remus.
                              OFFICER KYLE TULLY
                              (CONT’D)
                 How dare you! I’ll kill him myself.
                                SAMANTHA TULLY
                 How dare he?
      Samantha walks up to Officer Tully who is surrounded by
      other officers and is next to Kittlemen.
                              SAMANTHA TULLY (CONT’D)
                 You’ve got a lot of nerve!
      Samantha pushes Officer Tully forcefully in the chest.
                              SAMANTHA TULLY (CONT’D)
                 You killed his brother, tried to cover it
                 up, and you’re having an affair?
                              OFFICER KYLE TULLY
                 It’s not like that! Just hear me out!
                              KITTLEMEN
                 I can explain what you might have heard.
                              SAMANTHA TULLY
                 Save it Kittlemen. I heard everything!
                 You’re a fraud. And you Kyle, I gave you
                 twelve years of my life. You can have
                 your mistress. It’s over.
                              OFFICER KYLE TULLY
                 Listen, I can explain everything,
                 Samantha. I love you.
                              SAMANTHA TULLY
                 I don’t want to hear it. You’re a
                 disgrace to the good officers who risk
                 their lives everyday to do it the right
                 way.
      All of the officers are now totally fixated on Samantha
      and Kyle’s conversation.




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                              OFFICER KYLE TULLY
                 Can we talk about this please?
                        (lowering voice)
                 Not here.
                              SAMANTHA TULLY
                 Talk about what? You said everything
                 already. Your things will be on the
                 sidewalk tonight. Congratulations on
                 killing three people.
                              OFFICER KYLE TULLY
                 I only killed one . . . I mean I only
                 shot one person.
                              SAMANTHA TULLY
                 Three. His brother, me, and Mason.
                                OFFICER KYLE TULLY
                          (eyes widening)
                 Mason?
      Samantha removes the black mask off of the final juror,
      revealing MASON TULLY, ten years old, crying softly, with
      rosy cheeks from all the tears his weeping. Samantha
      Tully embraces her son as the Police Officers remove his
      restraints. Officer Tully can hardly believe his son is
      staring back at him.
                              OFFICER KYLE TULLY
                              (CONT’D)
                 Hey son. Are you okay?
      Mason ignores his dad’s words as Samantha attends to him.
                              SAMANTHA TULLY
                 Can we leave please?
                              SARGENT CYNTHIA TURNER
                 I need you to give the detectives outside
                 your statement and then you’re free to
                 leave.
                              SAMANTHA TULLY
                 Sure, I can tell them we kidnapped
                 ourselves.
                              SARGENT CYNTHIA TURNER
                 What do you mean? Remus Johnson and his
                 accomplices kidnapped you.
                              SAMANTHA TULLY
                 I said we kidnapped ourselves. Come on,
                 Mason.


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      Samantha and Mason head for the door of the recording
      booth.
                              OFFICER KYLE TULLY
                 Mason? Mason? Mason wait!
      Officer Tully sprints over to his son, kneeling down in
      front of him.
                              OFFICER KYLE TULLY
                              (CONT’D)
                 Hey buddy. Mason? Mason, please? Say
                 something to me.
      Mason, tears in his eyes, gently grabs Tully’s hand,
      opens his fingers palm side up, and places a red cotton
      ball inside of it, before walking out of the recording
      booth. Officer Tully stares at the red cotton ball and
      begins to lament. Samantha drops a second red cotton ball
      into her husband’s hand before following Mason out of the
      room. On Sargent Turner’s cue, a few Police Officers help
      Tully to his feet.
                              OFFICER KYLE TULLY
                              (CONT’D)
                 Thank you guys. You saved my life today.
      Clack! A Police Officer slaps a handcuff onto Tully’s
      wrist and locks his arms behind his back.
                              OFFICER KYLE TULLY
                              (CONT’D)
                 What the heck are you doing?
                              SARGENT CYNTHIA TURNER
                 Kyle Tully, you’re charged with murder in
                 the second degree and obstruction of
                 justice. You have the right to remain
                 silent . . .
                              OFFICER KYLE TULLY
                        (interrupting, shocked)
                 Are you insane, Sargent? I was kidnapped!
                 He should be under the jail!
                              SARGENT CYNTHIA TURNER
                 Oh, he will be charged with kidnapping,
                 but Remus was recording everything.
                 You’re done, Tully.
                              OFFICER KYLE TULLY
                        (shocked)
                 What? Let me speak to Captain Norton!



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                              SARGENT CYNTHIA TURNER
                 It was his call. We got everything you
                 said on camera. Can you also place DA
                 Kittlemen under arrest for witness
                 tampering and obstruction of justice.
      The Police Officers arrest Kittlemen and handcuff him.
                              KITTLEMEN
                 This is outrageous! I need to call my
                 lawyer.
                              SARGENT CYNTHIA TURNER
                 Why? You can’t represent yourself? Can
                 you get them out of here please. I’ll
                 take Remus myself.
      On the other side of the Plexi glass, Samantha Tully is
      giving her statement to another Police Officer with a pen
      and a note pad. Mason stands next to his mother as he
      watches Officer Tully get hauled away with Remus and
      Kittlemen.

      EXT. SIDEWALK - DAY
      Pooh Bear, with a giant stuffed teddy bear in his arms,
      and two blue helium-filled balloons, with their strings
      tied to his wrist, walks over to a lamppost near an
      intersection. Taped to the lamppost are an array of
      colorful stuffed animals and a large picture of Romulus
      stapled to the post. At the foot of the lamppost are a
      few empty liquor bottles, some lit candles, and a pair of
      old tennis shoes. With a roll of clear tape in his other
      hand, Pooh Bear begins to poorly wrap the tape around the
      oversized teddy bear in his attempt to fasten it to the
      post.
                              DUCK
                 You can’t even tape right, Pooh Bear.
      Pooh Bear glances up and spots Duck walking over to him,
      also with two blue helium-filled balloons tied to his
      wrists and a small stuffed rhinoceros.
                              POOH BEAR
                 Look, I won this at the carnival. You see
                 how big it is, right? Give me a hand.
                              DUCK
                 Alright, hold up.
      Duck and Pooh Bear, working together, attach the large
      bear to the lamppost. As soon as they finish, Remus and
      Mrs. Johnson walk over to the lamppost, hand in hand.

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      Remus has two blue, helium balloons, tied to his wrist.
      When Duck and Pooh Bear see Remus they crack smiles.
                              REMUS
                 What’s up, Duck? Pooh Bear?
                              DUCK
                 Ream, what’s good? How are you, Mrs.
                 Johnson?
                              MRS. JOHNSON
                 I’m fine. Good to see you both. You
                 staying out of trouble?
                              POOH BEAR
                 Of course, Mrs. Johnson. You’re cooking
                 today, right?
                                MRS. JOHNSON
                 I am.
                              POOH BEAR
                        (rubbing gut)
                 Good, cause I’m eating.
                              DUCK
                 Stop thinking about food all the time.
                 This is serious.
                              REMUS
                        (clearing throat)
                 Well, thank you guys and mom for coming
                 out on the one year anniversary of my
                 brother’s passing. Rome was special. He
                 loved people and he loved all of you.
      Abruptly, Sargent Turner steps up by the lamppost holding
      a blue helium-filled balloon. Everyone’s eyes track to
      her immediately.
                              SARGENT CYNTHIA TURNER
                 May I join you?
                              REMUS
                 . . . Sure. It’s been a hard first year
                 without Rome here, but we can celebrate
                 his life and the good times we shared
                 with him. I invited Sargent Turner here
                 so that she could give up an update on
                 everything. Sargent?
                              SARGENT CYNTHIA TURNER
                 Thank you for having me and on behalf of
                 the entire police force, I’m sorry for
                 your loss.

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                                 MRS. JOHNSON
                 Thank you.
                              SARGENT CYNTHIA TURNER
                 So, Kittlemen is getting disbarred and
                 he’s been indicted. Tully has been
                 indicted as well and fired. The evidence
                 is overwhelming so it should be a slam
                 dunk.
                              POOH BEAR
                 What about our charges?
                              SARGENT CYNTHIA TURNER
                 Citing extraordinary circumstances and
                 since your family dropped the lawsuit,
                 the new DA, and the Captain, before he
                 retired, have decided to not file charges
                 against you.
                               DUCK
                         (cracks faint grin)
                 Cool.
                              POOH BEAR
                        (smiling)
                 Well, that’s what I’m talking about.
                              SARGENT CYNTHIA TURNER
                 We’re trying to make this right to see
                 that justice is served. We aren’t all bad
                 and we only get better with your help.
                              REMUS
                 Thank you, Sargent. We’re not going to be
                 here long, but I have markers. Let’s
                 write his name down on the balloons
                 first.
      Remus passes out a few markers and Duck, Pooh Bear, Mrs.
      Johnson, Sargent Turner, along with Remus write his
      deceased brother’s name on the balloons.
                              REMUS (CONT’D)
                 Okay, everybody done? Alright, on the
                 count of three. One...two...three...
      Duck, Pooh Bear, Mrs. Johnson, Sargent Turner, and Remus
      release the balloons into the air. From the top of the
      balloons as they ascend into the sky, they all read one
      word, “REMUS”.
                                                                   CUT TO:



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      FLASHBACK:

      INT. CAR - NIGHT
      Romulus and Remus are both seated in the front driver and
      passenger seats of a black sedan. Their crisp white
      shirts now unbuttoned at the neck and their ties loosened
      as they converse while waiting at a red light
      intersection.
      Suddenly, bright blue and red lights begin to flash from
      a police cruiser behind Romulus and Remus’s car. Both of
      the brothers, looking back confused, are backlit by the
      flickering glare of the beaming police sirens.
                                ROME
                          (looking at the lights in
                           rear view mirror)
                   Come on, man. We didn’t even do anything!
                   My license is expired. I can’t afford any
                   more dings on my record.
                                REMUS
                   Well its a good thing I’m driving. Don’t
                   worry. This will all be over in a minute.
      Remus hands Romulus his license and Romulus gives his ID
      to Remus.
                                                                  CUT TO:

      INT. RECORDING STUDIO - NIGHT
      Officer Tully, handcuffed to the chair, rolls his eyes,
      but they catch Remus’s hand and he spots the .38
      revolver.
                                OFFICER KYLE TULLY
                   And what are you gonna to do with that?
                   You kill me, you’ll get the death
                   penalty.
                                REMUS
                   I’m already dead, Officer Tully. I died
                   the day you gunned down my brother.
                                                                  CUT TO:




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      INT. RECORDING BOOTH - NIGHT
      Sargent Turner is standing next to the handcuffed Officer
      Tully and Remus while the other Police Officers are near
      Kittlemen.
                              SARGENT CYNTHIA TURNER
                 We got everything you said on camera. Can
                 you also place DA Kittlemen under arrest
                 for witness tampering and obstruction of
                 justice.
      The Police Officers arrest Kittlemen and handcuff him.
                              KITTLEMEN
                 This is outrageous! I need to call my
                 lawyer.
                              SARGENT CYNTHIA TURNER
                 Why? You can’t represent yourself? Can
                 you get them out of here please. Captain
                 radioed me. We got to bring all three of
                 them in. Let’s move. I’ll take Remus
                 myself.
      On the other side of the Plexi glass, Samantha Tully is
      giving her statement to another Police Officer with a pen
      and a note pad. Mason stands next to his mother as he
      watches Officer Tully get hauled away. Sargent Turner
      escorts Remus out personally.
                              REMUS
                        (talking under his breath)
                 They can’t run my prints or they’ll come
                 back Romulus Johnson.
                              SARGENT CYNTHIA TURNER
                        (talking low)
                 I’m taking care of it.
                              REMUS
                 Did the video work at the station?
                              SARGENT CYNTHIA TURNER
                 It was must see TV.
      Sargent Turner pushes the cuffed Remus Johnson out the
      recording booth.
      BACK TO PRESENT.




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      EXT. SIDEWALK - DAY
      Romulus Johnson, still holding his mother’s hand, watches
      the balloons float higher and shrink into the blue
      expanse. Pooh Bear, Duck, and Sargent Turner look on as
      the balloons fade towards the clouds.
                              ROME
                 Thank you for all your help, Sargent. I
                 know this wasn’t easy.
                              SARGENT CYNTHIA TURNER
                 Doing the right thing never is. Without
                 integrity, we’re no better than the law
                 breakers we are sworn to apprehend. Thank
                 you for trusting me.
      Romulus shakes Sargent Turner’s hand.
                              POOH BEAR
                 I’m starving. Let’s eat.
                              DUCK
                 You always eating, Tubby.
                              POOH BEAR
                 I aint tubby. I’m just big boned, man.
      Pooh Bear, Duck, and Sargent Turner walk off from the
      lamppost, leaving Romulus and Mrs. Johnson alone.
                              MRS. JOHNSON
                 You got a new life son. Do right and
                 honor your brother’s name.
                              ROME
                 I will. . . I have to.
      Romulus takes one final glimpse into the sky. He observes
      the balloons they released which are now tiny dots on the
      horizon, drifting towards the sun. Romulus cracks a smile
      as we


                                                               FADE OUT.
                                THE END




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Brittany Fritz

From:                             duffy.sl@execs.com
Sent:                             Wednesday, January 4, 2017 11:53 AM
To:




                                                                                  ; jryan@tvone.tv;

Subject:                          [External] Re: TV Screenplay Competition Round 1 Judging


Happy New Year all!
I will begin sending scripts tomorrow. As I said before, we get a majority of our submissions in the last week/few
days of the entry period so you'll only get 1 to 2 scripts to start and others will trickle out to you as they come
in. Please confirm receipt of this email and let me know if you're ready and available to receive scripts or if you're
happy to wait until we get a little busier.

Much appreciated!

--
Duffy
              Fax
duffy.sl@execs.com



 Sent: Tuesday, December 20, 2016 at 4:52 PM
 From: duffy.sl@execs.com
 To: duffy.sl@execs.com
 Subject: TV Screenplay Competition Round 1 Judging




                                                    Seasons Greetings!
  I hope this email finds you all in good spirits during this holiday season. I want to first thank you for being a very
 important part of the TV One Screenplay Competition 2017. We rely on your skill and judgement to get through all
 of our entries to find those chosen few. Second, I'd like us all to enjoy our holidays and therefore I'll delay the start
   of our judging until after the New Year. Although the entry period was open as of 12/16/16 and we have started
                  getting submissions, there aren't enough to warrant adding work to our holidays! =D

 That said, please save this email to refer back to in about 2 weeks as your instructions for the Round 1 Judging
 follow:



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    Your scripts will be provided via dropbox link. I will email you all individually with your own link wherein you
      will have zip files for each submission assigned to you. (Each zip file will include the Contest Entry &
      Release Form, the script in pdf format and a scene selection in pdf format.) I'll start everyone with 1 or 2
      submissions to begin. As those are completed, email me to provide more and once I've confirmed,
      simply refresh your link to access your newly assigned scripts.
    This year, all your scores & feedback will be recorded via online form
      at http://tv1screenplaycomp.slduffy.com/. The password is: tv14789rdr
           o The form has all the instructions you should need and can be saved to continue at a later time if you
               cannot complete it in one sitting. To do this hit the "save" button (on the bottom right) and provide
               your email address. You will also receive a confirmation email once your submission is complete; it
               too will include a link that will allow you to edit your entry if need be. (Great if you realize you
               scored an entry too high or too low in comparison to others you've scored.)
           o There are 2 sections of the form: The first page includes the score and overall judging
               comments. This will not be shared with the reader so please do not give inflated scores. Because
               we have various people reading scripts, we understand the scoring cannot be precise, however if all
               of one reader’s scripts are scored 90 & above because they didn’t want to be “harsh”, other scripts
               that were judged fittingly by others may not be considered in the top scripts and make it to the
               next round. The second page includes notes that can be shared with the screenwriter. On this
               page, please be sure to be thorough as the screenwriters will have paid to receive this feedback.

That's it! Of course, if you have any questions please let me know. I'm here to help and will check my email
throughout the holidays in case anything comes up. Thank you again - you are greatly appreciated!

To a beautifully blessed Christmas and a very happy New Year!

--
Duffy
              Fax
duffy.sl@execs.com




                                                         2
                                                   TV One_00482
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                                                 Page ID #:751
From: Endi Piper [mailto:epiper@tvone.tv]
Sent: Tuesday, April 04, 2017 3:40 PM
To: duffy.sl@execs.com
Cc: Luvie Raines
Subject: FW: [External] Screenplay Competition Finalists 2017 Selected!

+Luvie

Luvie will need to create releases for them to sign prior to going to ABFF…so please keep her in the loop!

Thanks,

Endi

From: duffy.sl@execs.com [mailto:duffy.sl@execs.com]
Sent: Monday, April 03, 2017 9:20 PM
To: amelia winfree; jeff@abffventures.com; melanie@abffventures.com; jazmin washington;
sponsorship@abffventures.com
Cc: Tosha Whitten-Griggs; Alonda Thomas; Karen Peterkin; Robyn Greene Arrington; D&apos;Angela Proctor; Brad
Siegel; Gail Luxton; Lori Hall (TV One); Michael O&apos;Reilly; Endi Piper; Tamara Knechtel; Angelique Mais; Barry
Macon; DaLeyna Adkinson; Rahsan-Rahsan Lindsay; Jeff Meza; James Hill; Jenee&apos; James; Kinyette Newman;
Gold Morgan; Donyell McCullough; Alison Threadgill; Shakira Hedgpeth; Leatha Mayo; Duffy SLDuffy.com; Jubba
Seyyid; Lamar Chase; Tia Smith
Subject: [External] Screenplay Competition Finalists 2017 Selected!

Greetings all -

Our 3 finalists have been selected! Again, our OFFICIAL announcement is scheduled for next Monday 4/10/17 so
please do not share this info until then. So that we can prepare our press release, web articles, etc. for release on
4/10, below are the titles with the logline & writer bio - attached are the full scripts and writer&apos;s scene
selection for those who need to review them (Karen, can you please forward this info to Downsized director Rhonda
Baraka so she can review for the Celebrity Scene Stealers scenes). Please message myself and Karen directly for
any additional information or direction.

Thank you!

Down For Whatever (Drama)
by Timothy Folsome
Log Line: A young female doctor who works at a prestigious hospital learns that her newly found biological teen
sisters are ruthless cop killers that her detective husband is hunting down.

Mr. Folsome&apos;s provided Bio: Timothy Wayne Folsome is from Youngstown Ohio. There, he was part of a
popular dance group called, "Hollywood Poppers." The group had major success throughout the state of Ohio.
Youngstown is where Mr. Folsome got the entertainment bug. After graduating from high school, he went on to get
a college degree at The Ohio State University where he majored in Criminal Justice. His plan was to become a
lawyer, but the entertainment bug hit him again. Mr. Folsome started to write a screenplay and decided that his
passion is with the entertainment business. Mr. Folsome got into his Volkswagon Jetta and drove out to Los Angeles
California. Realizing that he needed to be more aware of the filmmaking process, Mr. Folsome got a film certificate
from Los Angeles Community College.


Mr. Folsome began his career writing, producting directing a short film called, "A Blow From The Past", then went
on to make another short film called "Secret Lives". Both were accepted to many festivals throughout the USA and
abroad. Mr. Folsome called up a childhood buddy and together, they raised the money for his first feature film
called "Uninvited Guest", starring Mekhi Phifer of "Clockers", "8 Mile", and "ER". The movie was the winner of the
1999 Acapulco Black Film Festival and the 1999 Urbanworld Film Festival in New York. The film had a limited
release in the fall of 2000.
Mr. Folsome went on to direct, "Hidden Blessings", a BET Network Original, starring the very talented Cynda
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Williams from the smash hit, "One False Move" and Kim Fields, the child star who played in the hit television show
"Facts of Life." Mr. Folsome&apos;s next project that he wrote, produced and directed was, "Jacked Up", starring
Anna Maria Horsford, from the TV show, "The Wayans" and Ron Reaco Lee, of the Starz hit "Survivor&apos;s
Remorse". "Jacked Up" was the winner of the 2001 Acapulco Black Film Festival.


Mr. Folsome went on to write, produce and direct another feature with Barnholtz Entertainment called "Cutthroat
Alley." This was Mr. Folsome&apos;s first attempt at horror and it starred Cisco Reyes, from the movie, "Next Day
Air" and Bizzy Bone of the popular rap group, "Bone, Thugs and Harmony." Mr. Folsome&apos;s next project was
the award winning short film, "The Little Girl." The film went on to win the Honolulu Film Award for Best Screenplay.


"Uninvited Guest", "Jacked Up" and "Cutthroat Alley" can all be seen on Netflix and most video streaming services.
"Uninvited Guest" also continues to appear on Showtime and "Hidden Blessings" had showing on Centric Network.
Mr. Folsome&apos;s future goals include a continued stride toward work on television projects and major motion
pictures. Along with a desire to make bigger budget films, he maintains his passion for independent film making.

Mr. Wonderful (Romantic Comedy)
by Roni Brown
Logline: A biochemist has uncovered the perfect love potion to make sure her unwitting boyfriend becomes her
husband.

Ms. Brown&apos;s provided Bio: ShaRhonda “Roni” Brown is originally from Columbus, Ohio where she became a
published author before age 18. While dreaming of becoming an animator she wrote her first screenplay on her
mother’s typewriter in high school and developed her love for writing stories, drawing and producing throughout
college. She earned her BFA in Media Studies focusing on animation at the Columbus College of Art and decided
writing and producing for film and television was her goal.


To further her production career she moved to Los Angeles where she began working freelance in production for
networks such as ABC, Adult Swim, TLC, NBC and more. Over the span of 9 years she has worked on such projects
as America’s Got talent, Miami Ink, SpaceBalls! The Animated Series, and has served on the writing staff for Black
Dynamite the animated series on Adult Swim in 2013.


Taking her versatile production experience and completing the Bill Cosby Screenwriting Fellowship, Roni is looking
forward to continue writing and producing for live action and animated projects.

The Replacement (Thriller)
by Sade Sellers
Logline: An up and coming HR Manager has her world upside down when her new co-worker tries to steal her life.

Ms. Sellers&apos; provided Bio: Originally from Lansing, MI, Sade’ ( Shar-day) Sellers fell in love with the movies at
a young age. Born in New York City to an immigrant mother, Sade’ was named after one of the world’s greatest
entertainers. Since then, her destiny has been sealed in stone.

In 1998, Sade’ begged her mother to take her to her first audition for the play The Lion, The Witch and The
Wardrobe. It was then she knew she had caught “the bug”. Although she was shy, Sade’ always found her outlet on
the stage. She spent the next ten years of her life performing in productions like Hello, Dolly!, Chicago and To Kill A
Mockingbird. In 2007, Sade’ graduated high school yearning for more. It wouldn’t be until two years later when she
would make the big move.

Putting her degree on hold, Sade’ moved from Lansing to Los Angeles to pursue her dreams. During that year, she
not only landed an agent, but her first commercial. After a slew of roles in both film and television, Sade’ decided to
start writing. Frustrated by the lack of roles for African American women, she started to create her own content.

In 2016, Sade’ wrote, directed and starred in her first short film titled Plum. Shot entirely by a crew of minority
women, Plum will be making the film festival rounds in fall of 2017.
Sade’ currently lives in Burbank, CA with her sister.

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Duffy
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Brittany Fritz

From:                              Alonda Thomas <AThomas@tvone.tv>
Sent:                              Monday, April 10, 2017 3:24 PM
Subject:                           TV One Announces the 3rd Annual ABFF TV One Screenplay Competition Finalists


Dear Media Colleagues,

Please see below the following announcement regarding the ABFF TV One Screenplay Competition Finalists!

Best,
Alonda

 TV ONE ANNOUNCES THIRD ANNUAL AMERICAN BLACK FILM FESTIVAL SCREENPLAY
                         COMPETITION FINALISTS
 The Film Premiere of ”Downsized,” TV One’s 2016 Screenplay Competition Finalist, Set to Debut at American Black Film
                                                        Festival on
                       Friday, June 16 with Television Premiere Scheduled August 2017 on TV One

SILVER SPRING, MD – APRIL 10, 2017 – TV One, the network dedicated to representing Black culture and entertainment
past, present and future, announced today the 2017 American Black Film Festival (ABFF) TV One Screenplay Competition
finalists – Timothy Folsome (Northridge, Calif.), writer of “Down For Whatever;” Roni Brown (Jonesboro, Ga.), writer of
“Mr. Wonderful;” and Sade Sellers (Burbank, Calif.), writer of “The Replacement.”

“Launched in 2015, the ABFF TV One Screenplay Competition was developed in partnership with the American Black Film
Festival to encourage and find new talent and to look at television as an opportunity to get more screenplays made,” said
D’Angela Proctor, TV One’s SVP, Original Programming & Production. “TV One is grateful to continue working with ABFF
and to help foster new talent and fresh, original ideas.”

TV One’s three finalists will receive an all-expense paid trip to this year’s ABFF in Miami (June 14-18). During ABFF’s
“Celebrity Scene Stealers” event on Friday, June 16, each finalist will direct a table read of a scene from their script,
performed by professional actors participating in this year’s festival, in front of a live audience. A brief overview of the TV
One Screenplay Competition finalists scripts are as follows:

        “Down For Whatever,” a drama by Timothy Folsome: A young female doctor who works at a prestigious
         hospital learns that her newly-found biological teen sisters are ruthless cop killers that her detective
         husband is hunting down.

        “Mr. Wonderful,” a romantic comedy by Roni Brown: A biochemist has uncovered the perfect love
         potion to make sure her unwitting boyfriend becomes her husband.

        “The Replacement,” a thriller by Sade Sellers: An up-and- coming HR manager has her world turned
         upside down when her new co-worker tries to steal her life.

This year’s winner will be announced at the ABFF Filmmaker Ceremony on Sunday, June 18. The winner will earn a $5,000
cash prize and an opportunity to have their screenplay produced into an original, made-for- TV movie, which will debut in
2018 on TV One and at the 22nd Annual American Black Film Festival.

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Screenwriter and TV One’s 2016 ABFF Screenplay Competition finalist Michelle McKissic will debut her original film,
Downsized, during this year’s festival on Friday, June 16 at The Colony Theatre (1040 Lincoln Road Miami Beach, FL 33139).
The film is slated to premiere on TV One in August 2017.

In the film Downsized, Ebony and Michael were forced into a modern “shotgun” wedding after becoming teenaged
parents, putting their personal goals on hold in order to support their family. Amazingly, the two high school sweethearts
manage to overcome the odds and establish a seemingly ideal life for themselves. However, the success that initially was
meant to strengthen their family has become the very thing that is driving them apart. As a result, Michael desperately
tries to hold onto everything he’s worked his entire life to gain. This leads the family on an unconventional adventure to
restore the faith, hope, and trust that initially brought them together. The film stars husband and wife duo Boris Kodjoe
(Code Black, Cape Town) as Michael and Nicole Ari Parker (Time After Time, Almost Christmas) as Ebony.

”Writers and projects like Michelle McKissick and Downsized are perfectly aligned with the TV One goal of representing
all aspects of Black life, and affords us the chance to bring new creative voices to the forefront of the Black film world,”
said Proctor.

For more information about TV One’s upcoming programming, including original movies, visit the network’s
companion website at www.tvone.tv. TV One viewers can also join the conversation by connecting via social
media on Twitter, Instagram and Facebook (@tvonetv) using the hash tags #Represent and #ABFF17, and catch
clips and promos on TV One’s YouTube Channel.

ABOUT THE AMERICAN BLACK FILM FESTIVAL:
The American Black Film Festival (ABFF) is an annual event dedicated to showcasing quality film and television content by
and about people of African descent. It supports emerging artists to foster a wider range of images, stories and storytellers
represented in the entertainment industry. The festival is committed to the belief that Black artists and content creators
deserve the same opportunities as their mainstream counterparts. ABFF founder Jeff Friday conceived the festival in 1997
as a vehicle to promote diversity in the motion picture industry, and strengthen the Black filmmaking community through
resource sharing, education, artistic collaboration and career development. Today, the ABFF is recognized as the
preeminent pipeline to new Black talent, both in front of and behind the camera, and is regarded as one of the leading
film festivals in the world. The ABFF is a property of ABFF Ventures, a multifaceted entertainment company specializing in
the production of live events, television and digital content targeted to upscale African American audiences.

ABOUT TV ONE:
Launched in January 2004, TV One serves more than 60 million households, offering a broad range of real- life
and entertainment-focused original programming, classic series, movies and music designed to entertain and
inform a diverse audience of adult black viewers. The network represents the best in black culture and
entertainment with fan favorite shows Unsung, Rickey Smiley For Real, Fatal Attraction, Hollywood Divas and
The NAACP Image Awards. In addition, TV One is the cable home of blockbuster drama Empire, and NewsOne
Now, the only live daily news program dedicated to black viewers. In December 2008, the company launched
TV One High Def, which now serves 14 million households. TV One is solely owned by Radio One [NASDAQ: ROIA
and ROIAK, www.radio-one.com], the largest African-American owned multi- media company primarily targeting
Black and urban audiences.

                                    CAST AVAILABLE FOR INTERVIEWS UPON REQUEST

                                                            ###

                                               TV One Media Contact:
                           Tosha Whitten-Griggs,            or TWhitten-Griggs@tvone.tv
                                 Alonda Thomas,              or athomas@tvone.tv


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Alonda Thomas
Public Relations Manager
AThomas@tvone.tv



1010 Wayne Ave, Suite 1000
Silver Spring, MD 20910




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   TV ONE INTRODUCES NEW CREATIVE VOICES DURING
      21st ANNUAL AMERICAN BLACK FILM FESTIVAL
   WITH TWO ORIGINAL FILM PREMIERES, SCREENPLAY
  COMPETITION AND CELEBRITY SCENE STEALERS EVENT

 2016 TV One ABFF Screenplay Competition Finalist “Downsized” and
True Crime Spin Off “When Love Kills: The Falicia Blakely Story” Set to
  Debut, Followed by Q&A with Tasha Smith, Lil Mama, Lance Gross,
           Tami Roman, Boris Kodjoe and Nicole Ari Parker

     News One Now Host Roland Martin to Broadcast Live From the
     Festival on Thursday, June 17 and Friday, June 18 at 7 am ET

WASHINGTON D.C. – JUNE 12, 2017 – TV One returns to Miami for the 21st Annual
Black Film Festival (June 14-18), and the third annual TV One Screenplay
Competition winner announcement. The network will also host the popular Celebrity
Scene Stealers event, and debut two original movies – Downsized written by 2016 ABFF
TV One Screenplay Competition finalist Michelle McKissick, and When Love
Kills: The Falicia Blakely Story, directed by actress Tasha Smith.

On Wednesday, June 14, Senior Vice President of Original Programming D’Angela Proctor
will kick off TV One’s participation at the festival as a panelist at the ABFF Creators Summit
event, You Made It To The Festival, Now What? Later, she will give opening remarks at
ABFF’s Opening Night Film Premiere of Universal Pictures’ Girls Trip.

News One Now will broadcast live from Miami on Thursday and Friday morning from 7 a.m.
to 8 a.m. ET during ABFF. Host and Managing Editor Roland S. Martin will integrate
exclusive interviews with the actors and filmmakers from ABFF into the daily show, in addition to
behind-the-scenes coverage of festival events and regular news.

On Thursday, June 15, TV One will host a special networking session called “Breakfast & Bites”
at the Loew’s Hotel for industry insiders to connect over coffee, and will later screen the original
movie When Love Kills: The Falicia Blakely Story at The Colony Theatre at 2:45 p.m
ET. Following the screening, a panel discussion will feature the film’s stars and creative team,
including Lil Mama (CrazySexyCool: The TLC Story), Lance Gross (Sleepy Hollow, House
of Payne), Tami Roman (Belle’s, Basketball Wives) Tiffany Black (Vice Principals),
Tasha Smith (Empire, For Better Or Worse, Power), who makes her feature film directorial
debut, and writer Cas Sigers-Beedles (Girlfriends Getaway I and II). The film tells the tragic,
ripped-from-the-headlines story of Falicia Blakely (Lil Mama), a teen mom in 90s era Atlanta
who only knows life in the fast lane. When she becomes an exotic dancer, she attracts the
attention of charismatic pimp and predator, Dino (Gross). His empty promises of a life together
turn Falicia into a pawn in his dangerous games and she’s forced to prove her love for him at
the expense of innocent lives. The film was inspired by an episode of TV One’s original true


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crime series For My Man, about women who committed unspeakable crimes in the name of
romance. The TV One broadcast premiere is scheduled for September 2017.

Friday, June 16 marks the return of TV One’s popular ABFF event, Celebrity Scene
Stealers at 12 p.m. ET. During the event the TV One Screenplay Competition finalists
will set up and direct a scene from their scripts as performed by actors Nicole Ari Parker
(Soul Food), Boris Kodjoe (Soul Food, Undercovers), Lance Gross, Lil Mama and
Lisa Wu (RHOA) in front of a live audience. This year’s finalists are Timothy Folsome,
writer of the drama “Down For Whatever”; Roni Brown, writer of the romantic comedy “Mr.
Wonderful”; and Sade Sellers, writer of the thriller “The Replacement.”

Following Celebrity Screen Stealers, screenwriter and TV One’s 2016 ABFF
Screenplay Competition finalist Michelle McKissick will debut her original film
Downsized with a Spotlight Screening at The Colony Theatre at 3 p.m. ET. In Downsized,
two high school sweethearts played by Parker and Kodjoe in danger of losing the family and
success they have built take an unconventional adventure to bring it all back together. After the
screening, the cast and director Rhonda Baraka (Saint and Sinners, The Secret She Kept)
will hold a question and answer session. The TV One broadcast premiere of the film is
scheduled Sunday, August 6 at 7 p.m. ET.

On Saturday, June 16, Roland S. Martin, host and managing editor of TV One’s News
One Now, will moderate “The Business of Entertainment,” with director, writer, and
producer John Singleton. During the event, Singleton will share insights from his three
decades in the entertainment industry, from being the youngest director to receive the Best
Director Oscar nomination in 1991 for Boyz N The Hood, to creating the new FX series
Snowfall, and more.

The festival will close out on Sunday, when the winner of this year’s TV One Screenwriting
Competition will be announced at the ABFF Filmmaker Ceremony. The winner will earn a $5000
cash prize and a chance to have their screenplay produced into an original, made-for-TV movie,
which will debut in 2018 on TV One and at the 22nd Annual ABFF. Lastly, there will be a
free community screening which includes Downsized at the Little Haiti Cultural Center at 5 p.m.
ET.

An Overview of TV One’s involvement at this year’s ABFF is outlined below:


                              TV ONE’S ABFF SCHEDULE

WEDNESDAY, JUNE 14

ABFF Creators Summit: You Made It To The Festival, Now What?
Time: 9:30 a.m. ET
TV One Participants: Senior Vice President of Original Programming D’Angela Proctor
Location: Betsy Hotel, 1440 Ocean Drive, Miami, FL 33131




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Opening Night Film:      Girls Trip
Courtesy of Universal Pictures
Time: 8 p.m. ET
TV One Participants: Senior Vice President of Original Programming D’Angela Proctor
Location: Olympia Theater, 174 E. Flagler Street, Miami, FL 33131



THURSDAY, JUNE 15

When Love Kills: The Falicia Blakely Story Spotlight Screening
Time: 2:45 p.m. ET
TV One Participants: Director Tasha Smith; Stars Lil Mama, Lance Gross, Tami Roman;
writer Cas Sigers-Beedles, director of photography Bruce Francis Cole and TV One executives
Location: The Colony Theater, 1040 Lincoln Rd, Miami, FL 33131

Industry Expo: Breakfast & Bites with TV One
Time: 10 a.m. – 1 p.m. p.m. ET
TV One Participants: Festival attendees can stop by for exclusive TV One swag, to win
cool prizes and more! Join TV One for a morning network session with industry insiders and
learn all about the network that represents the best of Black culture.
Location: Rotunda of Loews Miami Beach Hotel, 1601 Collins Ave, Miami, FL 33139

FRIDAY, JUNE 16

Celebrity Scene Stealers
Time: 12 p.m. – 1:30 p.m. ET
TV One Participants: ABFF Finalists Timothy Folsome, Roni Brown, and Sade Sellers;
2016 ABFF Screenplay Competition Finalist Michelle McKissick, Nicole Ari Parker, Boris
Kodjoe, Lance Gross, Lil’ Mama, Tami Roman, and director Rhonda Baraka.
Location: New World Center Performance Hall, 500 17th Street, Miami, FL 33131

Downsized Spotlight Screening
Time: 3 p.m. ET
TV One Participants: 2016 ABFF Screenplay Competition Finalist Michelle McKissick, stars
Nicole Ari Parker, Boris Kodjoe, and director Rhonda Baraka
Location: Colony Theater, 1040 Lincoln Rd, Miami Beach, FL 33139

SATURDAY, JUNE 17

“The Business of Entertainment with Director John Singleton,” moderated by
News One Now’s Roland Martin
Time: 4 p.m. ET
TV One Participants: News One Now’s Roland S. Martin,
Location: New World Center Performance Hall, 500 17th Street, Miami, FL 33131



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SUNDAY, JUNE 18

ABFF Filmmaker Ceremony
Time: 10 a.m. ET
TV One Attendees: ABFF Finalists, D’Angela Proctor
Location: New World Center Performance Hall, 500 17th Street, Miami, FL 33131
Downsized Community Screening
Time: 5 p.m. ET
TV One Attendees: Director Rhonda Baraka, Executive Vice President of Affiliate Sales &
Marketing Michelle Rice, President Brad Siegel
Location: Little Haiti Cultural Center, 212 NE 59th Terrace, Miami, FL 33131

For more information about TV One’s upcoming programming, including original movies, visit
the network’s companion website at www.tvone.tv. TV One viewers can also join the
conversation by connecting via social media on Twitter, Instagram and Facebook (@tvonetv)
using the hash tags #TVOneAtABFF and catch clips and promos on TV One’s YouTube
Channel.

To purchase passes and tickets for events, panels and screenings at the American Black
Film Festival, log on to www.ABFF.com. Fans may also join the conversation on social
media by logging on to ABFF’s multiple social media platforms:
   • On Twitter by using hashtag: #ABFF21, #ABFFBackToTheBeach; @ABFF
   • On Facebook by liking the fan page, American Black Film Festival
   • On Instagram by liking the fan page at Instagram.com/AmericanBlackFilmFestival
   • On YouTube, https://www.youtube.com/channel/UC-GzePGxJt8ZzbuLLL8ESVg

ABOUT ABFF:
The American Black Film Festival (ABFF) is an annual event dedicated to showcasing
quality film and television content by and about people of African descent. The festival is
committed to the belief that Black artists and content creators deserve the same opportunities
as their mainstream counterparts. ABFF founder Jeff Friday, conceived the festival in 1997 as a
vehicle to promote diversity in the motion picture industry, and strengthen the Black filmmaking
community through resource sharing, education, artistic collaboration and career development.
Today, the ABFF is recognized as the preeminent pipeline to new Black talent, both in front of
and behind the camera, and is regarded as one of the leading film festivals in the world. The
ABFF is a property of ABFF Ventures, LLC., which is a partnership between Film Life, Inc., and
Black Enterprise.

ABOUT TV ONE:
Launched in January 2004, TV One serves 59 million households, offering a broad range of
real-life and entertainment-focused original programming, classic series, movies and music
designed to entertain and inform a diverse audience of adult black viewers. The network
represents the best in black culture and entertainment with fan favorite shows Unsung, Rickey
Smiley For Real, Fatal Attraction, The Manns and The NAACP Image Awards. In addition, TV
One is the cable home of blockbuster drama Empire, and News One Now, the only live daily


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news program dedicated to black viewers. In December 2008, the company launched TV One
High Def, which now serves 14 million households. TV One is solely owned by Urban One, Inc.,
formerly known as Radio One, Inc. [NASDAQ: UONE and UONEK, www.urban1.com], the
largest African-American owned multi-media company primarily targeting Black and urban
audiences.
                                           ###

                               TV One Media Contacts:
         Tosha Whitten-Griggs, TWhitten-Griggs@tvone.tv or 301-367-4818 (mobile)
               Alonda Thomas, athomas@tvone.tv or 240-688-9061 (mobile)




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                                             SHOWS     REPRESENT          THE BUZZ              NEWSROOM             WHERE TO WATCH




Celebrity Scene Stealers: Go Behind the Scenes of
a Live Table Read
Written by               Published on
                                                                                                                                                                         Share
Jessica D. Lane          June 19, 2017




                                                                                                                                     You May Like                    Ads By ZergNet




          1. Lisa Wu & Lance Gross

                                                                                                                                     Graphic Photos Of     Something About
                                                                                                                                     Palmer's Ex           Chelsea Clinton's
                                                                                                                                     Allegedly Abusing     Marriage Always
                                                                                                                                     Her Are Released      Felt ON
                                                                                                                                     PageSix.com           NickiSwift.com




                                                                                                                                     The Real Reason       Obama's Former
                                                                                                                                     Why Alex Van Halen    Press Secretary
                                                                                                                                     Lives In Seclusion    Reveals Her Life As
                                                                                                                                     Rockcelebrities.net   An Insider
                                                                                                                                                           TheList.com




          Scenes from ‘Mr. Wonderful’ by the 2017 ABFF TVOne Screenplay Competition Finalist Roni
          Brown, featuring a very surprised Lisa Wu and Lance Gross


          2. Lance Gross & Lisa Wu




          Scenes from ‘Mr. Wonderful’ by the 2017 ABFF TVOne Screenplay Competition Finalist Roni
          Brown, featuring a lovestruck Lance Gross and Lisa Wu


          3. Tami Roman, Lisa Wu, Lance Gross & Tobias
          Truvillion




          Scenes from ‘Mr. Wonderful’ by the 2017 ABFF TVOne Screenplay Competition Finalist Roni
          Brown, where Tobias Truvillion yokes up Lance Gross




          4. Tami Roman & Lisa Wu




          Scenes from ‘Mr. Wonderful’ by the 2017 ABFF TVOne Screenplay Competition Finalist Roni
          Brown, where Tami Roman & Lisa Wu share bedroom secrets


          5. Dondre WhitWeld & Roni Brown




          Our Celebrity Scene Stealers host Dondre Whitfield & the 2017 ABFF TVOne Screenplay
          Competition Finalist Roni Brown discussing her winning screenplay ‘Mr. Wonderful’


          6. Lil Mama & Tami Roman




          Scenes from ‘Down For Whatever’ by the 2017 ABFF TVOne Screenplay Competition Finalist
          Timothy Folsome, where Lil Mama threatens to shoot Tami Roman




          7. Lil Mama & Tami Roman




          Scenes from ‘Down For Whatever’ by the 2017 ABFF TVOne Screenplay Competition Finalist
          Timothy Folsome, where Tami Roman cowers in fear from Lil Mama’s gun


          8. Lil Mama, Tami Roman & TiNany Black




          Scenes from ‘Down For Whatever’ by the 2017 ABFF TVOne Screenplay Competition Finalist
          Timothy Folsome, where Tami Roman saves Tiﬀany Black’s life…or at least tries to.


          9. Dondre WhitWeld & Timothy Folsome




          Our Celebrity Scene Stealers host Dondre Whitfield & the 2017 ABFF TVOne Screenplay
          Competition Winner Timothy Folsome discussing his winning screenplay ‘Down For Whatever’




          10. TiNany Black, Nicole Ari Parker & Boris Kodjoe




                                                                                                                                                                                      




          Scenes from ‘The Replacement’ by the 2017 ABFF TVOne Screenplay Competition Finalist Sade
          Sellers, where Tiﬀany Black has her eyes for Nicole Ari Parker’s job and her man


          11. Nicole Ari Parker & Boris Kodjoe




          Scenes from ‘The Replacement’ by the 2017 ABFF TVOne Screenplay Competition Finalist Sade
          Sellers, featuring Nicole Ari Parker and Boris Kodjoe


          12. Tami Roman




          Scenes from ‘The Replacement’ by the 2017 ABFF TVOne Screenplay Competition Finalist Sade
          Sellers, featuring Tami Roman




          13. Nicole Ari Parker




          Scenes from ‘The Replacement’ by the 2017 ABFF TVOne Screenplay Competition Finalist Sade
          Sellers, featuring Nicole Ari Parker


          14. Boris Kodjoe




          Scenes from ‘The Replacement’ by the 2017 ABFF TVOne Screenplay Competition Finalist Sade
          Sellers, featuring Boris Kodjoe


          15. Dondre WhitWeld & Sade Sellers




          Our Celebrity Scene Stealers host Dondre Whitfield & the 2017 ABFF TVOne Screenplay
          Competition Finalist Sade Sellers discussing her winning screenplay ‘The Replacement’




          16. Sade Sellers, Timothy Fulsome & Roni Brown




          Our 2017 ABFF TVOne Screenplay Competition Finalists Sade Sellers and Roni Brown and our
          2017 ABFF TVOne Screenplay Competition Winner Timothy Folsome

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                                             Page ID #:768

From:            Leonard Bennett
To:              Corinne Kirkland-Mercedes
Cc:              Josh Schiller; Laura O"Daly
Subject:         Re: [EXTERNAL] TV ONE Screen play Competition from 2017
Date:            Thursday, April 28, 2022 10:42:28 AM
Attachments:     TV1_StalkerMain_275x150small4-28-22_aa9edcf5-21f9-44f7-a0e6-9ac293346dba.jpg



Thank you so much for your assistance regarding our request.

Kind regards,

Leonard C. Bennett, Esquire
Bennett & Bennett Law Group, LLC
5000 Sunnyside Avenue, Suite 101
Beltsville, Maryland 20705
Office: (240) 398-3140
Fax: (240) 398-3140

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From: Corinne Kirkland-Mercedes <CKirkland-Mercedes@tvone.tv>
Sent: Thursday, April 28, 2022 9:48 AM
To: Leonard Bennett <Leonard@bblegal.net>
Cc: Josh Schiller <JiSchiller@BSFLLP.com>; Laura O'Daly <lodaly@iOneDigital.com>
Subject: RE: [EXTERNAL] TV ONE Screen play Competition from 2017
Mr. Bennett,
I received your voicemail, and I apologize for the delay in responding. Please note that we have
checked our contract files and have not found any agreements that confirmed that Omari Hardwick
or Nathaniel Parker had access to the script for “A Routine Stop”. Additionally, we have followed up
internally with our employees to see if there is any recollection of the script being provided to Omari
Hardwick or Nathaniel Parker and none of our employee recollects that this has occurred. Moreover,
we have attempted to reach out to prior employees, which did not yield any feedback that confirms
“A Routine Stop” was shared with Omari Hardwick or Nathaniel Parker.
Best regards,
Corinne Kirkland-Mercedes
Director, Business and Legal Affairs
C:
1010 Wayne Avenue 14th Floor, Silver Spring, MD 20910




                                                  TV One_00514
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From: Leonard Bennett <Leonard@bblegal.net>
Sent: Thursday, March 24, 2022 6:59 PM
To: Corinne Kirkland-Mercedes <CKirkland-Mercedes@tvone.tv>
Cc: Josh Schiller <JiSchiller@BSFLLP.com>
Subject: [EXTERNAL] TV ONE Screen play Competition from 2017
Mrs./Ms. Kirkland-Mercedes,
Thank you for taking our call this afternoon. As we discussed briefly on the call, we have filed
a complaint in the District Court in Washington DC concerning a screenplay written by our
clients Selton (and his brother Langston) Shaw that was titled “A Routine Stop.” For your
records, Selton would have been the named screenwriter on the submission. The screenplay
was only submitted to the TV One Screenplay Competition. We believe that the creators of the
film “American Skin,” a film that came out several years after the 2017 competition and won
awards at the Venice Film Festival, is substantially similar to “A Routine Stop” and that the
creators somehow obtained a copy of the screenplay that they then used to create “American
Skin.”
At the moment, we are taking some discovery in the case and are interested in learning more
about the TV One Screenplay Competition. We would very much appreciate your assistance in
helping us understand the answers to the following questions.
First, we would like to know who served as judges for the 2017 TV Screenplay Competition
and who may have obtained copies of the screenplays. Second, we are also appreciate
understanding whether some of the folks involved in creating “American Skin” have any past
relationship or affiliation with TV One including Nate Parker (Nathaniel Parker) and Omari
Hardwick.
I am available for a call should you wish to discuss this matter further.
Kind regards,

Leonard C. Bennett, Esquire
Bennett & Bennett Law Group, LLC
5000 Sunnyside Avenue, Suite 101
Beltsville, Maryland 20705
Office: (240) 398-3140
Fax: (240) 398-3140

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